                   Case 23-10983-TMH              Doc 124      Filed 11/09/23         Page 1 of 60


                             IN THE UNITED STATES BANKRUPTCY COURT
                                  FOR THE DISTRICT OF DELAWARE

    In re:                                                      Chapter 15

    NEXTPOINT FINANCIAL INC., et al.,                           Case No. 23-10983 (TMH)

                 Debtors in a foreign proceeding. 1             (Jointly Administered)


                                               AFFIDAVIT OF SERVICE

       I, Sharon Lee, depose and say that I am employed by Stretto, the proposed claims and
noticing agent for the Debtors in the above-captioned cases.

       On November 3, 2023, at my direction and under my supervision, employees of Stretto
caused the following documents to be served via first-class mail on the service list attached hereto
as Exhibit B, and via electronic mail on the service list attached hereto as Exhibit C:

      •      Motion of the Foreign Representative for Leave to File Late Reply in Support of
             Recognition Motion (attached hereto as Exhibit A)

      •      Declaration of Authenticity of Business Records (Docket No. 99)




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 The Debtors in these chapter 15 proceedings, together with the last four digits of their business identification numbers
are: NextPoint Financial Inc. (6134); LT Holdco, LLC (8090); LT Intermediate Holdco, LLC (0811); SiempreTax+
LLC (6145); JTH Tax LLC (8391); Liberty Tax Holding Corporation (N/A); Liberty Tax Service, Inc. (N/A); JTH
Financial, LLC (1522); JTH Properties 1632, LLC (0248); Liberty Credit Repair, LLC (5427); Wefile, LLC (6778);
JTH Tax Office Properties, LLC (0248); LTS Software LLC (6450), JTH Court Plaza, LLC (2116); 360 Accounting
Solutions LLC (8312); LTS Properties, LLC (9088); NPI Holdco LLC (1936); CTAX Acquisition LLC (6975);
Community Tax Puerto Rico LLC (4349); Community Tax LLC (8001); NPLM Holdco LLC (8132); MMS Servicing
LLC (7430); LoanMe, LLC (5663); LoanMe Funding, LLC (2305); LM Retention Holdings, LLC (N/A); LoanMe
Trust-Prime 2018-1 (0257); LoanMe Trust SBL 2019-1 (N/A); LoanMe Stores, LLC (3810); InsightsLogic, LLC
(0818); and LM 2020 CM I SPE, LLC (N/A). The location of the Debtors’ headquarters is 500 Grapevine Hwy, Suite
402, Hurst, TX 76054, and the Debtors’ mailing address is 1133 Melville St., Suite 2700, Vancouver, BC V6E 4E5.
Case 23-10983-TMH   Doc 124   Filed 11/09/23   Page 2 of 60
Case 23-10983-TMH   Doc 124   Filed 11/09/23   Page 3 of 60



                    Exhibit A
                 Case
                  Case23-10983-TMH
                       23-10983-TMH Doc
                                     Doc124
                                         98                    Filed 11/03/23
                                                                     11/09/23         Page 1
                                                                                           4 of 5
                                                                                                60




                           IN THE UNITED STATES BANKRUPTCY COURT
                                FOR THE DISTRICT OF DELAWARE


In re:                                                               Chapter 15

         NEXTPOINT FINANCIAL INC., et al.,                           Case No. 23-10983 (TMH)

                      Debtors in a foreign proceeding. 1             Re: D.I. 80
                                                                     Hearing Date: November 6, 2023, at
                                                                     11:00 a.m. (ET)
                                                                     Obj. Deadline: At the Hearing


                                 MOTION OF THE FOREIGN
                            REPRESENTATIVE FOR LEAVE TO FILE
                      LATE REPLY IN SUPPORT OF RECOGNITION MOTION

         NextPoint Financial Inc. (“NextPoint”) in its capacity as the duly-appointed foreign

representative (the “Foreign Representative”) for the above-captioned foreign debtors

(collectively, the “Debtors”), in the proceedings (the “Canadian Proceedings”)2 currently

pending before the Supreme Court of British Columbia, initiated under the Companies’ Creditors

Arrangement Act, R.S.C. 1985, c. C-36, by and through its undersigned counsel, respectfully

submits this motion (the “Motion”), seeking entry of an order, substantially in the form attached

to this Motion as Exhibit A (the “Proposed Order”), granting the Foreign Representative leave

to file a late reply (the “Reply”) to the Area Developers’ Objection to Motion of the Foreign



1
         The Debtors in these chapter 15 proceedings, together with the last four digits of their business identification
numbers are: NextPoint Financial Inc. (6134); LT Holdco, LLC (8090); LT Intermediate Holdco, LLC (0811);
SiempreTax+ LLC (6145); JTH Tax LLC (8391); Liberty Tax Holding Corporation (N/A); Liberty Tax Service, Inc.
(N/A); JTH Financial, LLC (1522); JTH Properties 1632, LLC (0248); Liberty Credit Repair, LLC (5427); Wefile,
LLC (6778); JTH Tax Office Properties, LLC (0248); LTS Software LLC (6450), JTH Court Plaza, LLC (2116); 360
Accounting Solutions, LLC (8312); LTS Properties, LLC (9088); NPI Holdco LLC (1936); CTAX Acquisition LLC
(6975); Community Tax Puerto Rico LLC (4349); Community Tax LLC (8001); NPLM Holdco LLC (8132); MMS
Servicing LLC (7430); LoanMe, LLC (5663); LoanMe Funding, LLC (2305); LM Retention Holdings, LLC (N/A);
LoanMe Trust-Prime 2018-1 (0257); LoanMe Trust SBL 2019-1 (N/A); LoanMe Stores LLC (3810); InsightsLogic
LLC (0818); and LM 2020 CM I SPE, LLC (N/A). The location of the Debtors’ headquarters is 500 Grapevine Hwy,
Suite 402, Hurst, TX 76054, and the Debtors’ mailing address is 1133 Melville St., Suite 2700, Vancouver, BC V6E
4E5.
2
          Information on the Canadian Proceedings and documents filed in connection therewith, including reports
from the Monitor (as defined herein) and motion materials, can be found at the website of the Monitor at
http://cfcanada.fticonsulting.com/nextpoint/.
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                  Case23-10983-TMH
                       23-10983-TMH Doc
                                     Doc124
                                         98                 Filed 11/03/23
                                                                  11/09/23    Page 2
                                                                                   5 of 5
                                                                                        60




Representative for Entry of an Order (I) Recognizing and Enforcing the CCAA Vesting Order, (II)

Approving the Sale of Substantially all of the Debtors’ Interests Free and Clear of Liens, Claims,

and Encumbrances, and (III) Granting Related Relief [D.I. 88] (the “Objection”) filed in response

to the Motion of the Foreign Representative for Entry of an Order (I) Recognizing and Enforcing

the CCAA Vesting Order, (II) Approving the Sale of Substantially All of the Debtors’ Interests

Free and Clear of Liens, Claims, and Encumbrances, and (III) Granting Related Relief [D.I. 80]

(the “Recognition Motion”). In support of this Motion, the Foreign Representative respectfully

states as follows:

                                       JURISDICTION AND VENUE

         1.           The Court has jurisdiction over these chapter 15 cases under sections 1334 and 157

of title 28 of the United States Code and the “Amended Standing Order of Reference” of the United

States District Court for the District of Delaware (Sleet, C.J.), dated February 29, 2012.

         2.           The Foreign Representative properly commenced these cases under sections 1504

and 1515 of title 11 of the United State Code (the “Bankruptcy Code”), and on August 16, 2023,

the Court entered the Order Recognizing Canadian Proceeding as a Foreign Main Proceeding

and Granting Related Relief [D.I. 54], which recognized the Canadian Proceeding with respect to

the Foreign Debtors.

         3.           This Motion is a core proceeding under section 157(b)(2)(P) of title 28 of the United

States Code.

         4.           Venue for these cases is proper in this Court under sections 1410(1) and 1410(3) of

title 28 of the United States Code.

         5.           The basis for the relief requested in this Motion is Rule 9006-1 of the Local Rules

of Bankruptcy Practice and Procedure of the United States Bankruptcy Court for the District of

Delaware (the “Local Rules”).

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                  Case23-10983-TMH
                       23-10983-TMH Doc
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                                                                 11/09/23     Page 3
                                                                                   6 of 5
                                                                                        60




         6.           The statutory basis for the relief requested by this motion is Local Rule 9006-1(d).

                                       RELEVANT BACKGROUND

         7.           On October 16, 2023, the Foreign Representative filed the Recognition Motion

seeking entry of an order (i) recognizing and enforcing the CCAA Vesting Order, (ii) approving,

under section 1520 and section 363 of the Bankruptcy Code, the sale of the Debtors’ rights, title,

and interests in and to the Purchased Interests to the Purchasers pursuant to the Transaction

Agreement, free and clear of all liens, claims, encumbrances, and other interests (other than the

Permitted Encumbrances), and (iii) granting related relief.

         8.           The deadline to object to the Recognition Motion was October 30, 2023, at 4:00

p.m. (ET) (the “Initial Deadline”). The Foreign Representative extended the Initial Deadline to

October 31, 2023, at 4:00 p.m. (ET) only for the Objecting Parties (as defined below).

         9.           On October 31, 2023, Gorilla Tax Services, Inc., Sarkauskas Empire Inc.,

Sarkuskas Enterprises, LLC, Mufeed Haddad, Mary Johnson, Michael Budka, and M&M Business

Group, LP (collectively, the “Objecting Parties”) filed the Objection.

                                           RELIEF REQUESTED

         10.          Pursuant to Local Rule 9006-1(d), the Foreign Representative respectfully requests

entry of an order allowing the Foreign Representative to file a late reply to the Objection. The

proposed Reply is attached to this Motion as Exhibit B.

                                    BASIS FOR RELIEF REQUESTED

         11.          Local Rule 9006-1(d) requires reply papers to be filed by 4:00 p.m. prevailing

Eastern Time the day prior to the deadline for filing the agenda. Local Rule 9029-3(a) requires

that agendas be filed by 12:00 p.m. two business days prior to the hearing.




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                  Case23-10983-TMH
                       23-10983-TMH Doc
                                     Doc124
                                         98               Filed 11/03/23
                                                                11/09/23    Page 4
                                                                                 7 of 5
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         12.          The hearing on the Recognition Motion is scheduled for November 6, 2023, at

11:00 a.m. (ET) (the “Hearing”). The agenda for the Hearing was timely filed before 12:00 p.m.

(ET) on November 2, 2023.

         13.          Under the circumstances, cause exists to grant the Foreign Representative leave to

file its Reply to the Objection after the deadline. The Foreign Representative afforded the

Objecting Parties an extra day to file the Objection. The extra time will allow the Foreign

Representative an opportunity to confer with the Objecting Parties to see if the Objection can be

resolved or narrowed. If the Objection cannot be resolved, the extra time will permit the Foreign

Representative to file a comprehensive written response to the Objection in advance of the Hearing

for the benefit of the Court and the Objecting Parties.

         14.          Accordingly, the Foreign Representative respectfully submits that (i) there is

sufficient cause to grant the relief requested in this Motion, (ii) no party in interest will be

prejudiced if the Reply is filed, and (iii) the Objecting Parties and the Court would benefit from

the Foreign Representative’s written reply in advance of the Hearing.

                                                  NOTICE

         15.          Notice of this Motion has been provided to (i) the Office of the United States

Trustee for Region 3; (ii) counsel to the Objecting Parties; and (iii) all parties that have requested

notice in these chapter 15 cases under Bankruptcy Rule 2002. The Foreign Representative submits

that, in light of the relief requested, no other or further notice need be given.

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                                         98           Filed 11/03/23
                                                            11/09/23     Page 5
                                                                              8 of 5
                                                                                   60




         WHEREFORE, the Foreign Representative respectfully requests entry of an order

substantially in the form attached to this Motion as Exhibit A, granting the Foreign Representative

leave to file a late Reply and granting such other and further relief as is just and proper.

 Dated: November 3, 2023              Respectfully submitted,
        Wilmington, Delaware
                                      DLA PIPER LLP (US)

                                      /s/ R. Craig Martin
                                      R. Craig Martin, Esq. (DE 5032)
                                      1201 N. Market Street, Suite 2100
                                      Wilmington, DE 19801
                                      Telephone: (302) 468-5700
                                      Facsimile: (302) 394-2462
                                      Email: craig.martin@us.dlapiper.com

                                      -and-

                                      Rachel Ehrlich Albanese, Esq. (admitted pro hac vice)
                                      Jamila Justine Willis, Esq. (admitted pro hac vice)
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                                      New York, New York 10020
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                                              jamila.willis@us.dlapiper.com

                                      Counsel to the Foreign Representative




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                 Case 23-10983-TMH
                      23-10983-TMH Doc
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                                                   11/03/23 Page
                                                             Page91ofof60
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                                        Exhibit A

                                  Proposed Form of Order




Active\1605139388.2
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                 Case23-10983-TMH
                      23-10983-TMH Doc
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                                                     11/03/23 Page
                                                               Page102 of
                                                                       of 60
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                           IN THE UNITED STATES BANKRUPTCY COURT
                                FOR THE DISTRICT OF DELAWARE


In re:                                                               Chapter 15

         NEXTPOINT FINANCIAL INC., et al.,                           Case No. 23-10983 (TMH)

                      Debtors in a foreign proceeding.1              Re: D.I. 80
                                                                     Hearing Date: November 6, 2023,
                                                                     at 11:00 a.m. (ET)
                                                                     Obj. Deadline: At the Hearing


                                    ORDER GRANTING MOTION
                                OF THE FOREIGN REPRESENTATIVE
                                FOR LEAVE TO FILE LATE REPLY IN
                                SUPPORT OF RECOGNITION MOTION

         Upon consideration of the Motion of the Foreign Representative for Leave to File Late

Reply Brief in Support of the Motion of the Foreign Representative for Entry of an Order

(I) Recognizing and Enforcing the CCAA Vesting Order, (II) Approving the Sale of Substantially

all of the Debtors’ Interests Free and Clear of Liens, Claims, and Encumbrances, and

(III) Granting Related Relief (the “Motion”)2 filed by the above-captioned Foreign Representative

for entry of an order granting the Foreign Representative leave to file a late Reply to the Objection

and related relief, all as more fully set forth in the Motion; and upon consideration of the Motion

and the record of these chapter 15 cases; and this Court having found that (i) this Court has



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         The Debtors in these chapter 15 proceedings, together with the last four digits of their business identification
numbers are: NextPoint Financial Inc. (6134); LT Holdco, LLC (8090); LT Intermediate Holdco, LLC (0811);
SiempreTax+ LLC (6145); JTH Tax LLC (8391); Liberty Tax Holding Corporation (N/A); Liberty Tax Service, Inc.
(N/A); JTH Financial, LLC (1522); JTH Properties 1632, LLC (0248); Liberty Credit Repair, LLC (5427); Wefile,
LLC (6778); JTH Tax Office Properties, LLC (0248); LTS Software LLC (6450), JTH Court Plaza, LLC (2116); 360
Accounting Solutions, LLC (8312); LTS Properties, LLC (9088); NPI Holdco LLC (1936); CTAX Acquisition LLC
(6975); Community Tax Puerto Rico LLC (4349); Community Tax LLC (8001); NPLM Holdco LLC (8132); MMS
Servicing LLC (7430); LoanMe, LLC (5663); LoanMe Funding, LLC (2305); LM Retention Holdings, LLC (N/A);
LoanMe Trust-Prime 2018-1 (0257); LoanMe Trust SBL 2019-1 (N/A); LoanMe Stores LLC (3810); InsightsLogic
LLC (0818); and LM 2020 CM I SPE, LLC (N/A). The location of the Debtors’ headquarters is 500 Grapevine Hwy,
Suite 402, Hurst, TX 76054, and the Debtors’ mailing address is 1133 Melville St., Suite 2700, Vancouver, BC V6E
4E5.
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    Capitalized terms used but not defined herein shall have the meaning given to them in the Motion.
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                      23-10983-TMH Doc
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                                                     11/03/23 Page
                                                               Page113 of
                                                                       of 60
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jurisdiction to consider the Motion and the relief requested therein under 28 U.S.C. §§ 157 and

1334 and the Amended Standing Order of Reference from the United States District Court for the

District of Delaware, dated February 29, 2012, (ii) this Court may enter a final order consistent

with Article III of the United States Constitution, (iii) this is a core proceeding under 28 U.S.C. §

157(b), (iv) venue of this proceeding and the Motion in this District is proper under 28 U.S.C. §§

1408 and 1409, and (v) notice of the Motion was sufficient under the circumstances and no further

or other notice of the Motion is required under the circumstances; and this Court having reviewed

the Motion; and having determined that the legal and factual bases set forth in the Motion establish

just cause for the relief granted in this Order; and this Court having found and determined that the

relief sought in the Motion is in the best interests of the Debtors and their creditors; and after due

deliberation and sufficient cause appearing therefor,

         IT IS HEREBY ORDERED THAT:

         1.           The Motion is GRANTED, as set forth in this Order.

         2.           Notwithstanding anything to the contrary contained in the Local Rules, the Foreign

Representative is permitted to file the Reply, and the Reply shall be deemed timely filed.

         3.           This Court shall retain jurisdiction with respect to all matters arising from or related

to the implementation, interpretation or enforcement of this Order.




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                    23-10983-TMH Doc
                                 Doc 98-2
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                                                11/03/23 Page
                                                         Page 12
                                                              1 ofof487
                                                                     60




                                       Exhibit B

                                        Reply




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                 Case 23-10983-TMH
                      23-10983-TMH Doc
                                   Doc 98-2
                                       124 Filed
                                            Filed 11/09/23
                                                  11/03/23 Page
                                                           Page 13
                                                                2 ofof487
                                                                       60




                            IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF DELAWARE

    In re:                                                Chapter 15
    NEXTPOINT FINANCIAL INC., et al.,                     Case No. 23-10983 (TMH)
             Debtors in a foreign proceeding.
                                                          (Jointly Administered)

                                                          Re: D.I. 80 & 88

                                                          Hearing Date: November 6, 2023, at 11:00 a.m.


     FOREIGN REPRESENTATIVE’S REPLY TO AREA DEVELOPERS’ OBJECTION
           TO MOTION OF THE FOREIGN REPRESENTATIVE FOR ENTRY
       OF AN ORDER (I) RECOGNIZING AND ENFORCING THE CCAA VESTING
        ORDER, (II) APPROVING THE SALE OF SUBSTANTIALLY ALL OF THE
         DEBTORS’ INTERESTS FREE AND CLEAR OF LIENS, CLAIMS, AND
             ENCUMBRANCES, AND (III) GRANTING RELATED RELIEF

             NextPoint Financial Inc., in its capacity as Foreign Representative for each of the above-

captioned foreign debtors (the “Debtors”), including JTH Tax, Inc. d/b/a Liberty Tax Service

(“Liberty”), files this reply (the “Reply”) to the objection filed by Gorilla Tax Services, Inc.,

Sarkauskas Empire Inc., Sarkauskas Enterprises, LLC, Mufeed Haddad, Mary Johnson, Mark

Johnson, Michael Budka, and M&M Business Group, LP (collectively, the “Area Developers”)

[D.I. 88] (the “Objection”) to the Motion of the Foreign Representative for Entry of an Order

(I) Recognizing and Enforcing the CCAA Vesting Order, (II) Approving the Sale of Substantially

All of the Debtors’ Interests Free and Clear of Liens, Claims, and Encumbrances, and

(III) Granting Related Relief [D.I. 80] (the “Motion”).1 In support of this Reply, the Foreign

Representative respectfully states as follows:




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 Capitalized terms used but not defined in this Reply have the meaning set forth in the Motion or the Area Developer
Agreements, as applicable.
            Case
            Case 23-10983-TMH
                 23-10983-TMH Doc
                              Doc 98-2
                                  124 Filed
                                       Filed 11/09/23
                                             11/03/23 Page
                                                      Page 14
                                                           3 ofof487
                                                                  60



                                               REPLY

       1.      The relief sought in the Motion is the culmination of extensive negotiations and

between the Purchaser, the Foreign Representative, the Debtors, and the Monitor, resulting in

approval of a complex and complicated transaction by a court in Canada. The Motion seeks the

assistance of this Court to apply that Canadian approval in the United States.

       2.      The Area Developers, the only parties who have challenged these transactions in

the U.S.— and who did not object at all to the approval in Canada — have objected to the Motion

on the basis that the requested relief in the Motion fails to sufficiently protect the interests of the

Area Developers. In reaching this erroneous conclusion, the Area Developers raise four principal

arguments, none of which is meritorious:

   •   First, the Area Developers contend that, to the extent the franchise agreements but not the
       Area Developer Agreements are to be retained by the Debtors, the relief requested must
       provide for cure of defaults and adequate assurance of future performance. This argument
       fails because, as discussed below, the Area Developers are not parties to the franchise
       agreements and have no rights under those agreements.

   •   Second, the Area Developers argue that, to the extent that the Area Developer Agreements
       and the franchise agreements are to be treated as excluded assets and transferred to a
       residual company, the Court must protect their rights under as licensees of intellectual
       property under section 365(n) of the Bankruptcy Code. This argument fails for at least two
       reasons. First, and as noted above, the Area Developers are not parties to the franchise
       agreements and are not entitled to assert rights under any licenses afforded in those
       agreements. And second, the Area Developer Agreements, themselves, grant extremely
       limited trademark licenses that are not subject to section 365(n), and which are being
       disclaimed in accordance with Canadian law.

   •   Third, the Area Developers contend that, to the extent that Liberty has collected
       postpetition franchise fees and royalties under the franchise agreements and has failed to
       pay the Area Developers their designated portion of such franchise fees and royalties, such
       amounts must be turned over to the Area Developers. The Area Developers cite no facts
       in support of these assertions. Instead, this appears to be a continuation of universally
       unsuccessful prepetition litigation related to a roundly rejected contention that the Area
       Developer Agreements are perpetual. To the extent that there are postpetition fees owing,
       that is an issue of Canadian law and should have been addressed at the CCAA Vesting
       Order Hearing.



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                   23-10983-TMH Doc
                                Doc 98-2
                                    124 Filed
                                         Filed 11/09/23
                                               11/03/23 Page
                                                        Page 15
                                                             4 ofof487
                                                                    60



    •    Finally, the Area Developers object to the proposed third-party releases and exculpation
         provisions set forth in the Motion. As set forth herein, courts routinely approve similar
         third-party releases that are included in foreign restructuring plans.

         3.      Fundamentally, the Area Developers’ arguments are based on a flawed premise.

Contrary to their assertion, they are not parties to the underlying franchise agreements. Their rights

to recruit potential franchisees and receive certain fees and royalties if a franchise agreement is

entered into between Liberty and a franchisee sourced by the Area Developer arise under the Area

Developer Agreements. The Area Developers’ contractual rights do not implicate section 365(n)

of the Bankruptcy Code, Tempnology, or any other provision that would preclude granting the

Motion.

         4.      Accordingly, the Motion should be granted and the Objection overruled.

                               RELEVANT FACTUAL BACKGROUND

         5.      Liberty offers franchises to operate its tax return preparation services. As part of

marketing its franchises, Liberty contracts with “area developers” who agree to market to potential

franchisees in exchange for a percentage of royalties generated by franchisees in their designated

area. The objecting parties are eight of Liberty’s “area developers.”

         6.      Each objecting Area Developer is or was a party to an Area Developer Agreement

(the “Area Developer Agreements”) with Liberty, copies of which are attached hereto as Exhibit

A-1 through A-15. Four of the Area Developer Agreements were active as of the Petition Date.

(“Active AD Agreements”). Eleven of the Area Developer Agreements were not active as of the

Petition Date due to non-renewal2 (“Inactive AD Agreements”). These Active AD Agreements

and Inactive AD Agreements are identified on Appendix A attached hereto.



2
  A number of the Area Developers who were parties to Inactive AD Agreements have litigation pending against one
or more of the Debtors. This litigation has routinely found that, despite Area Developers’ arguments to the contrary,
there is no perpetual right to serve as an area developer. See, e.g., JTH Tax LLC v. Grabowski, No. 19 C 8123, 2021
WL 3857794, at *6 (N.D. Ill. Aug. 30, 2021), reconsideration denied sub nom. JTH Tax LLC v. Rocci, No. 19 C 8123,
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              Case 23-10983-TMH
                   23-10983-TMH Doc
                                Doc 98-2
                                    124 Filed
                                         Filed 11/09/23
                                               11/03/23 Page
                                                        Page 16
                                                             5 ofof487
                                                                    60



        7.      With respect to the Inactive AD Agreements, a notice of Non-Renewal (“Notice of

Non-Renewal”) was mailed to the relevant Area Developer between August 14, 2019 and

November 28, 2022. Copies of those Notices of Non-Renewal are attached hereto as Exhibit B.

        8.      With respect to the Active AD Agreements, on October 27, 2023, the Foreign

Representative mailed notices of disclaimers to the four applicable Area Developers, providing

notice of the intent to disclaim or resiliate (analogs to rejection under the CCAA) the Active AD

Agreements [D.I. 97]. Copies of the notices of disclaimer are attached hereto as Exhibit C. As

stated in the notices of disclaimers, parties have fifteen (15) days after the day on which notice is

given to apply to the Canadian Court for an order that the agreement is not to be disclaimed or

resiliated. Accordingly, the deadline to respond to the notices of disclaimers is November 13,

2023.

        9.      On October 31, 2023, the Canadian Court held a hearing on and entered the CCAA

Vesting Order (“CCAA Vesting Order Hearing”). No objections were raised by the Area

Developers or any other third party to the relief requested at the CCAA Vesting Order Hearing.

        10.     On November 1, 2023, the Foreign Representative filed a Notice of Filing of

(I) CCAA Vesting Order and (II) Final Transaction Agreement [D.I. 91], attaching the CCAA

Vesting Order, a redline of the CCAA Vesting Order against the version filed with the Motion, an

executed copy of the Transaction Agreement, and a redline of the Transaction Agreement against

the version filed with the Motion.

        11.     The Active AD Agreements are identified as Excluded Assets on Schedule 2.2 of

the Transaction Agreement.




2021 WL 4844099 (N.D. Ill. Oct. 17, 2021) (finding that because the Area Developer failed to meet minimum
requirements, Liberty was entitled to refuse renewal).
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                  23-10983-TMH Doc
                               Doc 98-2
                                   124 Filed
                                        Filed 11/09/23
                                              11/03/23 Page
                                                       Page 17
                                                            6 ofof487
                                                                   60



       12.     Contrary to their assertion that they are “deemed” parties to various Liberty

franchise agreements, see Obj. ¶¶ 3-4, there is no provision in the Area Developer Agreements,

the franchise agreements, or under applicable law which provides that an Area Developer would

be a party to any franchise agreement, which is likely why the Area Developers do not cite to

language in any of the controlling agreements to support their position. The Area Developers were

not signatories to the franchise agreements that they sold.

       13.     The Area Developer Agreements define the rights of the Liberty and the applicable

Area Developer. Importantly, the Area Developer Agreements expressly state that “Liberty owns

the Franchise system, its trademarks and all other intellectual property associated with the

Franchise system.” See Section 8.2 of Area Developer Agreement, attached as Exhibit A. While

the Area Developer Agreements provide the Area Developer with the right to use Liberty’s

trademarks during the term for the sole purpose of advertising the availability of franchises for sale

within the territory, any marketing involving Liberty’s trademarks must be approved in writing by

Liberty, and this approval can be granted or withheld in Liberty’s sole discretion. Id.

                                           ARGUMENT

I.     The Area Developer’s Rights Are Appropriately Protected.

       14.     The Area Developer Agreements have either been non-renewed prior to the Petition

Date or are subject to disclaimer under Canadian law and are not being transferred pursuant to the

CCAA Vesting Order. This treatment is consistent with the rights granted under those agreements

and applicable law. The concept of “sufficient protection” is procedural and is designed to ensure

that the US-based creditor has the right to participate in the foreign proceedings. Here, notices

have been provided to the Area Developers and they can assert their entitlements in Canada for

that court to address. The mechanism in Canada for payment of these claims is not dissimilar to

the way they would be treated in the United States, as further discussed below.

                                                  5
               Case
               Case 23-10983-TMH
                    23-10983-TMH Doc
                                 Doc 98-2
                                     124 Filed
                                          Filed 11/09/23
                                                11/03/23 Page
                                                         Page 18
                                                              7 ofof487
                                                                     60



    A. The Active AD Agreements Are Not Licenses to Operate Locations and Are Not IP
       or Trademark Licenses.

         15.      The Area Developers contend that the Debtors license “a system for the operation

of tax return preparation offices within specified territories.” Obj. ¶1. This is fundamentally

incorrect. The Area Developer Agreements provide a license for the Area Developer to advertise

the availability of franchise locations and territories for sale by Liberty to potential franchisee

candidates. Area Developer Agreement, at ¶8.2. The agreements do not grant a license for the

operation of Liberty-branded tax return preparation offices. Id. The Area Developer Agreements

specify that Liberty owns the franchise system, its trademarks, and all other intellectual property

associated with the franchise system. Id. While Active Area Developers have a limited right to

use Liberty’s trademarks during the term for the sole purpose of advertising the availability of

franchises within the Area Developer’s territory, this limited grant requires Liberty’s prior written

consent, which may be withheld in Liberty’s sole discretion. Id.

         16.      Accordingly, the Active AD Agreements3 are routine executory contracts, not

specialized IP licenses, that can be disclaimed under Canadian law (and, in a plenary proceeding

in the U.S., would be subject to rejection under section 365 without implicating any of the concerns

addressed by section 365(n) or Mission Prod. Holdings, Inc. v. Tempnology, LLC, 139 S. Ct. 1652

(2019)). The Area Developers have no special rights that are implicated, or that must be protected.

Their rights are limited to that of a counterparty to a contract under Canadian law. CCAA § 32

(detailing the rights of counterparties to executory contracts).4




3
  Those Area Developers who have Inactive AD Agreements do not hold any trademark license. Any protections
under section 365(n)/Tempnology only apply to rights in existence as of the Petition Date. Therefore, as a matter of
law, the Debtors do not have the right to assume or preserve agreements with any Area Developer that was terminated
or nonrenewed prior to filing for chapter 15 protection.
4
 For ease of reference, copies of all Canadian legal statutes referenced in this Reply are attached as Exhibit D
hereto.
                                                          6
               Case
               Case 23-10983-TMH
                    23-10983-TMH Doc
                                 Doc 98-2
                                     124 Filed
                                          Filed 11/09/23
                                                11/03/23 Page
                                                         Page 19
                                                              8 ofof487
                                                                     60



    B. The Area Developers Are Not Parties to Franchise Agreements.

         17.       Similarly, the Area Developers attempt to bolster their argument that they are

entitled to special intellectual property related rights by stating, without attaching a single exhibit,

that they are “deemed” parties to any franchise agreement that a proposed candidate entered into

or enters into with Liberty in the specified territory. Obj. ¶3. This is incorrect. Nowhere in the

Objection do the Area Developers explain what provision of the Area Developer Agreements they

are relying upon in making that determination.5 This is because there is no such provision. The

franchise agreements do not include Area Developers as a party, signatory, or otherwise.

         18.       Because the Area Developers are not parties to the franchise agreements that they

market, they are not entitled to any rights that a franchisee may be entitled to. Their rights are

limited to that of a counterparty to a contract under Canadian law. CCAA § 32 (detailing the rights

of counterparties to executory contracts).

    C. Section 365(n) of the Bankruptcy Code Does Not Apply on these Facts.

         19.       Even if the Area Developers had shown that the Area Developer Agreements were

subject to the provisions of section 365(n) and Tempnology (and they have not), this Court should




5
  Liberty is aware that the Area Developers have been referencing an expired form of franchise agreement from 2008,
which purports to make the Area Developer a party to the franchise agreement. Not included in rights, if any, granted
to Area Developers under the franchise agreement are the rights to use Liberty trademarks, which are expressly granted
to the franchisee.
Further, the referenced form of franchise agreement was entered into in 2008 and (1) has since expired and (2) relates
to a territory that is not covered by any of the Area Developers. The Area Developers are not parties to franchise
agreements in general and certainly not to old, expired franchise agreements from 2008. Even if they were a party, the
Area Developers may not enforce contracts that expired well over 15 years ago. See, e.g., Rockbridge Area
Conservation Council v Virginia Outdoors Foundation, No. CL15-186, 2018 WL 1053753, at *3 (Va.Cir.Ct. Feb. 23,
2018) (“The Court thus finds and concludes that VOF is not liable for breach of contract in this case, because the
contract expired by its terms, and in effect left no contract to breach.”); Litton Fin. Printing Div., a Div. of Litton Bus.
Sys., Inc. v. N.L.R.B., 501 U.S. 190, 206 (1991) (“[A]n expired contract has by its own terms released all its parties
from their respective contractual obligations, except obligations already fixed under the contract but as yet
unsatisfied”); 17A Am. Jur. 2d Contracts § 519 (“Where a contract specifies the period of its duration, it terminates
on the expiration of such period. An expired contract releases all its parties from their respective contractual
obligations.”). Liberty’s standard franchise agreement is five years. More recent franchise agreements do not appear
to contain the referenced language.
                                                             7
             Case
             Case 23-10983-TMH
                  23-10983-TMH Doc
                               Doc 98-2
                                   124 Filed
                                        Filed 11/09/23
                                              11/03/23 Page
                                                       Page 20
                                                            9 ofof487
                                                                   60



exercise its discretion and not apply those provisions to the cases here. It is axiomatic that not all

provisions of the Bankruptcy Code automatically apply in chapter 15 cases even upon recognition.

See 11 U.S.C. § 1520 (listing certain Bankruptcy Code provisions that automatically apply upon

recognition of a foreign main proceeding). Not listed among them is section 365 of the Bankruptcy

Code or its subsection 365(n). Instead, the purpose of chapter 15 is to recognize and aid foreign

courts, not to provide a second bite at the apple to parties who are dissatisfied with the rulings of

foreign courts. In re Just Energy Group Inc., Case No. 21-30823, Hr’g Tr. 24:12-22, Dec. 1, 2022

(“What we are doing here today is not second-guessing the Canadian court. That is the opposite of

what we are supposed to do today. We are determining whether the orders of the Canadian court

should be recognized in the United States, and the argument that you are making as to why this is

admissible is that perhaps the judge in Canada could have made a different decision. But that does

not go to whether we should recognize the order, which at this point you have not suggested any

reason why those proceedings were in some manner so irregular that they are not entitled to

recognition.”); Id., Hr’g Tr. 17:20 – 18:2, Dec. 15, 2022 (“Well, let me just say that largely the job

of a recognition court is not to serve as an appellate court to the Canadian proceeding, but is to

determine whether what the Canadian proceeding has undertaken somehow offends U.S. law or is

inconsistent with U.S. law, things of that nature. But if you knew the Canadian proceeding since

March of 1 2021, then you had an opportunity to present this evidence in Canada, which has been

rejected.”). Here, the Area Developers were on full notice of the CCAA proceedings and chose

not to appear, objecting only now in the chapter 15.

       20.     The Area Developers cite to Jaffe v. Samsung Electronics Company, Limited for

the proposition that licensees in a chapter 15 bankruptcy proceeding were entitled to the

protections afforded by section 365(n) of the Bankruptcy Code. See Obj. ¶9. Section 365(n) of the

Bankruptcy Code applies to “Intellectual Property” as defined in section 101 of the Bankruptcy

                                                  8
              Case
               Case23-10983-TMH
                    23-10983-TMH Doc
                                  Doc98-2
                                      124 Filed
                                          Filed 11/03/23
                                                11/09/23 Page
                                                         Page 10
                                                              21 of
                                                                 of 487
                                                                    60



Code. Under section 101(35A) of the Bankruptcy Code, intellectual property “means-(A) trade

secret; (B) invention, process design, or plant protected under title 35; (C) patent application; (D)

plant variety; (F) work of authorship protected under chapter 9 of title 17.” 11 U.S.C. § 101 (35A).

Notably, trademarks are excluded by omission from the definition of “intellectual property” under

this section. Under the Active AD Agreements, the only intellectual property that may be

implicated is a license to use Liberty trademarks. Consequently, section 365(n) of the Bankruptcy

Code does not apply here.

        21.     Moreover, the Jaffe and Qimonda decisions are factually distinct from the present

situation. Both decisions focused heavily on evidence presented at trial, with the bankruptcy court

in Qimonda indicating the issue on balance was “close” but finding compelling the facts and

circumstances of the industry-specific issues raised during the trial. In re Qimonda AG, 462 B.R.

165 (Bankr. E.D. Va. 2011).

        22.     The Area Developer Agreements specify that Liberty owns the franchise system,

its trademarks and all other intellectual property associated with the franchise system, and the Area

Developer Agreements only provide the Area Developer with the right to use Liberty’s trademarks

during the term for the sole purpose of advertising the availability of franchises within the territory.

See Section 8.2 of Area Developer Agreement. This is not an intellectual property right that can

be used by the Area Developer under section 365(n) because it still requires Liberty’s prior written

consent to such use and states that such consent may be withheld in Liberty’s sole discretion. Jaffe

v. Samsung Elecs. Co., 737 F.3d 14 (4th Cir. 2013) is irrelevant here because the Area Developer

Agreements allow Liberty to withhold consent for the use of the intellectual property at any time.

        23.     Further, unlike in Jaffe where it was presumed that there were fewer protections

provided under German law, the CCAA proceedings already ensure sufficient protection of

creditors. A determination of sufficient protection “requires a balancing of the respective parties’

                                                   9
             Case
              Case23-10983-TMH
                   23-10983-TMH Doc
                                 Doc98-2
                                     124 Filed
                                         Filed 11/03/23
                                               11/09/23 Page
                                                        Page 11
                                                             22 of
                                                                of 487
                                                                   60



interests.” In re ENNIA Caribe Holding N.V., 596 B.R. 316, 322 (Bankr. S.D.N.Y. 2019) (citing

AJW Offshore, Ltd., 488 B.R. 551, 559 (Bankr. E.D.N.Y. 2013)); SNP Boat Serv. S.A. v. Hotel Le

St. James, 483 B.R. 776, 784 (S.D. Fla. 2012)). Courts have explained “sufficient protection” as

embodying three basic principles: the just treatment of all holders of claims against the bankruptcy

estate, the protection of U.S. claimants against prejudice and inconvenience in the processing of

claims in the foreign proceeding, and the distribution of proceeds of the foreign estate substantially

in accordance with the order prescribed by U.S. law. ENNIA Caribe Holding N.V., 596 B.R. at

322 (quoting In re Atlas Shipping A/S, 404 B.R. 726, 740 (Bankr. S.D.N.Y. 2009)).

       24.     As further discussed in the Motion, the CCAA is a just and reasonable procedure,

as previously recognized by numerous United States courts, and principles of comity dictate that

the law of the plenary proceeding govern over congruent considerations of U.S. law. See Mot.

¶43; Cornfeld v. Invs. Overseas Servs., Ltd., 471 F. Supp. 1255, 1259 (S.D.N.Y. 1979) (“The fact

that the foreign country involved is Canada is significant. It is well-settled in New York that the

judgments of the Canadian courts are to be given effect under principles of comity. . . . More

importantly, Canada is a sister common law jurisdiction with procedures akin to our own, and thus

there need be no concern over the adequacy of the procedural safeguards of Canadian

proceedings.”) (internal quotation marks and citations omitted); see also In re Grant Forest Prod.,

Inc., 440 B.R. 616, 622 (Bankr. D. Del. 2010); In re Crystallex Int’l Corp., No. 11-14074 (LSS),

2022 WL 17254660, at *6 (Bankr. D. Del. Nov. 28, 2022).

       25.     In Canada, there are protections afforded to licensees of intellectual property under

the CCAA which are largely similar to those granted under section 365(n) of the Bankruptcy Code.

Section 32(6) of the CCAA provides that “[i]f the company has granted a right to use intellectual

property to a party to an agreement, the disclaimer or resiliation does not affect the party’s right to

use the intellectual property — including the party’s right to enforce an exclusive use — during

                                                  10
             Case
              Case23-10983-TMH
                   23-10983-TMH Doc
                                 Doc98-2
                                     124 Filed
                                         Filed 11/03/23
                                               11/09/23 Page
                                                        Page 12
                                                             23 of
                                                                of 487
                                                                   60



the term of the agreement, including any period for which the party extends the agreement as of

right, as long as the party continues to perform its obligations under the agreement in relation to

the use of the intellectual property.” CCAA §32(6). Further, the protections provided to creditors

are arguably even more robust than those provided in the U.S., as the CCAA provides for the

existence of a Monitor to act as a neutral third party and requires that the Monitor approve the

proposed disclaimer or resiliation (a process which was undertaken here). CCAA §32(1). Lastly,

in considering whether to disclaim contracts, the Canadian Court is to consider several factors,

including whether the disclaimer would likely cause significant financial hardship to a party to the

agreement. CCAA §32(4). To the extent the Area Developers wish to object to the disclaiming

of their Area Developer Agreements, they can and should apply to the Canadian Court.

       26.     Accordingly, this Court should overrule the Objection and find that section 365(n)

does not apply to prohibit the disclaimer or exclusion of the Area Developer Agreements, and that

the objection should be addressed in the Canadian Proceedings.

II.   The Area Developers Have Not Shown that Liberty Collected Franchise Fees that
Must Be Turned Over and Entitlement, if any, to Postpetition Franchise Fees Is a Matter of
Canadian Law.

       27.     The Area Developers contend that, to the extent that Liberty has collected

postpetition franchise fees and royalties under the franchise agreements and has failed to pay the

Area Developers their designated portion of franchise fees and royalties, these amounts must be

turned over to the Area Developers. The Area Developers cite no facts in support of this contention

and mere conjecture is not sufficient to raise a factual dispute on this point. Moreover, this

argument appears to be a continuation of a roundly rejected position proffered by Area Developers

that were parties to the Inactive AD Agreements that the Area Developer Agreements are perpetual

(and that they are then entitled to perpetual franchise fee royalties) and does not serve as a basis to

overrule the Motion. See, e.g., JTH Tax LLC v. Grabowski, No. 19 C 8123, 2021 WL 3857794, at

                                                  11
              Case
               Case23-10983-TMH
                    23-10983-TMH Doc
                                  Doc98-2
                                      124 Filed
                                          Filed 11/03/23
                                                11/09/23 Page
                                                         Page 13
                                                              24 of
                                                                 of 487
                                                                    60



*6 (N.D. Ill. Aug. 30, 2021), reconsideration denied sub nom. JTH Tax LLC v. Rocci, No. 19 C

8123, 2021 WL 4844099 (N.D. Ill. Oct. 17, 2021) (finding that because the area developer failed

to meet minimum requirements, Liberty was entitled to refuse renewal).

        28.     To the extent there are postpetition franchise fees that are owed under Active AD

Agreements, that is an issue of Canadian law and should have been addressed at the CCAA Vesting

Order Hearing. The Area Developers’ unfounded statements are nothing more than distraction and

attempts to thwart a wholly permissible and authorized transaction, simply because they do not

agree with their proposed treatment thereunder.

III.    The Third Party Releases Should Be Enforced.

        29.     Finally, in a single sentence without citation, the Area Developers object to the

proposed third-party releases and exculpation provisions set forth in the Motion on the grounds

that the Motion fails to identify any basis for such relief under the Bankruptcy Code. Obj. ¶12.

Granting comity to the Transaction Agreement and CCAA Vesting Order should appropriately

extend to the releases and exculpations provided for therein. “[P]rinciples of enforcement of

foreign judgments and comity in chapter 15 cases strongly counsel approval of enforcement in the

United States of the third-party non-debtor release and injunction provisions [appropriately granted

in a foreign proceeding], even if those provisions could not be entered in a plenary chapter 11

case.” In re Metcalfe & Mansfield, 421 B.R. 685, 696 (Bankr. S.D.N.Y. 2010); Avanti, 582 B.R.

603, 619 (Bankr. S.D.N.Y. 2018) (enforcing a scheme and sanction order including third-party

releases); In re Sino-Forest Corp., 501 B.R. 655, 665 (Bankr. S.D.N.Y. 2013) (“[W]here third-

party releases are not categorically prohibited, it cannot be argued that the issuance of such releases

is manifestly contrary to public policy . . . .”).

        30.     Courts have enforced similar third-party releases in various foreign proceedings.

Recognition of such releases is appropriate and routinely granted to foreign debtors through

                                                     12
              Case
               Case23-10983-TMH
                    23-10983-TMH Doc
                                  Doc98-2
                                      124 Filed
                                          Filed 11/03/23
                                                11/09/23 Page
                                                         Page 14
                                                              25 of
                                                                 of 487
                                                                    60



chapter 15 of the Bankruptcy Code. See, e.g., In re Acerus Pharma. Corp., No. 23-10111 (TMH)

(Bankr. D. Del. June 13, 2023) (D.I. 78) (granting recognition to orders issued by the Canadian

court, including the releases set forth therein); In re Avanti, 582 B.R. at 606 (recognizing and

enforcing a United Kingdom scheme and sanction order where “failure of a U.S. bankruptcy court

to enforce [certain third-party releases] could result in prejudicial treatment of creditors to the

detriment of the Debtor’s reorganization”); In re Sino-Forest Corp., 501 B.R. at 665 (enforcing

foreign order containing third-party releases); In re Ocean Rig UDW Inc., 570 B.R. 687, 687

(Bankr. S.D.N.Y. 2017) (recognizing and enforcing terms of Cayman scheme that released

subsidiary guarantees); In re Catalyst Paper Corp., No. 16-12419 (CSS), 2017 WL 5479405, at

*2 (Bankr. D. Del. Jan. 20, 2017) (granting recognition to orders issued by the Canadian court,

including the releases set forth therein); In re CDS U.S. Holdings, Inc., No. 20-11719 (CSS)

(Bankr. D. Del. Oct. 29, 2020) (D.I. 112) (recognizing and giving effect in the United States to the

Approval and Vesting Order entered in the Canadian Proceeding, including third-party releases

therein).

        31.     The same circumstances are present here. If the Court declines to enforce the

release, exculpation, and injunction provisions set forth in the in the CCAA Vesting Order, then

creditors could seek to obtain judgments in the U.S. against the Debtors or other Released Parties

(as defined in the CCAA Vesting Order). This outcome would undermine the Canadian

Proceedings and the Canadian Court’s order and would result in prejudicial treatment of certain

creditors and parties in interest to the detriment of the Debtors’ reorganization efforts and will

prevent the fair and efficient administration of the restructuring contemplated in the Transaction

Agreement.

        32.     If creditors are permitted to commence actions in the United States in contravention

of the CCAA Vesting Order, Transaction Agreement, and the release, exculpation, and injunction

                                                 13
           Case
            Case23-10983-TMH
                 23-10983-TMH Doc
                               Doc98-2
                                   124 Filed
                                       Filed 11/03/23
                                             11/09/23 Page
                                                      Page 15
                                                           26 of
                                                              of 487
                                                                 60



provisions set forth therein, the Foreign Representative and the Debtors will be forced to waste

resources defending those actions. The relief requested is necessary to achieve comity and prevent

parties from undermining the purpose of the CCAA Vesting Order and the authority of the

Canadian Court.




                                               14
           Case
            Case23-10983-TMH
                 23-10983-TMH Doc
                               Doc98-2
                                   124 Filed
                                       Filed 11/03/23
                                             11/09/23 Page
                                                      Page 16
                                                           27 of
                                                              of 487
                                                                 60



                                        CONCLUSION

       The Foreign Representative respectfully submits that, for the reasons set forth herein, the

Objection should be overruled and the Motion granted.

November 3, 2023
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                                               15
          Case
           Case23-10983-TMH
                23-10983-TMH Doc
                              Doc98-2
                                  124 Filed
                                      Filed 11/03/23
                                            11/09/23 Page
                                                     Page 17
                                                          28 of
                                                             of 487
                                                                60




                                         Appendix A

The Active AD Agreements consist of:

          •   Area Developer Agreement dated as of July 13, 2018 by and among JTH Tax, Inc.
              and Mike Budka and Mufeed Haddad (Entity 4711);

          •   Area Developer Agreement dated as of August 15, 2018 by and among JTH Tax,
              Inc. and M&M Business Group L.P. (Entity 2532);

          •   Area Developer Agreement dated as of August 15, 2018 by and among JTH Tax,
              Inc. and Mufeed Haddad (Entity 4693); and

          •   Area Developer Agreement dated as of February 28, 2014 by and among JTH Tax,
              Inc. and Mufeed Haddad (Entity 7700).


The Inactive AD Agreements consist of:

          •   Area Developer Agreement dated as of July 25, 2006 by and among JTH Tax, Inc.
              and Gorilla Tax Services, Inc. (Entity 4248);

          •   Area Developer Agreement dated as of October 29, 2007 by and among JTH Tax,
              Inc. and Gorilla Tax Services, Inc. (Entity 4248);

          •   Area Developer Agreement dated as of October 29, 2007 by and among JTH Tax,
              Inc. and Sarkauskas Empire Inc. (Entity 4738);

          •   Area Developer Agreement dated as of June 7, 2007 by and among JTH Tax, Inc.
              and Sarkauskas Empire Inc. (Entity 4738);

          •   Area Developer Agreement dated as of December 29, 2006 by and among JTH Tax,
              Inc. and Sarkauskas Enterprises, LLC (Entity 4671);

          •   Area Developer Agreement dated as of October 29, 2007 by and among JTH Tax,
              Inc. and Sarkauskas Enterprises, LLC (Entity 4671);

          •   Area Developer Agreement dated as of April 8, 2009 by and among JTH Tax, Inc.
              and Sarkauskas Enterprises, LLC (Entity 4671);

          •   Area Developer Agreement dated as of August 13, 2007 by and among JTH Tax,
              Inc. and Mufeed Haddad (Entity 4878);

          •   Area Developer Agreement dated as of January 23, 2008 by and among JTH Tax,
              Inc. and Mufeed Haddad, Michael N. Budka, Mark C. Johnson, and Mary G.
              Johnson, as Tenants in Common (Entity 5167);

                                             16
Case
 Case23-10983-TMH
      23-10983-TMH Doc
                    Doc98-2
                        124 Filed
                            Filed 11/03/23
                                  11/09/23 Page
                                           Page 18
                                                29 of
                                                   of 487
                                                      60




•   Area Developer Agreement dated as of November 28, 2012 by and among JTH
    Tax, Inc. and M&M Business Group, LP (Entity 2532); and

•   Area Developer Agreement dated as of December 3, 2014 by and among JTH Tax,
    Inc. and M&M Business Group, LP (Entity 2532).




                                 17
Case
 Case23-10983-TMH
      23-10983-TMH Doc
                    Doc98-2
                        124 Filed
                            Filed 11/03/23
                                  11/09/23 Page
                                           Page 19
                                                30 of
                                                   of 487
                                                      60




                  Exhibit A-1
             Case 23-10983-TMH          Doc 124      Filed 11/09/23     Page 31 of 60




Due to the voluminous nature of the exhibits ﬁled in these bankruptcy proceedings, Exhibit A-1 through

A-15 may be (i) viewed and downloaded free of charge at the Debtors’ case website

(htps://cases.streto.com/NextPoint/), or (ii) obtained upon writen request (including by e-mail) to

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 Case23-10983-TMH
      23-10983-TMH Doc
                    Doc98-2
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                             Filed11/03/23
                                   11/09/23 Page
                                             Page445
                                                  32 of
                                                     of 60
                                                        487




                   Exhibit B
             Case 23-10983-TMH            Doc 124    Filed 11/09/23      Page 33 of 60




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      23-10983-TMH Doc
                    Doc98-2
                        124 Filed
                             Filed11/03/23
                                   11/09/23 Page
                                             Page472
                                                  34 of
                                                     of 60
                                                        487




                   Exhibit C
             Case 23-10983-TMH            Doc 124    Filed 11/09/23      Page 35 of 60




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Case
 Case23-10983-TMH
      23-10983-TMH Doc
                    Doc98-2
                        124 Filed
                             Filed11/03/23
                                   11/09/23 Page
                                             Page477
                                                  36 of
                                                     of 60
                                                        487




                   Exhibit D
               Case 23-10983-TMH        Doc 124      Filed 11/09/23      Page 37 of 60




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(i)   viewed     and   downloaded      free   of    charge    at   the    Debtors’    case    website

(htps://cases.streto.com/NextPoint/), or (ii) obtained upon writen request (including by e-mail) to

counsel to the Foreign Representa�ve, DLA Piper (US) LLP, 1201 N. Market Street, Suite 2100

Wilmington, Delaware 19801 (Atn: R. Craig Mar�n, Esq. [craig.mar�n@us.dlapiper.com]), and 1251

Avenue of the Americas, New York, New York 10020 (Atn: Rachel Ehrlich Albanese, Esq.

[rachel.albanese@us.dlapiper.com] and Jamila Jus�ne Willis, Esq. [jamila.willis@us.dlapiper.com]).
Case 23-10983-TMH   Doc 124   Filed 11/09/23   Page 38 of 60



                    Exhibit B
                                                                   Case 23-10983-TMH     Doc 124      Filed 11/09/23   Page 39 of 60



                                                                                             Exhibit B
                                                                                       Served via First-Class Mail



                           Name                              Attention                              Address 1                                   Address 2             City    State     Zip   Country
   0859879 B.C. LTD.                      ATTN: LEGAL DEPT                       2576 COPPER RIDGE PLACE                                                    WEST KELOWNA     BC     V4T 2X6   CANADA
   1000025109 ONTARIO INC.                ATTN: LEGAL DEPT                       205-3040 NEW STREET                                                        BURLINGTON       ON     L7M1N5    CANADA
   1000359120 ONTARIO INC                 ATTN: LEGAL DEPT                       779 2ND AVE EAST                                                           OWEN SOUND       ON     N4K2G9    CANADA
   102439 P.E.I. INC.                     ATTN: LEGAL DEPT                       14 ST. PETERS RD                                                           CHARLOTTETOWN    PE     C1A5N3    CANADA
   1040 LLC                               ATTN: JASON WILLIAMS                   4225 AZALEA CIRCLE                                                         ERIE             PA     16506
   1051844 ALBERTA INC.                   ATTN: LEGAL DEPT                       658 MERRILL DRIVE N.E.                                                     CALGARY          AB     T2E 8Y6   CANADA
   1094510 B.C. LTD                       ATTN: LEGAL DEPT                       102-14888 104 AVE                                                          SURREY           BC     V3R1M4    CANADA
   11088238 CANADA INC.                   ATTN: LEGAL DEPT                       9-1289 MARLBOROUGH COURT                                                   OAKVILLE         ON     L6H2R9    CANADA
   11637339 CANADA INC.                   ATTN: LEGAL DEPT                       972 HAMILTON ROAD UNIT 16                                                  LONDON           ON     N5W1V6    CANADA
   11662112 CANADA INC.                   ATTN: LEGAL DEPT                       346 PANHELLENIC DRIVE                                                      MISSISSAUGA      ON     L5W0B9    CANADA
   11662554 CANADA INC.                   ATTN: LEGAL DEPT                       7-279 YONGE STREET                                                         BARRIE           ON     L4N7T9    CANADA
   12536846 CANADA CORP                   ATTN: LEGAL DEPT                       346 PANHELLENIC DRIVE                                                      MISSISSAUGA      ON     L5W0B9    CANADA
   12591961 CANADA INC.                   ATTN: LEGAL DEPT                       205-3040 NEW ST                                                            BURLINGTON       ON     L7M1N5    CANADA
   13429300 CANADA INC.                   ATTN: LEGAL DEPT                       631 WINDBROOK HEIGHTS SW                                                   AIRDRIE          AB     T4B3V9    CANADA
   1365043 ONTARIO LTD                    ATTN: LEGAL DEPT                       29 ELGIN STREET                                                            TRENTON          ON     K8V 3X7   CANADA
   14586867 CANADA INC.                   LIBERTY TAX SERVICE (HAMILTON)         19 KING STREET                                                             HAMILTON         ON     L8N 1A1   CANADA
   1498789 ONTARIO INC.                   ATTN: LEGAL DEPT                       61 DUNDAS ST WEST                                                          MISSISSAUGA      ON     L5B 1H7   CANADA
   1548004 ONTARIO INC.                   LIBERTY TAX SERVICE                    375 EXMOUTH ST.                                                            SARNIA           ON     N7T 5N8   CANADA
   1562306 ALBERTA LTD.                   ATTN: LEGAL DEPT                       12912 - 97TH ST.                                                           EDMONTON         AB     T5E4C3    CANADA
   1569710 ALBERTA LTD.                   ATTN: LEGAL DEPT                       BOX 1450                                                                   BROOKS           AB     T1R1C3    CANADA
   1684224 ALBERTA LTD.                   ATTN: LEGAL DEPT                       102-4510 VALIANT DR NW                                                     CALGARY          AB     T3A0X9    CANADA
   1854600 ALBERTA LTD.                   ATTN: LEGAL DEPT                       350-55 SALISBURY WAY                                                       SHERWOOD PARK    AB     T8B0A9    CANADA
   1898370 ONTARIO INC.                   ATTN: LEGAL DEPT                       10 ST. COLUMBA DR                                                          ST. CATHARINES   ON     L2N3G3    CANADA
   1972778 ONTARIO INC.                   ATTN: LEGAL DEPT                       283 TOWN LINE RD. E.                                                       DESBARATS        ON     P0R1E0    CANADA
   1981312 ONTARIO INC.                   ATTN: LEGAL DEPT                       251 DAVIS DR                                                               NEWMARKET        ON     L3Y2N5    CANADA
   2 GIRLS & A GUY TAX & BOOKKEEPING      ATTN: MARK WILLIAMS                    123 S HERLONG AVE                                                          ROCK HILL        SC     29732
   2003706 ALBERTA LTD.                   ATTN: LEGAL DEPT                       230 SCOTIA PT NW                                                           CALGARY          AB     T3L2B1    CANADA
   2049580 ALBERTA LTD.                   ATTN: LEGAL DEPT                       71 EVANSRIDGE CRESCENT NW                                                  CALGARY          AB     T3P0J2    CANADA
   2078819 ALBERTA INC.                   ATTN: LEGAL DEPT                       197 RUE MONIQUE                                                            BEAUMONT         AB     T4X0A1    CANADA
   2083317 ONTARIO LTD.                   ATTN: LEGAL DEPT                       20 HARWOOD AVE S                                  UNIT 1A                  AJAX             ON     L1S 6N2   CANADA
   2117408 ALBERTA LTD.                   ATTN: LEGAL DEPT                       BOX 2162                                                                   SLAVE LAKE       AB     T0G2A0    CANADA
   2159960 ONTARIO INC.                   ATTN: 2159960 ONTARIO INC.             1-100 MCQUEEN BLVD                                                         FERGUS           ON     N1M3T8    CANADA
   2311892 ONTARIO LTD.                   ATTN: LEGAL DEPT                       933103 AIRPORT ROAD                                                        MONO             ON     L9W6C7    CANADA
   2482972 ONTARIO INC.                   ATTN: LEGAL DEPT                       126 COASTLINE DR.                                                          BRAMPTON         ON     L6Y0S4    CANADA
   2538852 ONTARIO INC.                   ATTN: LEGAL DEPT                       5 ALTURA WAY                                                               BRAMPTON         ON     L6P4A2    CANADA
   2657777 ONTARIO CORPORATION            ATTN: LEGAL DEPT                       24 PINEDALE AVENUE                                                         CALEDON          ON     L7C3Z5    CANADA
   2677184 ONTARIO INC.                   ATTN: LEGAL DEPT                       212 ZOKOL DRIVE                                                            AURORA           ON     L4G0B8    CANADA
   2701856 ONTARIO INC.                   ATTN: LEGAL DEPT                       81 TOVELL DRIVE                                                            GUELPH           ON     N1K1Z5    CANADA
   2719645 ONTARIO INC.                   ATTN: LEGAL DEPT                       481 TALBOT STREET                                                          ST. THOMAS       ON     N5P1C3    CANADA
   2728473 ONTARIO INC.                   ATTN: LEGAL DEPT                       207 KING STREET WEST                                                       KITCHENER        ON     N2G1B1    CANADA
   2761645 ONTARIO INC.                   ATTN: LEGAL DEPT                       180 TEMPERANCE ST W                                                        WATERFORD        ON     N0E1Y0    CANADA
   3229328 NOVA SCOTIA LIMITED            ATTN: LEGAL DEPT                       3 DUNCAN AVE                                                               KENTVILLE        NS     B4N1N3    CANADA
   3438562 CANADA INC.                    ATTN: LEGAL DEPT                       PO BOX 545                                                                 NORTH SYDNEY     NS     B2A3M5    CANADA
   3G TAX CORP                            ATTN: JENEEN GIANNANDREA               35 ROGERS CIRCLE                                                           BRAINTREE        MA     02184
   4 REAL PARTNERS                        ATTN: JEROME DICKERSON                 7210 N HEARTHSTONE GREEN DR                                                HOUSTON          TX     77095
   5 STAGES BUSINESS SERVICES LLC         ATTN: DAWN PORTHOUSE                   94 STELLA ROAD                                                             BELLINGHAM       MA     02019
   6108261 CANADA INC                     ATTN: LEGAL DEPT                       110-360 CROYDON AVENUE                                                     OTTAWA           ON     K2B8A4    CANADA
   6447741 CANADA LTD                     ATTN: LEGAL DEPT                       206 CHANDOS DR                                                             KITCHENER        ON     N2Z 3Z6   CANADA
   684547 NB INC.                         ATTN: LEGAL DEPT                       98 REGIMENT CREEK AVE.                                                     FREDERICTON      NB     E3G0G3    CANADA
   695455 ALBERTA LTD.                    ATTN: LEGAL DEPT                       317 FIRST AVENUE                                                           SPRUCE GROVE     AB     T7X3X2    CANADA
   699647 N.B. LTD.                       ATTN: LEGAL DEPT                       994 ST. PETER AVE                                                          BATHURST         NB     E2A2Z4    CANADA
   7220901 MANITOBA LTD.                  ATTN: LEGAL DEPT                       7 WILLOW BROOK ROAD                                                        WINNIPEG         MB     R3Y0N7    CANADA
   726836 N.B. LTD.                       ATTN: LEGAL DEPT                       373 BRIDGE ST                                                              MINTO            NB     E4B2X5    CANADA
   734150 ALBERTA LTD                     ATTN: LEGAL DEPT                       126-7015 MACLEOD TRAIL SW                                                  CALGARY          AB     T2H2K6    CANADA
   7494336 MANITOBA INC                   ATTN: LEGAL DEPT                       100-1240 ELLICE AVENUE                                                     WINNIPEG         MB     R3G0E8    CANADA
   798 TREMONT                            AINI & ASSOCIATES PLLC                 2615 CONEY ISLAND AVENUE                          ARIEL A. BIVAS           BROOKLYN         NY     11223
   81012XX18 LLC                          ATTN: JULIE STRUNZ                     3233 THORTON DR                                                            JANESVILLE       WI     53548
   916719 ALBERTA LTD.                    ATTN: LEGAL DEPT                       150 EAST DRIVE                                                             SASKATOON        SK     S7J2X6    CANADA
   919 INVESTMENTS LLC                    ATTN: SAM COTTONE                      919 RIVER COURT                                                            WYANDOTTE        MI     48192
   A & E TAX SERVICE LLC                  ATTN: EDWARD WELCH                     153 S LAKE AVE                                                             ALBANY           NY     12208
   A & V TAXES WESTCHESTER INC.           ATTN: RATTANDEEP SINGH                 71 SHOREVIEW DR. APT. 2                                                    YONKERS          NY     10701
   A FELDMANN TAX SERVICE LLC             ATTN: ALANN FELDMANN                   3700 CYNTHIANA RD                                                          WILLIAMSTOWN     KY     41097
   A NEW ENDEAVOR LLC                     ATTN: ANGIE CURTIS                     S95W12951 HARRY VARDON CT                                                  MUSKEGO          WI     53150
   A PLUS TAX SERVICE LLC                 ATTN: PAMELA WILSON                    127 BRICK STREET                                                           PRINCETON        WV 24740
   A TEAM TAX AND FINANCIAL SVCS INC.     ATTN: RON GATLIN                       91-1020 OKUPE STREET                                                       EWA BEACH        HI     96706
   A&F TAXES INC.                         ATTN: HAMEEDA WAHAB JUNAGADHWALA       4901 GOLF RD APT 201                                                       SKOKIE           IL     60077
   A5 INC.                                ATTN: JACK WILLIAMS                    8300 E REGENTS RD                                                          PALMER           AK     99645
   AA OPTIMAL TAX & ACCOUNTING            ATTN: LEGAL DEPT                       2164 STILLMEADOW ROAD                                                      OAKVILLE         ON     L6M3R1    CANADA
   AALA ENTERPRISE LLC                    ATTN: LAILA JASANI                     4701 GLACIER BAY LANE                                                      COLLIERVILLE     TN     38017
   AAR 5 STARS TAX PREP SERVICES LLC      ATTN: ADEELA AKBAR                     746 RIFTON STREET                                                          ELMONT           NY     11003
   AARON KIOUS                                                                   ADDRESS ON FILE


In re: NextPoint Financial Inc., et al.
Case No. 23-10983 (TMH)                                                                                                                                                                       Page 1 of 19
                                                                         Case 23-10983-TMH     Doc 124      Filed 11/09/23   Page 40 of 60



                                                                                                   Exhibit B
                                                                                             Served via First-Class Mail



                           Name                              Attention                                    Address 1                                  Address 2                City   State      Zip   Country
   AARON SAVAGE                                                                        ADDRESS ON FILE
   ABDELRAZAK KASSIM                                                                   ADDRESS ON FILE
   ABDOU SAMB                                                                          ADDRESS ON FILE
   ABM TAX GROUP LLC                      ATTN: BRIAN FRIEDMAN                         1 HUGGINS LANE                                                               MANALAPAN        NJ      07726
   ABRAHAM MARTINEZ                                                                    ADDRESS ON FILE
   ABREU LEOPOLDO DURAN                                                                ADDRESS ON FILE
   ABWALLER LLC                           ATTN: ANTHONY WALLER                         3915 HICKORY VIEW                                                            HARKER HEIGHTS   TX      76548
   ACAI SERVIES INC                       ATTN: SYED EKRAM                             750 OAKWOOD DR                                                               WESTMONT         IL      60559
   ACCOUNT.IT LLC                         ATTN: JOHN SMITH                             514 BRIARWOOD DR                                                             EDEN             NC      27288
   ACCRESCENT FINANCIAL LTD.              ATTN: LEGAL DEPT                             64 BROADWAY AVE                                                              ORANGEVILLE      ON      L9W1J9   CANADA
   ACE ADVANCED SERVICES LLC              ATTN: JAMIE BIESKE                           4870 FLEETWOOD LANE                                                          JACKSON          MI      49201
   ACE TAX SERVICE LLC                    ATTN: SAIRA DHANANI                          319 HAMLETS END WAY                                                          FRANKLIN         TN      37067
   ADAMANDA INC.                          ATTN: DONNA LYNCH                            726 E MAIN ST STE C                                                          LEBANON          OH      45036
   ADE L LEWIS                                                                         ADDRESS ON FILE
   ADELA QUIROZ-PEREZ                                                                  ADDRESS ON FILE
   ADRIANA MOSQUEDA                                                                    ADDRESS ON FILE
   ADT TAX AND ACCOUNTING INC             ATTN: JAMI WALLING                           125 RABBIT RUN DR                                                            WILLIAMSON       WV      25661
   AFFORDABLE TAXES INC                   ATTN: ZAFAR BHURYA                           5509 N. BROADWAY                                                             CHICAGO          IL      60640
   AGNANT ALEXIA                                                                       ADDRESS ON FILE
   AGUILAR AGUILAR -ATENCIO & ATENCIO                                                  ADDRESS ON FILE
   AGUSTIN LOPEZ                                                                       ADDRESS ON FILE
   AHL ACCOUNTED IV LLC                   ATTN: JUANITA AHL                            131 SPRING BRANCH                                                            DUNN             NC      28334
   AKBS LLC                               ATTN: CHERYL LABRIE                          16744 NICKLEEN STREET                                                        ANCHORAGE        AK      99516
   ALAMO TAX SERVICES LLC                 ATTN: SALMAN MAKNOJIA                        4213 SAGINAW LN                                                              CARROLLTON       TX      75010
   ALAN J. LORANDEAU JR                                                                ADDRESS ON FILE
   ALAN S. TO                                                                          ADDRESS ON FILE
   ALBERTO TAPIA                                                                       ADDRESS ON FILE
   ALDEMARO MEYNARD & ERI MEYNARD                                                      ADDRESS ON FILE
   ALEJANDRINA JIMENEZ                                                                 ADDRESS ON FILE
   ALEJANDRO AND JOSE LUCIO                                                            ADDRESS ON FILE
   ALEXANDRA AND LEONARD GRANT                                                         ADDRESS ON FILE
   ALISON HOLLAND                                                                      ADDRESS ON FILE
   ALIYA AKHTAR                                                                        ADDRESS ON FILE
   ALL THAT IS CERTAIN LLC                ATTN: LISA WILLI                             832 S ONEIDA ST                                                              GREEN BAY        WI      54304
   ALLEN TEPLITZ                                                                       ADDRESS ON FILE
   ALOHA TAX CORP.                        ATTN: CONSTANCE ROJCEWICZ                    442A WAINAKU ST                                                              HILO             HI      96720
   ALTON COROTAN                                                                       ADDRESS ON FILE
   ALYSIA L. KRAMER                                                                    ADDRESS ON FILE
   AMANDA & TAVARUS YOUNG                                                              ADDRESS ON FILE
   AMBAR DOMINGUEZ                                                                     ADDRESS ON FILE
   AMBER N TEJADA                                                                      ADDRESS ON FILE
   AMEERAH S. ADEJOLA                                                                  ADDRESS ON FILE
   AMERICA ENTERPRISE INC                 ATTN: CHUNGMAN HO                            51 S. GARFIELD AVE                                                           ALHAMBRA         CA      91801
   AMERICAN TAX LLC                       ATTN: DAVID ALVARANGA                        3905 BENNING ROAD NE                                                         WASHINGTON       DC      20019
   AMERICAN TAX SERVICES INC.             ATTN: ARTHUR GUARINO                         108 STEPHANIE LANE                                                           YORKTOWN         VA      23692
   AMJAD GHAFOOR                                                                       ADDRESS ON FILE
   ANA CHACON                                                                          ADDRESS ON FILE
   ANABEL CAMPUSANO                                                                    ADDRESS ON FILE
   ANANDPUR BUSINESS SOLUTIONS INC.       ATTN: KUNAL DEWAN                            225 SIMI VILLAGE DR 940381                                                   SIMI VALLEY      CA      93094
   ANDREA M. RUSSELL                                                                   ADDRESS ON FILE
   ANDREA YOUNG BOOTHE                                                                 ADDRESS ON FILE
   ANDREW R. SMITH                                                                     ADDRESS ON FILE
   ANDREW SMOLEN                                                                       ADDRESS ON FILE
   ANDREY ZAHARIEV                                                                     ADDRESS ON FILE
   ANGELA BYRD                                                                         ADDRESS ON FILE
   ANGELA COLEMAN                                                                      ADDRESS ON FILE
   ANGELA PENN                                                                         ADDRESS ON FILE
   ANGELINA COUNTY                        C/O LINEBARGER GOGGAN BLAIR ET AL            PO BOX 3064                                       ATTN: TARA L. GRUNDEMEIR   HOUSTON          TX      77253-
   ANGIE AMADOR                                                                        ADDRESS ON FILE
   ANGIE FINLEY                                                                        ADDRESS ON FILE
   ANJ INVESTMENTS INC                    ATTN: MANISHA JAISWAL                        520 S. SLAPPEY BLVD                                                          ALBANY           GA      31721
   ANNE WURST                                                                          ADDRESS ON FILE
   ANNETTE FLORES                                                                      ADDRESS ON FILE
   ANTHONY PERRI                                                                       ADDRESS ON FILE
   APRIL SCANLAN                                                                       ADDRESS ON FILE
   ARACELI SANCHEZ                                                                     ADDRESS ON FILE
   ARIA TAX LLC                           ATTN: AMIN CHARANIA                          2806 WINTER GORGE                                                            SAN ANTONIO      TX      78259
   ARIANA MURRELL                                                                      ADDRESS ON FILE
   ARIDYL FINANCIAL SERVICES LLC          ATTN: TELOTAMA GOOLCHARRAN                   4 ROCCO DRIVE                                                                EAST LYME        CT      06333
   ARIZONA TAX ASSOCIATES LLC             ATTN: MICHAEL LEPORE                         29685 N 71ST PLACE                                                           SCOTTSDALE       AZ      85266
   ARTHUR L. HALL                                                                      ADDRESS ON FILE


In re: NextPoint Financial Inc., et al.
Case No. 23-10983 (TMH)                                                                                                                                                                               Page 2 of 19
                                                                           Case 23-10983-TMH     Doc 124      Filed 11/09/23   Page 41 of 60



                                                                                                     Exhibit B
                                                                                               Served via First-Class Mail



                         Name                                  Attention                                   Address 1                                   Address 2                          City     State      Zip    Country
   ASHISH POKHAREL                                                                       ADDRESS ON FILE
   ASHLEIGH D. WINDLE                                                                    ADDRESS ON FILE
   ASSOCIATES NOTARY PUBLIC CORP          ATTN: MARISA ARREOLA                           2627 EL INDIO HWY                                                                    EAGLE PASS           TX      78852
   AUDREY L. MCINTYRE                                                                    ADDRESS ON FILE
   AV TAXES & ACCOUNTING SERVICES INC     ATTN: ANTHONY VARGAS                           345 NE 37TH PLACE                                                                    HOMESTEAD            FL      33033
   AVTECH CAPITAL LLC.                    ATTN: LEGAL DEPT                               6995 UNION PARK CENTER 4TH FLOOR                                                     COTTONWOOD HEIGHTS   UT      84047
   AYRON SOLUTIONS LLC                    ATTN: AARON SMOLINSKY                          6207 STONEBROOK DR.                                                                  SANFORD              FL      32773
   AZUSA CANYON ENTERPRISES LLC           ATTN: LOREN OESTERLE                           546 N AZUSA AVE                                                                      AZUSA                CA      91702
   B ANNIE RAM ENTERPRISES INC            ATTN: MARY ANN BOWEN                           244 MOUNTAIN WAY                                                                     RUTHERFORD           NJ      07070
   B&B BUSINESS GROUP LLC                 ATTN: MICHAEL BUDKA                            375 S CAMEO WAY                                                                      BREA                 CA      92823
   B&B TAX                                ATTN: LANDON BROCKMAN                          531 N MAIN ST                                                                        PIQUA                OH      45356
   BAILEY BEAR LLC                        ATTN: JOHN PALANA                              44 WOODMIST CIRCLE                                                                   COVENTRY             RI      02816
   BALWINDER KAUR                                                                        ADDRESS ON FILE
   BARBARA O. JONES                                                                      ADDRESS ON FILE
   BARTO VENTURES II LLC                  ATTN: BRIAN BARTO                              574 MOUNTAINVIEW SCHOOL RD                                                           HIGH VIEW            WV      26808
                                                                                                                                           1 1ST CANADIAN P STE 6200 PO BOX
   BASEPOINT                              ATTN: M. WASSERMAN & D. ROSENBLAT              100 KING STREET WEST                              50                                 TORONTO              ON      M5X 1B8   CANADA
   BASEPOINT                              ATTENTION: MARY BUTTERY KC                     155 W HASTINGS ST STE 1700 GUINNESS               OSLER HOSKIN & HARCOURT LLP        VANCOUVER            BC      V6E 2E9   CANADA
                                                                                                                                           KIRKLAND & ELLIS INTERNATIONAL
   BASEPOINT                              ATTN: B.SCHARTZ & A.SMITH                      601 LEXINGTON AVENUE                              LLP                                NEW YORK             NY      10022
   BASEPOINT ADMINISTRATIVE LLC           ATTN: LEGAL DEPT                               75 ROCKEFELLER PLAZA                                                                 NEW YORK             NY      10019
   BASEPOINT CAPITAL LLC                  ATTENTION: GENERAL COUNSEL                     75 ROCKEFELLER PLAZA 25TH FLOOR                                                      NEW YORK             NY      10019
   BASIL PAPOUTSIS                                                                       ADDRESS ON FILE
   BASTE FINANCIAL SERVICES INC           ATTN: KALID BASTE                              4651 WEST 79TH STREET SUITE 105                                                      CHICAGO              IL      60652
   BBR SERVICES LLC                       ATTN: BIBEK PANDAY KSHETRI                     651 PALOMAR ST SUITE 13                                                              CHULA VISTA          CA      91911
   BEL EXPRESS INC                        ATTN: MUHAMMAD M. NAEEM                        100 BLUE JAY LANE                                                                    REDLANDS             CA      92374
   BERTINA WINCHEK                                                                       ADDRESS ON FILE
   BERYL ROES                                                                            ADDRESS ON FILE
   BEST TAX FILING LLC                    ATTN: SHUCHI JOSHI                             2020 NE CORNELL RD SUITE J                                                           HILLSBORO            OR      97124
   BEVERLY LEWIS-HAYNES                                                                  ADDRESS ON FILE
   BEVERLY W. MEREDITH                                                                   ADDRESS ON FILE
   BGS ENTERPRISES INC                    ATTN: GARISTINE SIMMONS                        2505 SPRING VALLEY ROAD                                                              FAYETTEVILLE         NC      28303
   BHOJ DONG                                                                             ADDRESS ON FILE
   BI SUCCESS LTD.                        ATTN: LEGAL DEPT                               738 18TH STREET                                                                      BRANDON              MB      R7A5B5    CANADA
   BIG SKY SERVICES INC.                  ATTN: TROY LAND                                787 NW LOWER SPRINGS RD                                                              LAKE CITY            FL      32055
   BJ3 CONSULTING INC.                    ATTN: BJ3 CONSULTING INC.                      31 EVANSBOROUGH WAY NW                                                               CALGARY              AB      T3P0M2    CANADA
   BJG TAX SERVICE INC.                   ATTN: BETHANY GOODMAN                          500 TESNATEE GAP VALLEY RD                                                           CLEVELAND            GA      30528
   BKP ENTERPRISES LLC.                   ATTN: NAGESWARARAO YARLAGADDA                  3811 RUSTIC ARBOUR LN.                                                               SUGAR LAND           TX      77498
   BLEVINS AND ASSOCIATES                 ATTN: ROBERT BLEVINS                           36430 PISTACHIO DR                                                                   WINCHESTER           CA      92596
   BMH ENTERPRISES LLC                    ATTN: BRET HARDEE                              4112 N OAK AVE                                                                       BROKEN ARROW         OK      74012
   BMWILSON LLC                           ATTN: MICHELLE WILSON                          346 HOOD AVE                                                                         SHINNSTON            WV      26431
   BOBBY JAY SPENCER                                                                     ADDRESS ON FILE
   BOBCAT TAX LLC                         ATTN: CHRISTOPHER OLSEN                        205 BOWE DR                                                                          MONTESANO            WA      98563
   BOJONGO CPAS & ADVISORY PLLC           ATTN: ZITA FOMAFUNG                            958 CORBITT AVE                                                                      FATE                 TX      75189
   BOLD REALTY INVESTMENTS LLC            ATTN: LUISA OSORIO-SANCHEZ                     4 FOREST VIEW AVE                                                                    LOWELL               MA      01850
   BP COMMERCIAL FUNDING TRUST            ATTN: LEGAL DEPT                               75 ROCKEFELLER PLAZA SUITE 2000B                  20TH FLOOR                         NEW YORK             NY      10019
   BP COMMERCIAL FUNDING TRUST ET AL      C/O KIRKLAND & ELLIS LLP ET AL                 300 NORTH LASALLE                                 ATTN: GABRIELA Z. HENSLEY          CHICAGO              IL      60654
                                                                                                                                           ATTN: BRIAN SCHARTZ & ALLYSON
   BP COMMERCIAL FUNDING TRUST ET AL      C/O KIRKLAND & ELLIS LLP ET AL                 601 LEXINGTON AVENUE                              SMITH                              NEW YORK             NY      10022
   BP COMMERCIAL FUNDING TRUST ET AL      C/O PACHULSKI STANG ZIEHL & JONES              919 N. MARKET STREET 17TH FLOOR                   ATTN: LAURA DAVIS JONES ET AL      WILMINGTON           DE      19899-
   BP COMMERCIAL FUNDING TRUST II         ATTN: LEGAL DEPT                               75 ROCKEFELLER PLAZA 25TH FLOOR                                                      NEW YORK             NY      10019

   BP COMMERCIAL FUNDING TRUST II         C/O BASEPOINT CAPITAL LLC                      ATTENTION: MICHAEL PETRONIO                       75 ROCKEFELLER PLAZA 25TH FLOOR NEW YORK                NY      10019
   BP SLL TRUST SERIES SPL-III ET AL      ATTN: LEGAL DEPT                               39 LEWIS STREET 2ND FLOOR                                                         GREENWICH               CT      06830
   BP SLL TRUST SERIES SPL-III ET AL      ATTN: LEGAL DEPT                               44 SOUTH BROADWAY                                                                 WHITE PLAINS            NY      10601
   BQS SERVICES LLC                       ATTN: LOREN BRANTLEY                           3200 CEDAR RIDGE DR.                                                              RICHARDSON              TX      75082
   BRAD NESS                                                                             ADDRESS ON FILE
   BRANDON ALI                                                                           ADDRESS ON FILE
   BRANDON SERBUS                                                                        ADDRESS ON FILE
   BRAYAUD INDUSTRIES INC.                ATTN: STEVEN MCDERMOTT                         7841 OWL CREEK CIR                                                                   LITTLETON            CO      80125
   BRAZORIA COUNTY ET AL                  C/O PERDUE BRANDON FIELDER ET AL               1235 NORTH LOOP WEST STE 600                      ATTN: MELISSA E. VALDEZ            HOUSTON              TX      77008
   BRCS INC.                              ATTN: DEAN RAAB                                78 LARRIMER AVE.                                                                     WORTHINGTON          OH      43085
   BRENDA L LITTLEFIELD                                                                  ADDRESS ON FILE
   BRENT SCHULZ                                                                          ADDRESS ON FILE
   BRIAN & VALERIE MITCHELL                                                              ADDRESS ON FILE
   BRIAN A. CHARLES                                                                      ADDRESS ON FILE
   BRIAN MULLER                                                                          ADDRESS ON FILE
   BRIAN NEAL                                                                            ADDRESS ON FILE
   BRIAN SCOTT                                                                           ADDRESS ON FILE
   BRITOMO SOLUTIONS 290 LLC              ATTN: MOISES BRITO                             15327 BAXTER AVE                                                                     HOUSTON              TX      77084
   BRITOMO SOLUTIONS LLC                  ATTN: MOISES BRITO                             15327 BAXTER AVE                                                                     HOUSTON              TX      77084

In re: NextPoint Financial Inc., et al.
Case No. 23-10983 (TMH)                                                                                                                                                                                              Page 3 of 19
                                                                          Case 23-10983-TMH     Doc 124      Filed 11/09/23   Page 42 of 60



                                                                                                    Exhibit B
                                                                                              Served via First-Class Mail



                          Name                                Attention                                   Address 1                                   Address 2                        City    State     Zip   Country
   BRONX FAMILY TAX SERVICE INC.          ATTN: FARUK ALI                               2060 HARRISON AVE APT 2                                                             BRONX              NY    104533900
   BRUCE DIAZ & MOULOUD BOURBET                                                         ADDRESS ON FILE
   BRUCE STANSBERRY                                                                     ADDRESS ON FILE
   BULLDOG FINANCIAL LLC                  ATTN: DAVID YOST                              102 S EGAN AVE                                                                      MADISON            SD   57042
   BUSINESS WISE SOLUTIONS LLC            ATTN: MAURO AMADOR                            610 EAST UNIVERSITY AVE                                                             GEORGETOWN         TX   78626
   C T CORPORATION SYSTEM                 ATTN: LEGAL DEPT                              330 N BRAND BLVD SUITE 700                                                          GLENDALE           CA   91203
   C&M TAX SERVICE LLC                    ATTN: CHARLES WOLFE                           601 HOLLYWOOD BLVD STE 2                                                            IOWA CITY          IA   52240
   CABRERA                                                                              ADDRESS ON FILE
   CALVIN JOHNSON                                                                       ADDRESS ON FILE
   CALVIN R. HENDERSON                                                                  ADDRESS ON FILE
   CANARSIE LT INC.                       ATTN: RONALD HALL                             703 THOMAS S BOYLAND ST                                                             BROOKLYN           NY   11212
   CANON FINANCIAL SERVICES INC.          ATTN: LEGAL DEPT                              158 GAITHER DRIVE MT.                                                               LAUREL             NJ   08054
                                                                                                                                                                                                    840062-
   CAPITAL COMMUNITY BANK                 ATTN: ERIC ROLLINS                            1909 W STATE RD                                                                     PLEASANT GRV       UT   4081
   CAPITAL COMMUNITY BANK SANDY BEACH     ATTN: LEGAL DEPT                              1909 W STATE RD                                                                     PLEASANT GRV       UT   84062-
   CAPS TAXES INC.                        ATTN: LEGAL DEPT                              1715 RTE 105                                                                        SOUTHAMPTON        NB   E6G1M5    CANADA
   CARDINAL CONSTRUCTS INC.               ATTN: CHARLES MILLER                          5119 MEADOWLARK LANE                                                                PORTAGE            MI   49024
   CARDOW & ASSOCIATES INC                ATTN: HENRY DOWELL                            4699 JONESBORO RD                                                                   FOREST PARK        GA   30297
   CARL L. TAYLOR                                                                       ADDRESS ON FILE
   CARLA BUGGS GWINN                                                                    ADDRESS ON FILE
   CARLOS E. FARIAS                                                                     ADDRESS ON FILE
   CARLOS WALKER                                                                        ADDRESS ON FILE
   CARMEN Y. ALMONTE                                                                    ADDRESS ON FILE
   CAROL & DON EVANS                                                                    ADDRESS ON FILE
   CAROL ELLIOTT                                                                        ADDRESS ON FILE
   CAROL ELLIOTT                                                                        ADDRESS ON FILE
   CAROLINE ALDECOA                                                                     ADDRESS ON FILE
   CARRIE BAREIS AND JOHN B. BAREIS                                                     ADDRESS ON FILE
   CARSON WOODS & ANTHONY MARUCCO                                                       ADDRESS ON FILE
   CASH MONEY CORPORATION                 ATTN: CORY MILLER                             519 JORDAN LANE                                                                     HUNTSVILLE         AL   35816
   CASTAX GRAND FALLS LTD.                ATTN: LEGAL DEPT                              810 CHEMIN ST. AMAND                                                                ST. ANDRE          NB   E3Y3K3    CANADA
   CATHERINE COOPER AND WILLIAM COOPER                                                  ADDRESS ON FILE
   CBM FINANCIAL INC.                     ATTN: HAMMAD MULLA                            665 RIVER OAKS DR                                                                   CALUMET CITY       IL   60409
   CDM BUSINESS SERVICES LLC              ATTN: MICHAEL MARTINEZ                        115 S. WOOD ST                                                                      FERRIS             TX   75125
   CEBALLOS TAX SERVICES INC              ATTN: TIMOTHY CEBALLOS                        25 W D ST                                                                           LEMOORE            CA   93245
   CENTRAL PENN AD LLC                    ATTN: JAMES STEVEN OAKS                       63 STARBOARD COURT                                                                  RIDGELEY           WV   26753
   CHANDRA P. SINGH                                                                     ADDRESS ON FILE
   CHANTELL R TEJEDA & GERNARDA BAILEY                                                  ADDRESS ON FILE
   CHARLES GARCIA                                                                       ADDRESS ON FILE
   CHARLES MCCRACKEN                                                                    ADDRESS ON FILE
   CHARLES NJOYA                                                                        ADDRESS ON FILE
   CHARLES SPENCER                                                                      ADDRESS ON FILE
   CHESTNUT TAX GROUP LLC                 ATTN: RAY MAAGERO                             11 PLEASANT VIEW DR.                                                                SUFFIELD           CT   06078
   CHEYDELLE MCKINZIE                                                                   ADDRESS ON FILE
   CHILMARK ADMINISTRATIVE LLC            ATTN: LEGAL DEPT                              44 SOUTH BROADWAY11TH FLOOR                                                         WHITE PLAINS       NY   10601
   CHOICE CITY TAX SERVICE LLC            ATTN: SABRINA ARGUELLO                        6200 W COUNTY ROAD 54E                                                              BELLVUE            CO   80512
   CHRISTOPHER FOULKES                                                                  ADDRESS ON FILE
   CHRISTOPHER J. CRISTIANO                                                             ADDRESS ON FILE
   CHRISTOPHER YORK                                                                     ADDRESS ON FILE
   CIBC BANK USA                          ATTN: LEGAL DEPT                              120 SOUTH LASALLE STREET                                                            CHICAGO            IL   60603
   CINDEN LLC                             ATTN: CHARLES OLT                             4600 NW 58TH TERRACE                                                                KANSAS CITY        MO   64151
   CITY OF CLEVELAND & HARRIS COUNTY      C/O PERDUE BRANDON FIELDER ET AL              1235 NORTH LOOP WEST SUITE 600                    ATTN: MELISSA E. VALDEZ           HOUSTON            TX   77008
   CJ ACCOUNTING INC                      ATTN: CHERYL NICHOLS                          22857 NICHOLS ROAD                                                                  POTEAU             OK   74953
   CLATWORK LLC                           ATTN: GEORGE LEVERETT                         309 SYDENHAM WAY                                                                    EVANS              GA   30809
   CLEMENT OGUNYEMI                                                                     ADDRESS ON FILE
   CLIFFORD CONKELTON                                                                   ADDRESS ON FILE
   CLIFFORD CUTTER                                                                      ADDRESS ON FILE
   CLIPPER SHIP VENTURES LLC              ATTN: PAUL GAMES                              5 WATER STREET SUITE 5C                                                             NEWBURYPORT        MA   01950
   CMB TAX SERVICE LLC / SERBUS           BROOKS PIERCE MCLENDON ET AL                  150 FAYETTEVILLE STREET SUITE 1700                ERIC M. DAVID GREG GAUGHT ET AL   RALEIGH NC         NC   27601
   CNJ SERVICES LLC                       ATTN: RONALD SCHUBERT                         12231 FEDDER COURT                                                                  PICKERINGTON       OH   43147
   CNMK FINANCIAL SOLUTIONS INC.          ATTN: LEGAL DEPT                              73 BARBICAN TRAIL                                                                   ST. CATHARINES     ON   L2T4A9    CANADA
   CO TAX SERVICE INC.                    ATTN: HILDA MILNER                            3129 S. MOBILE WAY                                                                  AURORA             CO   80013
   COASTAL TAX LLC                        ATTN: ANDREA BURNS                            1408 MANERA VENTOSA                                                                 SAN CLEMENTE       CA   92673
   COATESVILLE COMMUNITY RISING LLC       ATTN: ANGELA HUNTER                           35 BRIGHTON COURT                                                                   DOWNINGTOWN        PA   19335
   COHILL'S & ASSOCIATES LLC              ATTN: DANIEL COHILL                           520 LUCKETT RD.                                                                     CARTHAGE           MS   39051
   COLEMAN CROOK INC.                     ATTN: COLEMAN CROOK                           8225 BROUGHTON COURT                                                                COLORADO SPRINGS   CO   80920
   CONCELIUM LLC                          ATTN: CHRISTOPHER LANDIS                      7906 BLACK CHERRY CT.                                                               HARRISBURG         NC   28075
   CONFIDENTIAL CREDITOR                                                                ADDRESS ON FILE
   CONFIDENTIAL CREDITOR                                                                ADDRESS ON FILE
   CONFIDENTIAL CREDITOR                                                                ADDRESS ON FILE
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In re: NextPoint Financial Inc., et al.
Case No. 23-10983 (TMH)                                                                                                                                                                                       Page 4 of 19
                                                      Case 23-10983-TMH     Doc 124      Filed 11/09/23   Page 43 of 60



                                                                                Exhibit B
                                                                          Served via First-Class Mail



                                  Name    Attention                                        Address 1                      Address 2   City   State   Zip   Country
   CONFIDENTIAL CREDITOR                                            ADDRESS ON FILE
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In re: NextPoint Financial Inc., et al.
Case No. 23-10983 (TMH)                                                                                                                                    Page 5 of 19
                                                                          Case 23-10983-TMH     Doc 124      Filed 11/09/23   Page 44 of 60



                                                                                                    Exhibit B
                                                                                              Served via First-Class Mail



                          Name                                Attention                                    Address 1                                    Address 2               City   State      Zip   Country
   CONFIDENTIAL CREDITOR                                                                ADDRESS ON FILE
   CORDELL ROORDA                                                                       ADDRESS ON FILE
   COUNTY OF DENTON TEXAS                 C/O MCCREARY VESELKA BRAGG ET AL              700 JEFFREY WAY SUITE 100                         ATTN: JULIE ANNE PARSONS   ROUND ROCK        TX      78665
   COUNTY OF DENTON TEXAS                 C/O MCCREARY VESELKA BRAGG ET AL              PO BOX 1269                                       ATTN: JULIE ANNE PARSONS   ROUND ROCK        TX      78680-
   COVINGTON TAXES LLC                    ATTN: FIROZ ALI                               3395 MOYE TRAIL                                                              DULUTH            GA      30097
   CRA FUNDING 1 LLC                      ATTN: LEGAL DEPT                              75 ROCKEFELLER PLAZA 20TH FLOOR                   SUITE 2000B                NEW YORK          NY
   CRISTINA STANCIU                                                                     ADDRESS ON FILE
   CRITERION FINANCIAL SERVICES CORP.     ATTN: LEGAL DEPT                              1B-2901 27 STREET                                                            VERNON            BC      V1T4W3   CANADA
   CRUMWELL DENISE ET AL                                                                ADDRESS ON FILE
   CRYSTAL CARLSON                                                                      ADDRESS ON FILE
   CTS TAX SERVICES LLC                   ATTN: TERI ROGERS                             109 CR 3514                                                                  BULLARD           TX      75757
   CURTIS LUCKY                                                                         ADDRESS ON FILE
   CYNETTA TAVE                                                                         ADDRESS ON FILE
   CYPRESS-FAIRBANKS ISD ET AL            C/O LINEBARGER GOGGAN BLAIR ET AL             PO BOX 3064                                       ATTN: TARA L. GRUNEMEIER   HOUSTON           TX      77253-
   D & D FERGUSON ENTERPRISES LTD.        ATTN: LEGAL DEPT                              PO BOX 77                                                                    SANDY HOOK        MB      R0C2W0   CANADA
   D V DORTCH LLC                         ATTN: DARRYL DORTCH                           660 LESTER AVE                                                               LIMA              OH      45801
   D&K OF MS INC.                         ATTN: DOUGLAS KING                            4 TWIN PINES DR.                                                             PETAL             MS      39465
   DA WRIGHT ENTERPRISES LLC              ATTN: DAVID WRIGHT                            16502 REDLAND RANCH                                                          SAN ANTONIO       TX      78247
   DALE ROMAN                                                                           ADDRESS ON FILE
   DALE SMITH                                                                           ADDRESS ON FILE
   DAM TAXES INC                          ATTN: DORI DOLORES MILLER                     10135 DOUGLASS RD                                                            FORT WAYNE        IN      46835
   DAMICO CPA INC                         ATTN: CARRIE DAMICO                           22559 LENOX DR                                                               FAIRVIEW PARK     OH      44126
   DAND LEGACY INC.                       ATTN: DONNA HAUSER                            13065 PARDEE ROAD.                                                           TAYLOR            MI      48180
   DANEISHA LLC                           ATTN: MAHMOOD DHANANI                         2428 WINFIELD DUNN PKWY                                                      KODAK             TN      37764
   DANFAM ENTERPRISES LLC                 ATTN: ERIN DANIEL                             1041 CLYDE REYNOLDS DR                                                       LINCOLNTON        NC      28092
   DANIEL COSGROVE                                                                      ADDRESS ON FILE
   DANIEL RAVAL                                                                         ADDRESS ON FILE
   DANIELLE KURKULES                                                                    ADDRESS ON FILE
   DANIELLE QUIGGINS                                                                    ADDRESS ON FILE
   DARRAN JOHNSON                                                                       ADDRESS ON FILE
   DARRYL PRYOR                                                                         ADDRESS ON FILE
   DAVID A. BONNE                                                                       ADDRESS ON FILE
   DAVID AND BARBARA MYERS                                                              ADDRESS ON FILE
   DAVID CEPIN                                                                          ADDRESS ON FILE
   DAVID GANG                                                                           ADDRESS ON FILE
   DAVID GUNTER                                                                         ADDRESS ON FILE
   DAVID J. MARTZ                                                                       ADDRESS ON FILE
   DAVID J. SANDERS                                                                     ADDRESS ON FILE
   DAVID R. JAMES                                                                       ADDRESS ON FILE
   DAVID SILLAMAN                                                                       ADDRESS ON FILE
   DAWN MINOR                                                                           ADDRESS ON FILE
   DAZO INCORPORATED                      ATTN: DHAVAL OZA                              5231 GLENWOOD CIR                                                            LA PALMA          CA      90623
   DEBBY D. HALLMAN                                                                     ADDRESS ON FILE
   DEBORAH J. KLEIN                                                                     ADDRESS ON FILE
   DEBORAH MOORE LLC                      ATTN: DEBORAH MOORE                           3212 SW BATTAGLIA PL                                                         GRESHAM           OR      97080
   DEBORAH WAKEMAN                                                                      ADDRESS ON FILE
   DEBRA AGUAYO                                                                         ADDRESS ON FILE
   DEBS TAX SERVICE LLC                   ATTN: DEBRA HAGERTY-HECOX                     2025 W PINE RIDGE BLVD                                                       BEVERLY HILLS     FL      34465
   DEETZ GLOBAL INC.                      ATTN: ANDREW DEETZ                            1019 NATIVE TRAIL                                                            HEATH             TX      75032
   DELTA RF LLC                           ATTN: MARIA FUGUET                            21505 TOWERGUARD DR                                                          KINGWOOD          TX      77339
   DEMITRIUS WILLIAMS                                                                   ADDRESS ON FILE
   DENILIVA INC.                          ATTN: STEVEN KOWALSKI                         10 DAVID ST                                                                  SOUTHAMPTON       MA      01073
   DENISE DAVIS LLC                       ATTN: DENISE K DAVIS                          907 OAK ST                                                                   JOURDANTON        TX      78026
   DENNIS PRYOR                                                                         ADDRESS ON FILE
   DEPARTMENT OF JUSTICE (“DOJ”) & IRS    SEAN JANSEN                                   101 WEST MAIN STREET SUITE 8000                                              NORFOLK           VA      23510-
   DEPARTMENT OF JUSTICE (“DOJ”) & IRS    RUSSELL J. EDELSTEIN ET AL                    PO BOX 7238 BEN FRANKLIN STN                                                 WASHINGTON        DC      20044
   DEPOT TAX SERVICES LLC                 ATTN: TIM WILLARD                             601 DELAWARE AVE                                                             CHARLESTON        WV      25302
   DERON SERVICES INC.                    ATTN: LEGAL DEPT                              3235C 50 AVENUE                                                              RED DEER          AB      T4N3Y1   CANADA
   DERRICK GREEN                                                                        ADDRESS ON FILE
   DERRICK SMITH                                                                        ADDRESS ON FILE
   DIAMAYA INDUSTRIES GROUP               ATTN: FELICIA JONES                           1504 ONE HALF S REDONDO BLVD                                                 LOS ANGELES       CA      90019
   DIANA L. CONDON & JAMES E. CONDON                                                    ADDRESS ON FILE
   DIANE FERREIRA                                                                       ADDRESS ON FILE
   DIANE MARIA DOS REIS                                                                 ADDRESS ON FILE
   DIGIPRO ENGINEERING INC.               ATTN: RALPH GUISTI                            565 GEORGE HANNUM RD                                                         BELCHERTOWN       MA      01007
   DILIGENT PARTNERS LLC                  ATTN: MOHAMMAD HARIS                          7885 SWENSON DRIVE                                                           IRVING            TX      75063
   DILLARD LORENZO AND SHANNON                                                          ADDRESS ON FILE
   DIRECTOR EMPLOYMENT SECURITY OF IL     IL DEPT OF EMPLOYMENT SECURITY                22 S STATE ST 10TH FLOOR                                                     CHICAGO           IL      60603-
   DISTRICT OF COLUMBIA                   OFFICE OF CONSUMER PROTECTION AG DC           400 6TH STREET N.W. 10TH FLOOR                    WENDY WEINBERG             WASHINGTON        DC      20001
   DISTRICT OF COLUMBIA                   OFFICE OF THE ATTORNEY GENERAL                441 4TH ST NW STE 1100S                                                      WASHINGTON        DC      20001
   DISTRICT TAXES CORP                    ATTN: LIZETTE DIAZ                            312 EAST 166TH ST                                                            BRONX             NY      10466


In re: NextPoint Financial Inc., et al.
Case No. 23-10983 (TMH)                                                                                                                                                                                 Page 6 of 19
                                                                         Case 23-10983-TMH     Doc 124      Filed 11/09/23   Page 45 of 60



                                                                                                   Exhibit B
                                                                                             Served via First-Class Mail



                           Name                              Attention                                   Address 1                                    Address 2                    City   State     Zip   Country
   DL TAX INCORPORATED                    ATTN: DILLON LAKEFIELD                       1612 20TH AVE NW 103                                                              MINOT            ND    58703
   DL&K TAXES LLC                         ATTN: DONALD DOMBACH                         378 OLD BLUE ROCK RD                                                              MILLERSVILLE     PA    17551
   DMDBD LLC                              ATTN: DANAIA STUCK                           5714 80TH AVE NE                                                                  MARYSVILLE       WA 98270
   DOLORES M. ANTESBERGER                                                              ADDRESS ON FILE
   DON CHIPPEAUX                                                                       ADDRESS ON FILE
   DON KIM                                                                             ADDRESS ON FILE
   DONALD JAMES & MARK RUSSO                                                           ADDRESS ON FILE
   DONNA A. THOMAS                                                                     ADDRESS ON FILE
   DONNA JEMISON                                                                       ADDRESS ON FILE
   DONNA MITCHELL-MAYO                                                                 ADDRESS ON FILE
   DONNIE HARRIS                                                                       ADDRESS ON FILE
   DORIS MELTON                                                                        ADDRESS ON FILE
   DOUGLAS LORENZ                                                                      ADDRESS ON FILE
   DRAKE ENTERPRISES LTD                  C/O COLE SCHOTZ PC                           500 DELAWARE AVENUE SUITE 1410                    ATTN: JUSTIN R. ALBERTO ET AL   WILMINGTON       DE    19801
   DRAKE ENTERPRISES LTD                  COLE SCHOTZ P.C.                             500 DELAWARE AVENUE SUITE 1410                    ATTN: JUSTIN ALBERTO            WILMINGTON       DE    19801
   DRAKE ENTERPRISES LTD.                 ATTENTION: JAMIE STILES                      290 STONECREEK DR                                                                 FRANKLIN         NC    28734
   DRAKE ENTERPRISES LTD.                 ATTN: LEGAL DEPT                             290 STONECREEK DR                                                                 FRANKLIN         NC    28734
   DROPP ENTERPRISES LLC                  ATTN: BRADLEY DROPP                          624 DEVON BROOK DR.                                                               WOODSTOCK        GA    30188
   DULCE N. CUEVAS                                                                     ADDRESS ON FILE
   DULDUL INC.                            ATTN: SHAZIA RAJPARI                         2305 ARBOR GLENN                                                                  HOOVER           AL    35244
   DUSTIN GRIFFIN                                                                      ADDRESS ON FILE
   DWIGHT DYE                                                                          ADDRESS ON FILE
   DYLAN GERARD                                                                        ADDRESS ON FILE
   E & R GAGEN LLC                        ATTN: ED GAGEN                               8807 E 38TH ST                                                                    INDIANAPOLIS     IN    46226
   E&R TAX GROUP LLC                      ATTN: CHARITY EBERHART                       2575 WHITEHAVEN DR                                                                MARIETTA         GA    30064
   EAGLE OPSINC                           ATTN: KORT KINSTLER                          422 CENTRAL AVENE                                                                 CHEYENNE         WY    82007
   EASYMAX INC.                           ATTN: SUN KIM                                3008A WEST LINCOLN AVE                                                            ANAHEIM          CA    92801
   ED WILSON                                                                           ADDRESS ON FILE
   EDUARDO REBOLLEDO                                                                   ADDRESS ON FILE
   EDWARD & DEMETRISE ROBERTS                                                          ADDRESS ON FILE
   EDWARD ALLEN                                                                        ADDRESS ON FILE
   EDWARD STOCK                                                                        ADDRESS ON FILE
   EDWIN SOGBE                                                                         ADDRESS ON FILE
   ELITE TAX SERVICES LLC                 ATTN: TARA MAY                               16610 TAMMANY MANOR RD                                                            WILLIAMSPORT     MD    21795
   ELIZABETH ADAMS                                                                     ADDRESS ON FILE
   ELIZABETH HURST                                                                     ADDRESS ON FILE
   ELIZABETH J. CONNALLY                                                               ADDRESS ON FILE
   ELIZABETH KARNAVAR                                                                  ADDRESS ON FILE
   EMILY TUVERA                                                                        ADDRESS ON FILE
   EMMANUEL ADEWALE                                                                    ADDRESS ON FILE
   EMMANUEL FOKO AND GWLADYS FOKO                                                      ADDRESS ON FILE
   ENA ASKIA                                                                           ADDRESS ON FILE
   ERIC GE                                                                             ADDRESS ON FILE
   ERIC J. BOWMAN                                                                      ADDRESS ON FILE
   ERIC L. LEMOND                                                                      ADDRESS ON FILE
   ERIC NTI-FREMPONG                                                                   ADDRESS ON FILE
   ERIC PORTER                                                                         ADDRESS ON FILE
   ERIKAH HENLEY                                                                       ADDRESS ON FILE
   ERNIE AND CHRISTINA ROSS                                                            ADDRESS ON FILE
   ESSAUL FINANCIALS INC.                 ATTN: SARA ALCALA                            1631 TULEY ST                                                                     CEDAR HILL       TX    75104
   EUGENE E. AND MARYELLEN MCKINLEY                                                    ADDRESS ON FILE
   EUGENIA LAUX                                                                        ADDRESS ON FILE
   EULALIO DIAZ JR                                                                     ADDRESS ON FILE
   EV HOME SOLUTIONS LLC                  ATTN: CLAUDIU CORNETTI                       305 ELLERY CT                                                                     EDGEWATER        NJ    07020
   EXECUTIVE ST SALES                     ATTN: EXECUTIVE ST SALES                     1716 CORPORATE LANDING PARKWAY                                                    VIRGINIA BEACH   VA    23454
   FAHAD M. ISLAM                                                                      ADDRESS ON FILE
   FAIS II INCORPORATED                   ATTN: PAMELA FAISON                          9016 TUSCAN HILLS DR                                                              SAN ANTONIO      TX    78266
   FAIZAN S AHMED                                                                      ADDRESS ON FILE
   FAMILY CIRCLE SERVICE INC              ATTN: MARIA GARCIA                           16945 SUTTLES DRIVE                                                               RIVERSIDE        CA    92504
   FANG ENTERPRISE LLC                    ATTN: CATHY FANG                             2853 HORNET AVE                                                                   CLOVIS           CA    93611
   FARUK ALI MOHAMMED & AHMED HUSSAIN                                                  ADDRESS ON FILE
   FELIX R. STRATER III                                                                ADDRESS ON FILE
   FIDELITY TAX & ACCOUNTING              ATTN: LEGAL DEPT                             12 ARRAN DR                                                                       ST CATHARINES    ON    L2N1M1    CANADA
   FIESTA FINANCIAL SERVICES LLC          ATTN: BILAL SIDDIQI                          821 WOODRIDGE DR                                                                  FORT WORTH       TX    76120
   FINANCIAL CHANGE SOLUTIONS LLC         ATTN: JOLANDA HAMILTON                       2752 MATERA DR                                                                    SAINT CLOUD      FL    34771-
   FINANCIAL FAMILY ADVISORS LLC          ATTN: EDUARDO REBOLLEDO                      4232 ELLA BLVD                                                                    HOUSTON          TX    77018
   FIRST BANK                             KLESTADT WINTERS JURELLER ET AL              200 WEST 41ST STREET 17TH FLOOR                   LAUREN C. KISS                  NEW YORK         NY    10036
   FIRST PITCH LLC                        ATTN: J. SCOTT KIRK                          2330 KINGSLEY DR.                                                                 GRAND PRAIRIE    TX    75050
   FLORIAN'S TAX SERVICES CORP            ATTN: YAHAIRA FLORIAN                        1835 WESTCHESTER AVE                                                              BRONX            NY    10472
   FM1960 TAX OFFICE LLC                  ATTN: ANUP KHANAL                            2137 CYPRESS CREEK PARKWAY                                                        HOUSTON          TX    77090
   FOUR STAR TAX SERVICES INC             ATTN: ALIZA KAPADIA                          25119 CALLAWAY                                                                    SAN ANTONIO      TX    78260


In re: NextPoint Financial Inc., et al.
Case No. 23-10983 (TMH)                                                                                                                                                                                   Page 7 of 19
                                                                          Case 23-10983-TMH     Doc 124      Filed 11/09/23   Page 46 of 60



                                                                                                    Exhibit B
                                                                                              Served via First-Class Mail



                          Name                                Attention                                    Address 1                                  Address 2                      City       State      Zip      Country
   FOUZIA SHAKOOR                                                                       ADDRESS ON FILE
   FOY FINANCIAL INC                      ATTN: WILLIAM FOY                             600 BOLL WEEVIL CIRCLE STE 8                                                     ENTERPRISE             AL      36330
   FRANK TERESCHAK                                                                      ADDRESS ON FILE
   FRED HUFFMAN & JEFFREY WOODLEE                                                       ADDRESS ON FILE
   FREEDOM FINANCIAL INC.                 ATTN: ROBERT SORENSEN                         359 COBURN AVE. NW                                                               BUFFALO                MN      55313
   FREEDOM ONE LLC                        ATTN: MARY WHITNEY                            1081 TAYLOR MILLS DR                                                             REYNOLDSBURG           OH      43068
   FREEDOM TAX SERVICES INC               ATTN: RAUL TORRES                             4118 AYERS ST.                                                                   CORPUS CHRISTI         TX      78415
   FRONTIER CAPITAL GROUP LTD.            ATTN: DAVID SCHAEFFER TREASURER               103 NW 3RD STREET                                                                DIMMITT                TX      79027
   FRONTIER CAPITAL GROUP LTD.            ATTN: LEGAL DEPT                              103 NW 3RD STREET                                                                DIMMITT                TX      79027
   FRONTIER CAPITAL GROUP LTD.            ATTN: MAT BRADLEY VP                          PO BOX 99                                                                        DIMMITT                TX      79027
   FTI CONSULTING                         ATTN: LEGAL DEPT                              701 WEST GEORGIA STREET                           SUITE 1450 PO BOX 10089        VANCOUVER              BC      V7Y 1B6     CANADA
   FURQAN KHALIQ                                                                        ADDRESS ON FILE
   GA TAX AND BOOK KEEPING INC.           ATTN: DANETTE THOMPSON                        4132 ATLANTA HWY SUITE 204                                                       LOGANVILLE             GA      30052
   GAIL GARCIA CERDA                                                                    ADDRESS ON FILE
   GALAXY TAX SERVICES LLC                ATTN: AMIN MOHAMMAD                           24526 LUCCA MIST                                                                 SAN ANTONIO            TX      78260
   GANG FINANCIAL LLC                     ATTN: DAVID GANG                              4338 WELDWOOD LANE                                                               SYLVANIA               OH      43560
   GARRETT ATZ                                                                          ADDRESS ON FILE
   GARY BLOOME P A                                                                      ADDRESS ON FILE
   GARY GARLAND                                                                         ADDRESS ON FILE
   GARY LAVICKA                                                                         ADDRESS ON FILE
   GARY O. STOBART                                                                      ADDRESS ON FILE
   GARY O'BRIEN                                                                         ADDRESS ON FILE
   GARY STAUBER                                                                         ADDRESS ON FILE
   GARYPETER SITE NUMBER ONE INC          ATTN: GARY WINSTON SR.                        16817 LIVERNOIS AVENUE SUITE 3                                                   DETROIT                MI      482213900
   GAUDET BUSINESS SERVICES LTD           ATTN: LEGAL DEPT                              1968 PATRICE RD                                                                  CHURCH PT.             NS      B0W 1M0 CANADA
   GENESIS TAXES OF PENSACOLA INC         ATTN: GABRIEL SMITH                           3260 PINE FOREST RD.                                                             CANTONMENT             FL      32533
   GENESIS VENTURES TAXES INC             ATTN: LARRY GOODWIN                           6491 103RD STREET                                                                JACKSONVILLE           FL      32210
   GEORGE HANDY                                                                         ADDRESS ON FILE
   GERALD L. ROSHON EA LLC                ATTN: GERALD ROSHON                           10521 JULIANO DR.                                                                RIVERVIEW              FL      33569
   GHASSAN JABER                                                                        ADDRESS ON FILE
   GHAZI DAKIK                                                                          ADDRESS ON FILE
   GHL ENTERPRISES INC                    ATTN: CORINNE SHIPMAN                         3713 WESTVIEW DRIVE                                                              BEDFORD                TX      76021
   GILBERT & IRMARIE MERCADO                                                            ADDRESS ON FILE
   GILBERT STEPHEN A.                                                                   ADDRESS ON FILE
   GILBERT STEPHEN A.                                                                   ADDRESS ON FILE
   GINA M. BERNSTEIN                                                                    ADDRESS ON FILE
   GINGER F. AUSBAN                                                                     ADDRESS ON FILE
   GL FINANCIAL LLC                       ATTN: CHRISTOPHER WULFORST                    1521 ASHEVILLE HIGHWAY                                                           SPARTANBURG            SC      29303
   GOLDEN DUNES TAX SERVICE INC           ATTN: PATRICIA GRISWOLD                       3218 LONGHORN DRIVE                                                              COLONIAL HEIGHTS       VA      23834
   GOLIATH ACCOUNTING INC.                ATTN: JACQUELINE WATSON                       6468 ODESSA CT                                                                   WEST BLOOMFIELD        MI      48324
   GORILLA TAX SERVICES INC.              CALIHAN LAW PLLC                              16 E MAIN ST 620 REYNOLDS ARCADE BG               ROBERT B. CALIHAN              ROCHESTER              NY      14614
                                                                                                                                          CHRISTOPHER DAVIS & DESTINEE
   GORILLA TAX SERVICES INC.              DAVIS LAW PLC                                 555 BELAIRE AVENUE SUITE 340                      BYERS                          CHESAPEAKE             VA      23320
   GRACE WHITE & RODNEY WHITE                                                           ADDRESS ON FILE
   GRACIA GRACIA CREVECOEUR GRACIA                                                      ADDRESS ON FILE
   GREG JABLONOWSKI                                                                     ADDRESS ON FILE
   GREG MASSEY                                                                          ADDRESS ON FILE
   GREG MOSER                                                                           ADDRESS ON FILE
   GRITS MARKETING INC.                   ATTN: TIFFANY DODSON                          3576 SUMMERFIELD LANE                                                            WINSTON SALEM          NC      27106
   GSN FINANCIAL LLC                      ATTN: SANDRA NAJMY                            7770 CAMDEN HARBOUR DR                                                           BRADENTON              FL      34212
   GUADALUPE MAURICIO                                                                   ADDRESS ON FILE
   GUADALUPE MAURICIO                                                                   ADDRESS ON FILE
   GUADALUPE RUBIO                                                                      ADDRESS ON FILE
                                                                                                                                          CHRISTOPHER DAVIS & DESTINEE
   GULF COAST MARKETING GROUP INC.        DAVIS LAW PLC                                 555 BELAIRE AVENUE SUITE 340                      BYERS                          CHESAPEAKE             VA      23320
   GURMEET S. CHAWLA                                                                    ADDRESS ON FILE
   GWENDA LACROIX                                                                       ADDRESS ON FILE
   HAASE FINANCIAL SERVICES LLC           ATTN: STEVEN HAASE                            871 W MASON ST                                                                   GREEN BAY              WI      54303
   HACK FINANCIAL LLC                     ATTN: GEORGE HACK                             3442 KENWOOD BLVD                                                                TOLEDO                 OH      43606
   HAI N. KNEPPER                                                                       ADDRESS ON FILE
   HALEY S. KLEIN                                                                       ADDRESS ON FILE
   HAMID MAHMOOD                                                                        ADDRESS ON FILE
   HAMMOND FINANCIAL INC                  ATTN: GHUFRAN AHMED                           6414 CALUMET AVE                                                                 HAMMOND                IN      46324
   HAMPTON VENTURES INC.                  ATTN: SUSAN HAMPTON                           22555 KAREN CT.                                                                  FARMINGTON HILLS       MI      48336
   HANESHINDER CHAUHAN                                                                  ADDRESS ON FILE
   HANK REARDEN LLC                       ATTN: EDWARD O'CONNOR                         119 WINTERBERRY LANE                                                             HAMMONTON              NJ      08037
   HARDCASTLE ADVISORS LLC                ATTN: RYAN CASE                               77 PUTNAM PLACE                                                                  GROSSE POINTE SHORES   MI      48236
   HARPER WHITE INVESTMENTS LLC           ATTN: JEFFREY WHITE                           1795 CUTLEAF CREEK RD                                                            GRAYSON                GA      30017
   HARRISBURG AREA DEVELOPER LLC          ATTN: STEVEN OAKS                             63 STARBOARD COURT                                                               RIDGELEY               WV      26753
   HARTMAN TAX SERVICE INC.               ATTN: ROBERT HARTMAN                          1296 SEABRIGHT DRIVE                                                             ANNAPOLIS              MD      214094601
   HEATH FINANCIAL ENTERPRISES INC.       ATTN: ELIZABETH VILLENEUVE                    130 BELLAMY TRAIL                                                                SEBASTIAN              FL      32958

In re: NextPoint Financial Inc., et al.
Case No. 23-10983 (TMH)                                                                                                                                                                                             Page 8 of 19
                                                                         Case 23-10983-TMH     Doc 124      Filed 11/09/23   Page 47 of 60



                                                                                                   Exhibit B
                                                                                             Served via First-Class Mail



                           Name                              Attention                                   Address 1                           Address 2              City      State      Zip      Country
   HEATHER D. SHIRLEY                                                                  ADDRESS ON FILE
   HEMIZAME LLC                           ATTN: LUIS HERNANDEZ                         12 BRUSH CT                                                       GARNERVILLE          NY      10923
   HESHAM MOHD                                                                         ADDRESS ON FILE
   HUGO STRIEDINGER                                                                    ADDRESS ON FILE
   HUMPHREYS TAX SERVICE INC              ATTN: WESLEY HUMPHREYS                       1145 PALM COVE DRIVE                                              ORLANDO              FL      32835
   HYGUENS BARJON                                                                      ADDRESS ON FILE
   I BUSINESS CENTER LLC                  ATTN: CHARLES ELDRIDGE                       7801 N. FEDERAL HWY. APT 22-201                                   BOCA RATON           FL      33487
   IAM TAX SERVICE LLC                    ATTN: ISAAC MAYFIELD                         805 HV JONES ST                                                   JACKSONVILLE         TX      75766
   IBRIDGE BUSINESS SERVICES LLC          ATTN: ALEX MWAMBUKIRI                        12303 JONES RD SUITE 300                                          HOUSTON              TX      77070
   ILLINOIS TAX GROUP INC.                ATTN: RAHEEL BAIG                            224 S. LARKIN AVENUE                                              JOLIET               IL      60436
   IMRAN ADAM                                                                          ADDRESS ON FILE
   INEXODUS LLC                           ATTN: BAYO OGUNDELE                          3310 N 143RD LN                                                   GOODYEAR             AZ      85395-
   INHANDS TAX & CONSULTING DBA LTS       ATTN: KANDY ROSE                             711 RIVER OAKS DR.                                                NEW ORLEANS          LA      70131
   IQV SERVICING LLC SERVICER             ATTN: HARRY FARVER                           5165 EMERALD PARKWAY SUITE 160                                    DUBLIN               OH      43017
   IS TERRA INC.                          ATTN: LEGAL DEPT                             11440-78TH AVE                                                    EDMONTON             AB      T6G 0N3     CANADA
   ISABEL GOMEZ                                                                        ADDRESS ON FILE
   ISABEL VILLAGOMEZ                                                                   ADDRESS ON FILE
   ISMA LLC                               ATTN: SAMANTHA SLAPNIK                       300 SPARTINA CT                                                   NORTH MYRTLE BEACH   SC      29582
   ISMAT ALMOUHTASEB                                                                   ADDRESS ON FILE
   ISRAEL LOPEZ                                                                        ADDRESS ON FILE
   ITAX SOLUTIONS INC.                    ATTN: MUHAMMAD MIRZA                         4941 N MILWAUKEE AVE                                              CHICAGO              IL      60630
   ITAXES INC.                            ATTN: NIGEL ALFRED                           1309 E. COMMERCIAL BLVD                                           OAKLAND PARK         FL      33334
   J&D B'HATZLACHA LLC                    ATTN: JEFFREY GARCIA                         4377 W 137TH ST                                                   HAWTHORNE            CA      90250
   J&N TAX LLC                            ATTN: JEFF BUTLER                            675 FALLS RD                                                      SCALY MOUNTAIN       NC      28775
   J&S TAX ACCOUNTING & INSURANCE         ATTN: JOSEPH ILELEJI                         243 W. CLIFFWOOD AVE.                                             ANAHEIM              CA      92802
   J&S TAX SOLUTIONS LLC                  ATTN: JOSE VALLEJO                           527 W WOODLAWN AVE                                                SAN ANTONIO          TX      78212
   J. HARRINGTON SERVICES LLC             ATTN: PRINCESS HARRINGTON                    2417 REDHILL MT. VERNON RD.                                       WADESBORO            NC      28170
   J. RAYMOND FLETCHER & MICHAEL PESTA                                                 ADDRESS ON FILE
   J.R.S. MANAGEMENT CORPORATION          ATTN: LEGAL DEPT                             1205 3RD AVENUE S                                                 LETHBRIDGE           AB      T1J0J7      CANADA
   JAB LLC                                ATTN: JACK WILLIAMS                          8300 E REGENTS RD                                                 PALMER               AK      99645
   JACK LOCKSPEISER                                                                    ADDRESS ON FILE
   JACK MCDONNELL                                                                      ADDRESS ON FILE
   JACOB EHRENPREIS                                                                    ADDRESS ON FILE
   JAIN INC.                              ATTN: PRABHAKAR JAIN                         37 HEMINGWAY ST.                                                  SHREWSBURY           MA      01545
   JAM TAX FRANCHISE INC                  ATTN: JOHN PESELLA                           322 SE PORT ST LUCIE BLVD                                         PORT ST LUCIE        FL      34984
   JAMAAL COLEMAN                                                                      ADDRESS ON FILE
   JAMES COLEY                                                                         ADDRESS ON FILE
   JAMES HEDGES                                                                        ADDRESS ON FILE
   JAMES OKEIGWE                                                                       ADDRESS ON FILE
   JAMES R. GRANT                                                                      ADDRESS ON FILE
   JANA GOOD                                                                           ADDRESS ON FILE
   JANE SNEED                                                                          ADDRESS ON FILE
   JARRETT GOLD                                                                        ADDRESS ON FILE
   JASON ANDERSON                                                                      ADDRESS ON FILE
   JASON KASSAB                                                                        ADDRESS ON FILE
   JAVED RASHEED                                                                       ADDRESS ON FILE
   JAVIER CARRENO                                                                      ADDRESS ON FILE
   JAVIER SOLIS                                                                        ADDRESS ON FILE
   JAVIER TORRES                                                                       ADDRESS ON FILE
   JAX FINANCIAL & ACCOUNTING SERVICES    ATTN: GORDON WALTON                          1142 SECRET OAKS PLACE                                            JACKSONVILLE         FL      32259
   JDBW ENTERPRISES INC                   ATTN: SHIRLEY TOTTEN                         23618 S SCOTTSDALE DR                                             PECULIAR             MO      64078
   JDBW LLC                               ATTN: SHIRLEY TOTTEN                         706 E NORTH AVE STE D                                             BELTON               MO      64012
   JEANNE JOHNSTON                                                                     ADDRESS ON FILE
   JEFFREY A. MUSALL                                                                   ADDRESS ON FILE
   JELLE 111213 INC.                      ATTN: LEGAL DEPT                             54 CHENIER BAY                                                    WINNIPEG             MB      R3X1K2      CANADA
   JENNIFER BERGER                                                                     ADDRESS ON FILE
   JENNIFER CHENG                                                                      ADDRESS ON FILE
   JEREMY FAJARDO                                                                      ADDRESS ON FILE
   JEROME HERT                                                                         ADDRESS ON FILE
   JERRY CHIN                                                                          ADDRESS ON FILE
   JESSE & ANGELINA SMITH                                                              ADDRESS ON FILE
   JESSICA RESTREPO MOSQUERA                                                           ADDRESS ON FILE
   JFJJ INCOME TAX SERVICE LLC            ATTN: JOHN RUSSELL                           1346 DOUGLAS AVE                                                  FLOSSMOOR            IL      60422
   JICARA COLLINS                                                                      ADDRESS ON FILE
   JIGAR & KRISHNA BANKER                                                              ADDRESS ON FILE
   JIGISH LLC                             ATTN: DIMPAL KALANI                          1419 LAYLA SAGE LOOP                                              RICHMOND             TX      77406
   JINESH TALSANIA                                                                     ADDRESS ON FILE
   JJJR&R1 INC.                           ATTN: JUSTIN VOIGT                           933 UNION CHAPEL ROAD                                             CEDAR CREEK          TX      78612
   JJMG MANAGEMENT LLC                    ATTN: MARK BISCAN                            1821 HONEYCHUCK LANE                                              KENT                 OH      44240
   JL ENTERPRISES INCORPORATED            ATTN: NICOLE OSSENFORT                       514 AMERICAS WAY PMB 20209                                        BOX ELDER            SD      577197600
   JM LEGACY INVESTMENTS LLC              ATTN: ROYCE NORRIS                           317 RAPID FALLS DRIVE                                             DESOTO               TX      75115


In re: NextPoint Financial Inc., et al.
Case No. 23-10983 (TMH)                                                                                                                                                                           Page 9 of 19
                                                                          Case 23-10983-TMH     Doc 124      Filed 11/09/23   Page 48 of 60



                                                                                                    Exhibit B
                                                                                              Served via First-Class Mail



                           Name                               Attention                                    Address 1                          Address 2           City       State     Zip    Country
   JML TAX LLC                            ATTN: JOSE LOPEZ                              932 SMYTH RD                                                      MANCHESTER         NH    03104
   JODHPUR INC.                           ATTN: PARUL GUPTA                             944 VENTURA ROAD                                                  OXNARD             CA    93030
   JODY BILLS AND ABBY BILLS                                                            ADDRESS ON FILE
   JOE FERRILL & ANNIE FOSS                                                             ADDRESS ON FILE
   JOELLE DAMAS                                                                         ADDRESS ON FILE
   JOHANNA TORRES ANGULO                                                                ADDRESS ON FILE
   JOHN B BAREIS AND CARRIE S. BAREIS                                                   ADDRESS ON FILE
   JOHN BURTON                                                                          ADDRESS ON FILE
   JOHN CECIL                                                                           ADDRESS ON FILE
   JOHN GUSTAFSON                                                                       ADDRESS ON FILE
   JOHN MCHALE                                                                          ADDRESS ON FILE
   JOHN NGUYEN                                                                          ADDRESS ON FILE
   JOHN NOISETTE                                                                        ADDRESS ON FILE
   JOHN PEREA                                                                           ADDRESS ON FILE
   JOHN PINO                                                                            ADDRESS ON FILE
   JOHN SABIN                                                                           ADDRESS ON FILE
   JOHN W. GIBSON                                                                       ADDRESS ON FILE
   JOHN W. REGAN                                                                        ADDRESS ON FILE
   JOHNNY BILAVARN                                                                      ADDRESS ON FILE
   JOHNNY XIONG                                                                         ADDRESS ON FILE
   JOLANDA HAMILTON                                                                     ADDRESS ON FILE
   JORDAN DAVIS                                                                         ADDRESS ON FILE
   JOSE ROSILLO                                                                         ADDRESS ON FILE
   JOSE’ ARREOLA GUERRERO                                                               ADDRESS ON FILE
   JOSEPH GAGLIANO                                                                      ADDRESS ON FILE
   JOSEPH HINES AND ROBIN HINES                                                         ADDRESS ON FILE
   JOSEPH NWEGBU                                                                        ADDRESS ON FILE
   JOSEPH PERTZ                                                                         ADDRESS ON FILE
   JOSHUA BIVEN                                                                         ADDRESS ON FILE
   JOVITA BRADEEN                                                                       ADDRESS ON FILE
   JOYCE JORDAN                                                                         ADDRESS ON FILE
   JOYCE MCCABE                                                                         ADDRESS ON FILE
   JSTREET ENTERPRISES LLC                ATTN: JENNIFER STREET                         3596 QUILLBACK COURT                                              ATLANTA            GA    30349
   JUAN SIERRA & SUSAN SALGADO                                                          ADDRESS ON FILE
   JUANA TORRES                                                                         ADDRESS ON FILE
   JUDITH ANICA GONZALEZ                                                                ADDRESS ON FILE
   JUDY VAN UNNIK                                                                       ADDRESS ON FILE
   JULIO VERAS                                                                          ADDRESS ON FILE
   JULIUS QUAYE                                                                         ADDRESS ON FILE
   JUSTIN TAIT                                                                          ADDRESS ON FILE
   JUSTIN Y. YONO                                                                       ADDRESS ON FILE
   JUSTIN Y. YONO                                                                       ADDRESS ON FILE
   K&V ENTERPRISES                        ATTN: KIMBERLY FINCHER-LUCKY                  1905 ROANOKE DR NE                                                RIO RANCHO         NM    87144
   KAILEE HART                                                                          ADDRESS ON FILE
   KAL SOLUTIONS INC.                     ATTN: LEGAL DEPT                              887391 MONO-MULMUR TLINE                                          MULMUR             ON    L9V2W1     CANADA
   KAMEDA TAX SERVICE LLC                 ATTN: JANET OSMUNDSEN                         4 ARNOLD CT.                                                      POMPTON PLAINS     NJ    07444
   KAMRAN RIAZ                                                                          ADDRESS ON FILE
   KAREN COOK                                                                           ADDRESS ON FILE
   KAREN E. MIRANDA                                                                     ADDRESS ON FILE
   KAREN P. GOSS                                                                        ADDRESS ON FILE
   KAREN REDDING LLC                      ATTN: KAREN REDDING                           19 BAYBERRY LANE                                                  FREDERICKSBURG     VA    22406
   KAREN THOMPSON                                                                       ADDRESS ON FILE
   KARRH CAROLYN                                                                        ADDRESS ON FILE
   KATHERINE E. PHILLIPS                                                                ADDRESS ON FILE
   KATIE CANAS                                                                          ADDRESS ON FILE
   KAUR ENTERPRISES LLC                   ATTN: TANIA KAUR                              5999 DE ZAVALA RD SUITE 138                                       SAN ANTONIO        TX    78249
   KAY WELDON                                                                           ADDRESS ON FILE
   KAYLA S. FERRE AND LAURA Y. GILLET                                                   ADDRESS ON FILE
   KAYNE SOLUTIONS FUND L.P.              ATTN: LEGAL DEPT                              1800 AVENUE OF THE STARS 3RD FLOOR                                LOS ANGELES        CA    90067
   KAZEM TABATABAI                                                                      ADDRESS ON FILE
   KBS TAX SERVICE INC                    ATTN: KAMIL SALTER                            5106 NEVADA ST                                                    PHILADELPHIA       PA    19131
   KC FINANCIAL LLC                       ATTN: EUNAH KIM-THERRELL                      510 N. PRINCE HENRY WAY                                           CAMERON            NC    28326
   KC TAX SERVICES LLC                    ATTN: ZABBIR PIRANI                           16524 BLUEJACKET ST                                               OVERLAND PARK      KS    66221
   KCI STORES INC                         ATTN: CHAD BROWN                              1117 LOCUST AVE.                                                  PAPILLION          NE    68046
   KDD TAX INC.                           ATTN: KEN DOOL                                11450 CHURCH ST. 121                                              RANCHO CUCAMONGA   CA    91730
   KELEQU VENTURES LLC                    ATTN: IRMA RODRIGUEZ                          507 N. HWY 77 SUITE 1100D                                         WAXAHACHIE         TX    75165
   KELLY HUGHES                                                                         ADDRESS ON FILE
   KENNETH SHELTON                                                                      ADDRESS ON FILE
   KEVIN COOPER                                                                         ADDRESS ON FILE
   KEY BUSINESS SERVICES INC.             ATTN: LINDA POEHLER                           2 MASON STREET                                                    SALEM              MA    01970
   KEYUR PATEL                                                                          ADDRESS ON FILE


In re: NextPoint Financial Inc., et al.
Case No. 23-10983 (TMH)                                                                                                                                                                      Page 10 of 19
                                                                          Case 23-10983-TMH     Doc 124      Filed 11/09/23   Page 49 of 60



                                                                                                    Exhibit B
                                                                                              Served via First-Class Mail



                          Name                                Attention                                    Address 1                          Address 2               City   State    Zip    Country
   KGD TAX SERVICES LTD                   ATTN: LEGAL DEPT                              930 2ND ST                                                        ESTEVAN            SK    S4A0L5    CANADA
   KHALID ISLAM                                                                         ADDRESS ON FILE
   KHRISSANDRA SWINNEY                                                                  ADDRESS ON FILE
   KIM WAGENMAN                                                                         ADDRESS ON FILE
   KIMBERCET                              ATTN: KIMBERLY RODRIGUEZ                      1940 E LOMITA AVE                                                 ORANGE             CA   92867
   KIMBERLY ALLEN                                                                       ADDRESS ON FILE
   KIMBERLY POZZI                                                                       ADDRESS ON FILE
   KJ MILLER L.L.C.                       ATTN: KELLY MILLER                            34804 COUNTY 14 BLVD                                              CANNON FALLS       MN   55009
   KKKI INC                               ATTN: ERIC TONEY                              8209 BUFFALOE RD                                                  KNIGHTDALE         NC   27545
   KLEINFELD BUSINESS SERVICES INC.       ATTN: BARBARA KLEINFELD                       8523 E. ROANOKE AVE                                               SCOTTSDALE         AZ   85257
   KMAS ENTERPRISES LTD                   ATTN: LEGAL DEPT                              1031 50TH AVE E                                                   VANCOUVER          BC   V5X1B7     CANADA
   KMC TAXES LLC                          ATTN: KRISTI-JO SHERMAN                       609 SAKO DR                                                       GILLETTE           WY   82718
   KOKOPELLI-I INC.                       ATTN: JAMES REEVES                            15234 CALLAHAN                                                    FRASER             MI   48026
   KOKOU M. LOGOSSOU                                                                    ADDRESS ON FILE
   KOMAL HOODA                                                                          ADDRESS ON FILE
   KP & SONS LLC                          ATTN: PRABIN SHRESTHA                         263 MUDDY BRANCH RD                                               GAITHERSBURG       MD   20878
   KPL TAX GROUP INC.                     ATTN: KIMBERLY LE                             11822 E. ARTESIA BLVD.                                            ARTESIA            CA   90701
   KRYSTAL SIAS                                                                         ADDRESS ON FILE
   KULBIR HEER INC.                       ATTN: KULBIR HEER                             24450 KARINA ST                                                   HAYWARD            CA   94542
   KUSHAL NEUPANE                                                                       ADDRESS ON FILE
   KYLE GARTH                                                                           ADDRESS ON FILE
   LA K DUB PARTNERS LLC                  ATTN: MARK WILLIAMS                           1973 RAINEY STREET                                                ROCK HILL          SC   29730
   LADONNA K. PRESLEY                                                                   ADDRESS ON FILE
   LAKE RISS INC.                         ATTN: MARIA ALULEMA                           75-22 37TH AVENUE SUITE 262                                       JACKSON HEIGHTS    NY   11372
   LAKEYSHA SWAN                                                                        ADDRESS ON FILE
   LAREN G. RICHARDSON                                                                  ADDRESS ON FILE
   LARRY GARCIA CPA LLC                   ATTN: LARRY GARCIA                            11 STUYVESANT CT                                                  CLIFTON            NJ   07013
   LAURA BANDA & KEVIN HOLLEY                                                           ADDRESS ON FILE
   LAURA IHRMAN                                                                         ADDRESS ON FILE
   LAURA ZAVALA                                                                         ADDRESS ON FILE
   LAURIE L. KUSS                                                                       ADDRESS ON FILE
   LAWRENCE BRUCE                                                                       ADDRESS ON FILE
   LAWRENCE POPE JR                                                                     ADDRESS ON FILE
   LAWRENCE WALSH                                                                       ADDRESS ON FILE
   LAWREY FRANCIS                                                                       ADDRESS ON FILE
   LAWSON FINANCIAL SERVICES LLC          ATTN: JOHN LAWSON                             5415 DOUGLAS FIR CT.                                              CINCINNATI         OH   45247
   LCMA FINANCIAL SERVICES LLC            ATTN: CHRISTINE LOCKHART                      4815 GENOA DRIVE                                                  MOUNT JULIET       TN   37122
   LDMC ENTERPRISES INC                   ATTN: DAYNA FLECK                             19360 RINALDI ST SUITE 256                                        PORTER RANCH       CA   91326
   LEEANN GERST                                                                         ADDRESS ON FILE
   LEGACY TAX PROS INC.                   ATTN: LARRY WARREN                            931 SOUTH WASHINGTON SUITE 2                                      BISMARCK           ND   58504
   LEGALEYE CONSULTING LLC                ATTN: LOWRANCE FISHER                         88 SUYDAM ST SUITE A                                              BROOKLYN           NY   11221
   LEO WAGATHA                                                                          ADDRESS ON FILE
   LEVERAGE POINT LLC                     ATTN: JAMES HOUSTON                           3708 COLONEL VANDERHORST CIRCLE                                   MOUNT PLEASANT     SC   29466
   LI LI                                                                                ADDRESS ON FILE
   LIBERTY CREDIT REPAIR                  ATTN: CREDIT REPAIR                           1716 CORPORATE LANDING PARKWAY                                    VIRGINIA BEACH     VA   23454
   LIBERTY TAX DEBT RESOLUTION            ATTN: DEBT RESOLUTION                         1716 CORPORATE LANDING PARKWAY                                    VIRGINIA BEACH     VA   23454
   LIGHTSHIP GROUP CORP                   ATTN: LARS PAK                                2508 113TH ST SE                                                  EVERETT            WA   98208
   LILY'S TAX SERVICE LLC                 ATTN: LILLIAN HILLMAN                         1851 S SANTA CLARA RD                                             MARION             TX   78124
   LINCOLN TAX LLC                        ATTN: WILLIAM RHINES                          1280 MAIN STREET                                                  WORCESTER          MA   01603
   LINDA D. GOEPPER                                                                     ADDRESS ON FILE
   LINDA J. NEWMAN                                                                      ADDRESS ON FILE
   LINDA K. BRAYDEN                                                                     ADDRESS ON FILE
   LINDA MOORE                                                                          ADDRESS ON FILE
   LINDA TATUM                                                                          ADDRESS ON FILE
   LINH T. HOANG                                                                        ADDRESS ON FILE
   LION TAX LLC                           ATTN: LARISSA LEAO CLARK                      1141 S BEDFORD PL                                                 CHANDLER           AZ   85286
   LISA COMEAU                                                                          ADDRESS ON FILE
   LISA D. HEMBREE                                                                      ADDRESS ON FILE
   LISA MOIX                                                                            ADDRESS ON FILE
   LISA PADILLA                                                                         ADDRESS ON FILE
   LJ'S TAX SERVICE LLC                   ATTN: LATISHA MARTIN                          9026 MORTENVIEW DR                                                TAYLOR             MI   48180
   LKY SERVICES LLC                       ATTN: XIAO KUN CHEN                           9002 WESTWILLOW DR.                                               HOUSTON            TX   77064
   LLOYD MANNING JR                                                                     ADDRESS ON FILE
   LLOYD NEWELL                                                                         ADDRESS ON FILE
   LM 2014 BP III SPE LLC                 ATTN: LEGAL DEPT                              1900 S. STATE COLLEGE BLVD STE 300                                ANAHEIM            CA   92806
   LM 2014 BP SPE LLC                     ATTN: LEGAL DEPT                              1900 S. STATE COLLEGE BLVD STE 300                                ANAHEIM            CA   92806
   LM 2014 HC SPE LLC                     ATTN: LEGAL DEPT                              1900 S. STATE COLLEGE BLVD STE 300                                ANAHEIM            CA
   LM 2019 IHA I SPE LLC                  ATTN: LEGAL DEPT                              1900 S. STATE COLLEGE BLVD STE 300                                ANAHEIM            CA   92806
   LMH TAX SERVICE INC                    ATTN: KEITH ALTOBELLI                         140 INFANTRY WAY                                                  MARIETTA           GA   30064
   LOANME GRANTOR TRUST SBL 2019-1        ATTN: LEGAL DEPT                              251 LITTLE FALLS DRIVE                                            WILMINGTON         DE   19808
   LOUIS NEGRON JR. & LEONARDO NEGRON                                                   ADDRESS ON FILE


In re: NextPoint Financial Inc., et al.
Case No. 23-10983 (TMH)                                                                                                                                                                     Page 11 of 19
                                                                         Case 23-10983-TMH     Doc 124      Filed 11/09/23   Page 50 of 60



                                                                                                   Exhibit B
                                                                                             Served via First-Class Mail



                         Name                                Attention                                   Address 1                                  Address 2                     City   State      Zip     Country
   LOWELL FAUX                                                                         ADDRESS ON FILE
   LTS EATON AND ASSOCIATES LLC           ATTN: DERRICK BROWNLEE SR.                   1324 WAGNER AVE                                                                  GREENVILLE       OH      45331
   LTS ENTREPRENEURS LLC                  ATTN: SUMANT PARIKH                          661 LONGFELLOW DR                                                                PLACENTIA        CA      92870
   LTS EQUITY INC.                        ATTN: ALDWIN FUNDERBURK                      808 PERRYMAN ROAD                                                                HARTSFIELD       GA      31756
   LUCINDY ANDERSON                                                                    ADDRESS ON FILE
   LUIS AGUILAR                                                                        ADDRESS ON FILE
   LUIS ENCARNACION MATEO                                                              ADDRESS ON FILE
   LUIS FLORES                                                                         ADDRESS ON FILE
   LUIS MARTINEZ                                                                       ADDRESS ON FILE
   LUIS MEDINA                                                                         ADDRESS ON FILE
   LYNDON HARRISON                                                                     ADDRESS ON FILE
   M & A MANAGEMENT LLC                   ATTN: AMANDA HENRY                           8161 WEST POINTE DR.                                                             TALBOTT          TN      37877
   M & N SERVICES INC                     ATTN: AJAY PAVAGADHI                         7546 KATELLA AVE                                                                 STANTON          CA      90680
   M & N SOLUTIONS INC.                   ATTN: NORMAN HANSON                          2996 S 2700 E                                                                    SALT LAKE CITY   UT      84109
   M & S PROFESSIONAL SERVICES INC.       ATTN: MALKEET SINGH                          208 ENTRADA PLAZA                                                                UNION CITY       CA      94587
   M 4 CONSULTING LLC                     ATTN: MARTIN GARCIA                          741 S ST. 4TH AVE                                                                YUMA             AZ      85364
   M&M BUSINESS GROUP L.P.                ATTN: MICHAEL BUDKA                          375 S CAMEO WAY                                                                  BREA             CA      92823
                                                                                                                                         CHRISTOPHER DAVIS & DESTINEE
   M&M BUSINESS GROUP LP                  DAVIS LAW PLC                                555 BELAIRE AVENUE SUITE 340                      BYERS                          CHESAPEAKE       VA      23320
   M. UMAR BEIG                                                                        ADDRESS ON FILE
   MADLIN ENTERPRISES LLC                 ATTN: LORI BEDROSIAN                         8 SOUTH MAIN ST                                                                  ATTLEBORO        MA      02703
   MAG IV INC.                            ATTN: JENNY MAGERLE                          3040 SCENIC AVE                                                                  CENTRAL POINT    OR      97502
   MAHMOOD M. DHANANI                                                                  ADDRESS ON FILE
   MAIN STREET TAX LLC                    ATTN: PHILLIP E. GRAYBEAL                    1221 MILL CREEK CROSSROADS                                                       LURAY            VA      22835
   MAIN STREET TAX SERVICES LLC           ATTN: LUIS RAMIREZ                           4725 E BROWN RD 69                                                               MESA             AZ      85205
   MALK JR TAX LLC                        ATTN: MADISON LUU                            2091 SAXON BLVD SUITE 103                                                        DELTONA          FL      32725
   MANEESH GUPTA                                                                       ADDRESS ON FILE
   MANUEL DAMIAN-CABALLERO                                                             ADDRESS ON FILE
   MANUEL HIZON                                                                        ADDRESS ON FILE
   MARC A. VASSOR                                                                      ADDRESS ON FILE
   MARC J. TIMOTHEE                                                                    ADDRESS ON FILE
   MARCHIZZA TAX LLC                      ATTN: FELICIA BOWDEN                         607 EAST HAUB STREET                                                             HAUBSTADT        IN      47639
   MARCO SHOALS AND LESLI SHOALS                                                       ADDRESS ON FILE
   MARGARET TABB                                                                       ADDRESS ON FILE
   MARGARET TAYLOR                                                                     ADDRESS ON FILE
   MARGARITA GARZA                                                                     ADDRESS ON FILE
   MARIA ELIZABETH LOZANO-ARVIZO                                                       ADDRESS ON FILE
   MARIA RIVERO                                                                        ADDRESS ON FILE
   MARJORIE & MICHAEL CALLAGHAN                                                        ADDRESS ON FILE
   MARK & CHRISTAL HAWKINS                                                             ADDRESS ON FILE
   MARK & DYLAN GRIESELDING                                                            ADDRESS ON FILE
   MARK AND KIMBERLI CAMARATA                                                          ADDRESS ON FILE
   MARK CASSLER & BENJAMIN SCHOTT                                                      ADDRESS ON FILE
   MARK COUCH                                                                          ADDRESS ON FILE
   MARK CUNNINGHAM                                                                     ADDRESS ON FILE
   MARK GRAHAM                                                                         ADDRESS ON FILE
   MARK JOHNSON                                                                        ADDRESS ON FILE
   MARK ROBISON                                                                        ADDRESS ON FILE
   MARK SINGH                                                                          ADDRESS ON FILE
   MARKIOS ACCOUNTING & TAX SERVICE       ATTN: MICHAEL MALONE                         14828 BUILD AMERICA DRIVE                                                        WOODBRIDGE       VA      22191
   MARKIT ACCOUNTING SERVICES LTD.        ATTN: LEGAL DEPT                             11025 67 AVENUE                                                                  GRANDE PRAIRIE   AB      T8W 2Y8    CANADA
   MARLA CARMONA LLC                      ATTN: MARLA CARMONA                          1210 E DIANA AVENUE                                                              PHOENIX          AZ      85020
   MARLON HUNTER                                                                       ADDRESS ON FILE
   MARTHA DRAKE                                                                        ADDRESS ON FILE
   MARTHA NAVARRO                                                                      ADDRESS ON FILE
   MARTIN HOLDINGS LLC                    ATTN: KIMBERLY MARTIN                        7908 NW TAYLORS LANDING                                                          LAWTON           OK      73505
   MARTIN SHAWN                                                                        ADDRESS ON FILE
   MARY JOHNSON                                                                        ADDRESS ON FILE
   MARY L. SPARKS                                                                      ADDRESS ON FILE
   MARY METHNER                                                                        ADDRESS ON FILE
   MARY TAYLOR                                                                         ADDRESS ON FILE
   MAS TAX SERVICES LLC                   ATTN: SYED MARICAR                           7953 ORCHARD CT                                                                  WEST CHESTER     OH      45069
   MATHIS FINANCIAL GROUP INC.            ATTN: JENNIFER MATHIS                        33509B PACIFIC HWY S                                                             FEDERAL WAY      WA      98003
   MATTHEW JESPERSEN                                                                   ADDRESS ON FILE
   MAUREEN ZARS                                                                        ADDRESS ON FILE
   MAXES LLC                              ATTN: MARK RUSSO                             345 WEST MAIN ST                                                                 WATERBURY        CT      06702
   MAYRA RODRIGUEZ                                                                     ADDRESS ON FILE
   MAYRA SALAS AND CAROLINA SALAS                                                      ADDRESS ON FILE
   MAZIN INC.                             ATTN: CAROLYN GRACE                          260 CARSON JONES RD                                                              DANVILLE         VA      24540
   MCFARMER INC.                          ATTN: JANICE FARMER                          8 AUTUMN CT                                                                      BLACKWOOD        NJ      08012
   MCMANUS & MCMANUS ENTERPRISES INC.     ATTN: CHAUNAKA MCMANUS                       6451 FISHING POND CT.                                                            HIGH POINT       NC      27265


In re: NextPoint Financial Inc., et al.
Case No. 23-10983 (TMH)                                                                                                                                                                                    Page 12 of 19
                                                                         Case 23-10983-TMH     Doc 124      Filed 11/09/23   Page 51 of 60



                                                                                                   Exhibit B
                                                                                             Served via First-Class Mail



                          Name                               Attention                                    Address 1                                  Address 2                 City    State     Zip    Country
   MDK TAX LLC                            ATTN: DEBRA WALKER                           9050 DIXIE HWY SUIT 104                                                      LOUISVILLE         KY    40258
   MEHAR ENTERPRISE INC                   ATTN: GURMEET CHAWLA                         1336 S CESAR E CHAVEZ DR                                                     MILWAUKEE          WI    53204
   MELI SERVICES INC                      ATTN: YAHYA RAFIEE                           3218 SOUTH DORT HIGHWAY                                                      FLINT              MI    48507
   MELISSA D GRAHAM                                                                    ADDRESS ON FILE
   MELISSA FARMER                                                                      ADDRESS ON FILE
   MELISSA HOLSTEIN                                                                    ADDRESS ON FILE
   MERIDIAN POWER GROUP INC.              THE PRITCHETT LAW GROUP                      1100 PEACHTREE ST NE #950                         STEVEN J. PRITCHETT ESQ.   ATLANTA            GA    30309
   METRO MULTI SERVICES INC               ATTN: AKBAR ISSANY                           133-04 ROCKAWAY BLVD                                                         JAMAICA            NY    11420
   MG2T TAX SERVICES INC.                 ATTN: MICHAEL SCHOENEBECK                    12537 WHIPPOORWILL ST                                                        BROOMFIELD         CO    80020
   MI030 LLC                              ATTN: DANIEL ROMAN                           22024 KNUDSEN DRIVE                                                          GROSSE ILE         MI    48138
   MICAELA A. SAENZ                                                                    ADDRESS ON FILE
   MICHAEL AND KATHARINE SAWYER                                                        ADDRESS ON FILE
   MICHAEL BUDKA                                                                       ADDRESS ON FILE
   MICHAEL J. PESTA                                                                    ADDRESS ON FILE
   MICHAEL JACOBS                                                                      ADDRESS ON FILE
   MICHAEL KECK                                                                        ADDRESS ON FILE
   MICHAEL MAGEE                                                                       ADDRESS ON FILE
   MICHAEL MARTINEZ                                                                    ADDRESS ON FILE
   MICHAEL MERIT                                                                       ADDRESS ON FILE
   MICHAEL MOORE                                                                       ADDRESS ON FILE
   MICHAEL NIVERA                                                                      ADDRESS ON FILE
   MICHAEL SHINNEMAN                                                                   ADDRESS ON FILE
   MICHAEL TROMBETTA                                                                   ADDRESS ON FILE
   MICHAEL TURNER                                                                      ADDRESS ON FILE
   MICHAEL VAN HOUTAN                                                                  ADDRESS ON FILE
   MICHAEL W. STANLEY                                                                  ADDRESS ON FILE
   MICHAEL WILLIAMS                                                                    ADDRESS ON FILE
   MICHAEL WILLIAMS & KEVIN CUNNINGHAM                                                 ADDRESS ON FILE
   MICHELLE M. KOTEWA                                                                  ADDRESS ON FILE
   MICHELLE NEILL TANGE                                                                ADDRESS ON FILE
   MIDAS TOUCH INC.                       ATTN: CONNIE MOORE                           3705 TIMAHOE CIR                                                             BALTIMORE          MD    21236
   MIGUEL LORA                                                                         ADDRESS ON FILE
   MIHALKA ENTERPRISES INC                ATTN: MARK MIHALKA                           123 PENINSULA DRIVE                                                          BEAR CREEK TWP     PA    18702
   MIKE BUDKA AND MUFEED HADDAD                                                        ADDRESS ON FILE
   MINH T. NGUYEN                                                                      ADDRESS ON FILE
   MINNESOTA WEST TAX SERVICE INC         ATTN: MICHAEL WILLIAMSON                     629 1ST STREET SOUTH                                                         WILLMAR            MN    56201
   MISHELL VEGA                                                                        ADDRESS ON FILE
   MISTY ROMERO                                                                        ADDRESS ON FILE
   MITCHELL ROSEN TAX SERVICE LLC         ATTN: JOSEPH ROSEN                           832 PENTWATER LN                                                             SCHERERVILLE       IN    46375
   MJM INVESTMENTS INC                    ATTN: SCOTT ARLANDSON                        3776 DRUMCLIFFE CT                                                           ROSEMOUNT          MN    55068
   MM TAX & ACCOUNTING INC.               ATTN: MOHAMMAD MIAH                          2123 GRAND AVE APT. 3                                                        BRONX              NY    10453
   MMMP ENTERPRISES INC.                  ATTN: MARK MIHALKA                           123 PENINSULA DRIVE                                                          BEAR CREEK TWP     PA    18702
   MNS SERVICE CORP                       ATTN: MOHAMMED CHANDOO                       21533 SNOW AVE                                                               DEARBORN           MI    48124
   MOBJOB INVESTMENTS LTD                 ATTN: MICHAEL OBRIEN                         25 N. LAKERIDGE CIRCLE                                                       SPRING             TX    77381
   MOE INVESTMENTS L.L.C.                 ATTN: JOSEPH COTTONE                         16679 WHISLER DR.                                                            BROWNSTOWN         MI    48173
   MOHAMED CHAREQ                                                                      ADDRESS ON FILE
   MOHAMMAD AKHTAR                                                                     ADDRESS ON FILE
   MOHAMMAD ALAM                                                                       ADDRESS ON FILE
   MOHAMMAD MIAH & MD OBAIDULLAH KHAN                                                  ADDRESS ON FILE
   MOHAMMED MIAH                                                                       ADDRESS ON FILE
   MOHAWK INVESTMENTS INC.                ATTN: MARK PHILLIPS                          7455 MCDONALD RD                                                             MOHAWK             TN    37810
   MONEY ENTERPRISES INC.                 ATTN: DARREN MONEY                           301 NORTH VALLEY ROAD                                                        SEARCY             AR    72143
   MONICA GONZALEZ                                                                     ADDRESS ON FILE
   MONIQUE JACKSON                                                                     ADDRESS ON FILE
   MONIQUE PARISH                                                                      ADDRESS ON FILE
   MORAN AGENCY LLC                       ATTN: JONUE MORAN                            3900 MAIN ST                                                                 BRIDGEPORT         CT    06606
   MR TECH STUFF INC                      ATTN: WILLIAM MCPHERSON                      40 ELLINGTON PL                                                              OVIEDO             FL    32765
   MR. BIG DREAMS INC                     ATTN: KARISMA PAGE                           258 RISING MEADOW WAY                                                        EAST STROUDSBURG   PA    18302
   MSM ENTERPRISES INC                    ATTN: MARYANN COLATI                         37014 OWL DR                                                                 SELBYVILLE         DE    19975
   MUFEED HADDAD                                                                       ADDRESS ON FILE
   MUFEED HADDAD                                                                       ADDRESS ON FILE
   MUFEED HADDAD                                                                       ADDRESS ON FILE
   MUHAMMAD SIKANDAR                                                                   ADDRESS ON FILE
   MULTI ASSET TAX SERVICE LLC            ATTN: ELIZABETH CAROBERT                     1444 CORBIN AVE                                                              NEW BRITAIN        CT    06053
   MUSTAFA ELHASANI                                                                    ADDRESS ON FILE
   MUSTAFA USMAN                                                                       ADDRESS ON FILE
   MUSTAPHA MARSEILLE                                                                  ADDRESS ON FILE
   MY BUSINESS GROUP LLC                  ATTN: MICHAEL MORRELL                        4510 SUGARTREE DR. W.                                                        LAKELAND           FL    33813
   MY SERVICES FLORIDA LLC                ATTN: MICHAEL MORRELL                        2944 S. FLORIDA AVE.                                                         LAKELAND           FL    33803
   MY TAX PEOPLE LLC                      ATTN: SHERRY SCHWEITZER                      2813 E SCORPIO PL                                                            CHANDLER           AZ    85249
   MYSMART POCKET INC.                    ATTN: ROSSEL LASTIMOSO                       1943 S. PEPPER TREE LANE                                                     SAN BERNARDINO     CA    92408


In re: NextPoint Financial Inc., et al.
Case No. 23-10983 (TMH)                                                                                                                                                                                Page 13 of 19
                                                                        Case 23-10983-TMH     Doc 124      Filed 11/09/23   Page 52 of 60



                                                                                                  Exhibit B
                                                                                            Served via First-Class Mail



                            Name                            Attention                                   Address 1                                   Address 2                    City   State      Zip     Country
   NANCY CLARK                                                                        ADDRESS ON FILE
   NANCY HAGEN                                                                        ADDRESS ON FILE
   NANCY TRAN                                                                         ADDRESS ON FILE
   NATASHIA KLOS                                                                      ADDRESS ON FILE
   NAVEEN KUMAR                                                                       ADDRESS ON FILE
   NC TAX SERVICES LLC                    ATTN: RABINDRA KARKI                        1328 LEGENDARY LN                                                               MORRISVILLE       NC      27560
   NELSON MALDONADO                                                                   ADDRESS ON FILE
   NEVILLE MAHONEY                                                                    ADDRESS ON FILE
   NEWSHAM BUSINESS SERVICES INC          ATTN: MADELINE NEWSHAM                      8088 POULSON ST                                                                 CITRUS HEIGHTS    CA      95610
   NEXT POINT FINANCIAL INC. ET AL        ATTN: LEGAL DEPT                            1133 MELVILLE ST SUITE 2700                                                     VANCOUVER         BC      V6E 4E5    CANADA
   NHUNG TUYET ELIZABETH PHAN                                                         ADDRESS ON FILE
   NICHOLAS BATCH                                                                     ADDRESS ON FILE
   NICHOLAS J ELLIOTT                                                                 ADDRESS ON FILE
   NICOLA NUNU                                                                        ADDRESS ON FILE
   NICOLE HAMILTON                                                                    ADDRESS ON FILE
   NIHARIKA JIWANI                                                                    ADDRESS ON FILE
   NIKKI SHELSTAD                                                                     ADDRESS ON FILE
   NISHAN TAX INC.                        ATTN: APPAR SINGH                           209 PLAINVIEW ROAD                                                              HICKSVILLE        NY      11801
   NISM LLC                               ATTN: NEELIMA LOKHANDWALLA                  2701 BERSHIRE DR N                                                              CARROLLTON        TX      75007
   NITIN MEHTA & VALLIDEVI YARLAGADDA                                                 ADDRESS ON FILE
   NJ FINANCIAL SERVICES                  ATTN: NIMESH PAREKH                         48492 ARKANSAS PL                                                               FREMONT           CA      94539
   NJLB INC                               ATTN: RACHEL RUFFING                        6424 DETROIT AVE                                                                CLEVELAND         OH      44102
   NKB ENTRERPRISES LLC                   ATTN: JASTINA GREWAL BHALLA                 NKB ENTERPRISES LLC                                                             FALLBROOK         CA      92028
   NOE MARTINEZ JR & ISELA MARTINEZ                                                   ADDRESS ON FILE
   NORCAL LTS INC                         ATTN: SHAVI SANDHU                          1785 HASTINGS WAY                                                               YUBA CITY         CA      95991
   NOR-CAL TAX PREP INC                   ATTN: LISA BACA                             2997 CHURN CREEK RD                                                             REDDING           CA      96049
   NORTH DALLAS WIRELESS LLC              ATTN: WILLIAM LOCKETT                       1615 FOXFIRE DR                                                                 COLLEGE STATION   TX      77845
   NORTH OC FINANCIAL SERVICES INC        ATTN: KAREN MIRANDA                         3729 TWEEDY BLVD                                                                SOUTH GATE        CA      90280
   NORTH SHORE TAX INC.                   ATTN: JOANNA PARICHKOV                      1220 LAKE HIGHVIEW LN                                                           BRANDON           FL      33510
   NORTHWEST TAX SERVICES LLC             ATTN: TAMEIKA CAMPBELL                      2865 WESTHOLLOW DR 12                                                           HOUSTON           TX      77082
   NOSHINA KHALID                                                                     ADDRESS ON FILE
   NUECES COUNTY ET AL                    C/O LINEBARGER GOGGAN BLAIR ET AL           PO BOX 17428                                      ATTN: DIANE W. SANDERS        AUSTIN            TX      78760-
   NYM BOOKKEEPING & TAX PREP LLC         ATTN: NICOLE MILLER                         1610 W GARFIELD AVE                                                             PEORIA            IL      61607
   O2 VENTURES LLC                        ATTN: CLEMENT OGUNYEMI                      4179 RAVENWOOD LANE                                                             SPRINGDALE        AR      72762
   OAK HARBOR CAPITAL LLC                 ATTN: LEGAL DEPT                            2003 WESTERN AVE. SUITE 340                                                     SEATTLE           WA      98121
   OAKSHAW LLC                            ATTN: DUSTIN MARTZ                          332 BAKER HOLLOW RD                                                             RIDGELEY          WV      26753
   OBED MUTANYA                           ATTN: OBED MUTANYA                          7200 E BROADWAY BLVD SUITE 120                                                  TUCSON            AZ      85710
   OFFICE OF THE UNITED STATES TRUSTEE    U. S. DEPARTMENT OF JUSTICE                 844 KING STREET SUITE 2207                        ATTN: TIMOTHY JAY FOX JR.     WILMINGTON        DE      19801
   OFFICE OF THE US ATTORNEY              SEAN JANSEN (ASSISTANT US ATTORNEY)         101 WEST MAIN STREET SUITE 8000                                                 NORFOLK           VA      23510-
   OPS SUPPORT                            ATTN: NULL NULL                             1716 CORPORATE LANDING PKWY                                                     VIRGINIA BEACH    VA      23454
   ORACLE AMERICA INC                     C/O BUCHALTER A PROFESSIONAL CORP           425 MARKET STREET SUITE 2900                      ATTN: SHAWN M. CHRISTIANSON   SAN FRANCISCO     CA      94105-
   ORANGE ROSE LLC                        ATTN: ANTHONY COLLYER                       13644 NORTH RIM RD NE                                                           ALBUQUERQUE       NM      87112
   ORION INC.                             ATTN: MARY HOBBS                            2712 MONTE VISTA DR                                                             MARYVILLE         TN      37803
   OSCAR VENTURA & MIRIAM SANCHEZ                                                     ADDRESS ON FILE
   P&C FINANCIAL SERVICES LLC             ATTN: PATRICK ONUOHA                        2923 ALYSON WAY                                                                 GRAND PRAIRIE     TX      75052
   P419 LLC                               ATTN: SUNGCHUL KWON                         214 PIERMONT RD                                                                 NORWOOD           NJ      07648
   PACIFIC TAX SERVICES INC               ATTN: JONATHON MEYER                        1765 FARMVIEW TERRACE                                                           LYNDEN            WA      98264
   PALMER BOOKS AND TAX LLC               ATTN: BRANDON PALMER                        5329 CUBA RD                                                                    WILMINGTON        OH      45177
   PAMELA D. RUSSELL                                                                  ADDRESS ON FILE
   PARABOO FINANCIAL SERVICES LTD.        ATTN: LEGAL DEPT                            108-20611 FRASER HIGHWAY                                                        LANGLEY           BC      V3A4G4     CANADA
   PATHIBHARA FINANCIAL SERVICE INC.      ATTN: TANKA RAYACHHETRY                     3318 COSTA DRIVE                                                                HAYWARD           CA      94541
   PATRICIA MARTINEZ & PETER GALDA                                                    ADDRESS ON FILE
   PATRICIA MEADOWS                                                                   ADDRESS ON FILE
   PATRICK BAIRD                                                                      ADDRESS ON FILE
   PATRICK C. PEREZ                                                                   ADDRESS ON FILE
   PATRICK DAUGHERTY                                                                  ADDRESS ON FILE
   PATRIOT FINANCIAL SERVICES LLC         ATTN: VISHRUTA PARIKH                       101 LOUISE DR                                                                   FRANKLIN          MA      02038
   PAUL C. COX AND ASSOCIATES LLC         ATTN: PATSY COX                             2055 E. COX FERRY ROAD                                                          BOLTON            MS      39041
   PAULINUS I. AKOSA                                                                  ADDRESS ON FILE
   PEKAJO SERVICES INC.                   ATTN: MARK WILLIAMS                         123 S HERLONG AVE                                                               ROCK HILL         SC      29732
   PEOPLE'S TAX AND ACCOUNTING INC        ATTN: EBRAHIM AYUB                          4407 N BROADWAY ST                                                              CHICAGO           IL      60640
   PEP TAX PREPARATION INC                ATTN: PAUL PLIAKAS                          15 BEDFORD                                                                      PAWTUCKET         RI      02860
   PERFECT CIRCLE INCORPORATED            ATTN: RHONDA HUGHES                         3400 E COTTLE LOOP STE 100                                                      WASILLA           AK      99654
   PETERSON TAX SERVICE LLC               ATTN: DAVID PETERSON                        1004 BYPASS SOUTH                                                               LAWRENCEBURG      KY      40342
   PFIZENMAYER AND ASSOCIATES LLC         ATTN: GABY PFIZENMAYER                      6663 ROSEMONT LN                                                                MASON             OH      45040
   PHILIP A LYNCH & ROCK W. ARCHACKI                                                  ADDRESS ON FILE
   PHILIP JEANFREAU                                                                   ADDRESS ON FILE
   PHILIP KEMPISTY                                                                    ADDRESS ON FILE
   PHILLIP TEXIDOR                                                                    ADDRESS ON FILE
   PINEYWOODS INVESTORS LLC               ATTN: WILLIAM DANIELS                       1302 SAM HOUSTON AVE STE A                                                      HUNTSVILLE        TX      77340
   PIONEER VALLEY ENTERPRISES INC.        ATTN: KRISTIN KICZA                         565 ALLEN RD                                                                    TORRINGTON        CT      06790


In re: NextPoint Financial Inc., et al.
Case No. 23-10983 (TMH)                                                                                                                                                                                   Page 14 of 19
                                                                         Case 23-10983-TMH     Doc 124      Filed 11/09/23   Page 53 of 60



                                                                                                   Exhibit B
                                                                                             Served via First-Class Mail



                          Name                               Attention                                    Address 1                                 Address 2                     City      State     Zip    Country
   PLATINUM TAX LTD.                      ATTN: ANTHONY FOCCA                          1888 HYLAN BLVD                                                                  STATEN ISLAND      NY     10305
   PLUTO RISING INC.                      ATTN: KRISTA SALMON                          11522 31ST DR SE                                                                 EVERETT            WA 98208
   PMM ENTERPRISES LIMITED                ATTN: LEGAL DEPT                             46 GRIFFIN WAY                                                                   WEST ST. PAUL      MB     R4A0B1     CANADA
   POVO CORPORATION                       ATTN: PACKY POON                             11607 FOXCLOVE RD                                                                RESTON             VA     20191
   POWERHOUSE TAX SOLUTIONS LLC           ATTN: LEOPOLDO ROCHA                         49 BLANCA LN SP69                                                                WATSONVILLE        CA     95076
   PRECISE TAXES INC                      ATTN: JULIETTE SYKES                         12214 HAMPTON VALLEY TER                                                         CHESTERFIELD       VA     23832
   PRICKETT ENTERPRISES INC.              ATTN: MICHAEL PRICKETT                       1663 S. 250 W.                                                                   SHELBYVILLE        IN     46176
   PRINCESS CLARK-WENDEL                                                               ADDRESS ON FILE
   PRIORITY BOOKKEEPING SERVICES LLC      ATTN: CHARLES WOMACK                         8370 N DONNELLY AVE 715                                                          KANSAS CITY        MO    64158
   PRISTINETAX INC.                       ATTN: VENKATESWARA VANKINA                   17518 MARTHA AVE                                                                 CERRITOS           CA    90703
   PRO LEDGERS INC.                       ATTN: LEGAL DEPT                             10753 160TH STREET                                                               SURREY             BC    V4N 1L6     CANADA
   PRP INC                                ATTN: RICHARD WOLFE                          300 E 75TH ST APT 18F                                                            NEW YORK           NY    10021
   PSP SERVICES LLC                       ATTN: PEI PIERCE                             14128 APPLE TREE RD                                                              HOUSTON            TX    77079
   PTS OF THE RGV LLC                     ATTN: GUADALUPE MAURICIO                     1600 MERLIN DR.                                                                  MISSION            TX    78572
   PUJA BHATTA                                                                         ADDRESS ON FILE
   QBJ TAX PREPARATION SERVICES LLC       ATTN: QUENTIN JONES                          7060 WHISTLING WINDS PL                                                          HUGHESVILLE        MD    20637
   QUALITY TAX SERVICE ONE LLC            ATTN: ROXANNA FRAZIER                        1042 BLACKBERRY LANE                                                             LEWIS CENTER       OH    43035
   QUEST TAX SERVICES LLC                 ATTN: SALEEM ALI                             2806 WINTER GORGE                                                                SAN ANTONIO        TX    78259
   QUIVER & ARROW LLC                     ATTN: MARTIN CUNNINGHAM                      120 S YORK RD STE B                                                              HATBORO            PA    19040
   R P S TAX SERVICE LLC                  ATTN: RAJPAL SANDHU                          110 CARRIAGE PLACE                                                               CLINTON            TN    37716
   R&K EVANS LLC                          ATTN: KIMBERLY EVANS                         3431 FRONT ST                                                                    CLIFTON            CO    81520
   R&R PARTNERSHIP LLP                    ATTN: CHRIS ROBINSON                         2500 BARNHILL ROAD                                                               PARAGOULD          AR    72450
   R4 SOLUTIONS LLC                       ATTN: SAIREKHA VEDAGIRI                      253 TURNER OAKS DR.                                                              CARY               NC    27519
   RABINDRA KARKI                                                                      ADDRESS ON FILE
   RAJU BANDUKWALA                                                                     ADDRESS ON FILE
   RAMI AKL                                                                            ADDRESS ON FILE
   RAMI MARJI                                                                          ADDRESS ON FILE
   RANDALL VAYON                                                                       ADDRESS ON FILE
   RANDALL WHITE                                                                       ADDRESS ON FILE
   RAQUEL R. SCHRICK                                                                   ADDRESS ON FILE
   RAVELLE WOMBLE                                                                      ADDRESS ON FILE
   RAYMOND DESENA                                                                      ADDRESS ON FILE
   RAYMOND GONZALES                                                                    ADDRESS ON FILE
   RD BOOKKEEPING SOLUTIONS LLC           ATTN: ROBERT DOUANGMALA                      40 WILBUR AVE                                                                    WOONSOCKET         RI    02895
   RE TAX LLC                             ATTN: REINY PAULINO                          34-62 JUNCTION BOULEVARD                                                         JACKSON HEIGHTS    NY    11372
   REA MARTINEZ-MALO                                                                   ADDRESS ON FILE
   REA T MARTINEZ & MARIO URGILES         ATTN: REA MARTINEZ-MALO                      8226 GRIFFIN ROAD                                                                DAVIE              FL    33328
   RED LOCK LLC                           ATTN: DAVID WINIARCZYK                       8565 W SAHARA AVE STE 112                                                        LAS VEGAS          NV    891171869
   RED WOLF FINANCIAL LLC                 ATTN: WILL SUMPTER                           1515 BERWICK RD.                                                                 WINSTON SALEM      NC    27103
   REDDING & JONES LLC                    ATTN: ERIC REDDING                           4046 BROOKSIDE PARKWAY                                                           DECATUR            GA    30034
   REDMOND AND ASSOCIATES LLC             ATTN: DENITA REDMOND                         18661 LANCASHIRE ST                                                              DETROIT            MI    48223
   REENIS HOLDINGS LLC                    ATTN: RENE ISUK                              10019 TOLEDO DRIVE N                                                             MINNEAPOLIS        MN    55443
   REGAL VENTURES LLC                     ATTN: SHERREE KNOX                           8408 WHITESBURG DR B                                                             HUNTSVILLE         AL    35802
   RELIABLE TAX SERVICE LLC               ATTN: KAREN TRECO                            10057 KEY LIME DRIVE                                                             VENICE             FL    34292
   RENE LABRADO                                                                        ADDRESS ON FILE
   RENEE ENTERPRISES LLC                  ATTN: TONYA BROWN                            5055 COOK RD                                                                     BLOOMFIELD         OH    43103
   RENEE MANCUSO                                                                       ADDRESS ON FILE
   RENSHAW ENTERPRISE LLC                 ATTN: ROBERT RENSHAW                         337 SHERMAN AVENUE                                                               COUNCIL BLUFFS     IA    51503
   REUSE                                  ATTN: LEGAL DEPT                             123 ANYWHERE ST                                                                  CITY               ON    A1A1A1      CANADA
   REY AND JACKIE FULGENCIO                                                            ADDRESS ON FILE
   RGV TAXPERTS LLC                       ATTN: KAMLESH BHAKTA                         258 S SAM HOUSTON BLVD                                                           SAN BENITO         TX    78586
   RHINES BROTHERS LLC.                   ATTN: WILLIAM RHINES                         1280 MAIN STREET                                                                 WORCESTER          MA    01603
   RHINES FINANCIAL LLC                   ATTN: WILLIAM H. RHINES                      1280 MAIN STREET                                                                 WORCESTER          MA    01603
   RHINES FINANCIAL LLC                   ATTN: EILEEN RHINES                          295 BUNKER DR                                                                    HANOVER TOWNSHIP   PA    18706
   RHINO EAGLE VENTURE INC                ATTN: MYOINGA GLASPEY                        2177 KINGSLEY AVENUE SUITE 7                                                     ORANGE PARK        FL    32073
   RHINO TAX LLC                          ATTN: WILLIAM RHINES                         1280 MAIN STREET                                                                 WORCESTER          MA    01603
   RICHARD AGUILAR AND JAVIER LERMA                                                    ADDRESS ON FILE
   RICHARD CHEONG                                                                      ADDRESS ON FILE
   RICHARD HANVIRIYAPUNT                                                               ADDRESS ON FILE
   RICHARD J. DAVIDSON                                                                 ADDRESS ON FILE
   RICHARD KALBFLEISCH                                                                 ADDRESS ON FILE
   RICHARD KLENE                                                                       ADDRESS ON FILE
   RICHARD MCCALL                                                                      ADDRESS ON FILE
   RICHARD SHANBOUR                                                                    ADDRESS ON FILE
   RICHARDSON ISD ET AL                   C/O PERDUE BRANDON FIELDER ET AL             500 E BORDER STREET SUITE 640                     ATTN: EBONEY COBB              ARLINGTON          TX    76010
   RICHEY HEALTH SOLUTIONS LLC            ATTN: RANDAL RICHEY                          37119 COUNTY STREET 2700                                                         ANADARKO           OK    73005
   RICKEY HENKES                                                                       ADDRESS ON FILE
   RIMA USANOVA                                                                        ADDRESS ON FILE
                                                                                                                                         CHRISTOPHER DAVIS & DESTINEE
   ROAD KING DEVELOPMENT INC.             DAVIS LAW PLC                                555 BELAIRE AVENUE SUITE 340                      BYERS                          CHESAPEAKE         VA    23320
   ROBDAR INC.                            ATTN: ROBERT HUBER                           11221 MORGAN DR                                                                  LAVON              TX    75166


In re: NextPoint Financial Inc., et al.
Case No. 23-10983 (TMH)                                                                                                                                                                                     Page 15 of 19
                                                                          Case 23-10983-TMH     Doc 124      Filed 11/09/23   Page 54 of 60



                                                                                                    Exhibit B
                                                                                              Served via First-Class Mail



                           Name                               Attention                                    Address 1                                 Address 2                       City   State      Zip      Country
   ROBERT & HEATHER RADFORD                                                             ADDRESS ON FILE
   ROBERT & JAMES METZGER                                                               ADDRESS ON FILE
   ROBERT ANDERSON                                                                      ADDRESS ON FILE
   ROBERT BOYER                                                                         ADDRESS ON FILE
   ROBERT BYRNE & DAVID RUYLE JR.                                                       ADDRESS ON FILE
   ROBERT DOWNUM                                                                        ADDRESS ON FILE
   ROBERT GAY                                                                           ADDRESS ON FILE
   ROBERT KELLY & ASSOCIATES LLC          ATTN: ROBERT KELLY                            4 KILLENS POND COURT                                                             NEWARK             DE      197114125
   ROBERT MATTICE'S ACCOUNTING & TAX      ATTN: ROBERT MATTICE                          4303 -ONE HALF- BELMONT DR.                                                      LIVERPOOL          NY      13090
   ROBERT MCCOY                                                                         ADDRESS ON FILE
   ROBERT MEDLEY                                                                        ADDRESS ON FILE
   ROBERT STEPHEN GOODMAN                                                               ADDRESS ON FILE
   ROBERT YOAKUM JR                                                                     ADDRESS ON FILE
   ROBERTO NESPEREIRA                                                                   ADDRESS ON FILE
   ROBIN WININGER                                                                       ADDRESS ON FILE
   ROSEMARY TRUJILLO                                                                    ADDRESS ON FILE
   ROSY CURIEL                                                                          ADDRESS ON FILE
   ROWAN SOLUTIONS INC.                   ATTN: THOMAS ROWAN                            5080 MONTEVERDE LN                                                               LINCOLN            CA      95648
   ROY AND MARY COUCH                                                                   ADDRESS ON FILE
   ROY BRISPORT                                                                         ADDRESS ON FILE
   RRR TAX LLC                            ATTN: WILLIAM RHINES                          1280 MAIN ST.                                                                    WORCESTER          MA      01603
   RTA REAL ESTATE INVESTMENTS LLC        ATTN: TONY ANDERSON                           6759 MEADOW FARM DR.                                                             WEST VALLEY CITY   UT      84128
   RTA TAX SERVICE LLC                    ATTN: RAYMOND ALEXANDER                       311 FRANCIS ST                                                                   BAKERSFIELD        CA      93308
   RUNNELS FINANCIAL SERVICES LLC         ATTN: MARK RUNNELS                            4205 ADDINGTON PLACE                                                             FLOWER MOUND       TX      75028
   RUTH DEJONGE                                                                         ADDRESS ON FILE
   S & A TAX SERVICE INC                  ATTN: MOHAMMED SALAM                          1131 WHITE PLAINS RD.                                                            BRONX              NY      10472
   S AND P ACCOUNTING SERVICES LLC        ATTN: AMY POPE                                798 HICKORY WOODS DRIVE                                                          UNION              MO      63084
   S&R SERVICES LLC                       ATTN: RAJESH SAPKOTA                          12102 DELWOOD TERRACE DR                                                         HUMBLE             TX      77346
   S. PRASAD HOLDINGS LTD.                ATTN: LEGAL DEPT                              13424 72 AVE                                                                     SURREY             BC      V3W2N8      CANADA
   SAAD SULTAN                                                                          ADDRESS ON FILE
   SAIFUR CHOUDHURY                                                                     ADDRESS ON FILE
   SAJA MAHDI                                                                           ADDRESS ON FILE
   SALAI T. HNIN                                                                        ADDRESS ON FILE
   SALEM FINANCIAL CONSULTANT INC.        ATTN: MAHDI SALEM                             7600 S PULASKI RD                                                                CHICAGO            IL      60652
   SALES SUPPORT                          ATTN: SALES SUPPORT                           1716 CORPORATE LANDING BLV                                                       VIRGINIA BEACH     VA      23454
   SAM ROBERSON                                                                         ADDRESS ON FILE
   SAMUEL RANDOLPH                                                                      ADDRESS ON FILE
   SAMUEL TROTMAN JR. AND CYNTHIA WARD                                                  ADDRESS ON FILE
   SANA MEGHANI                                                                         ADDRESS ON FILE
   SANA MEGHANI & SALMAN VIRANI                                                         ADDRESS ON FILE
   SANDRA COMPHER                                                                       ADDRESS ON FILE
   SANDRA HERNANDEZ                                                                     ADDRESS ON FILE
   SANDY SHANNON                                                                        ADDRESS ON FILE
   SANJAY PAREKH                                                                        ADDRESS ON FILE
   SANJEET KUMAR                                                                        ADDRESS ON FILE
   SANS PAREIL INC                        ATTN: SHERMIN JASANI                          2862 LENOX RD NE 740                                                             ATLANTA            GA      30324
   SANS PAREIL INC.                       ATTN: SHERMIN JASANI                          2862 LENOX RD 740                                                                ATLANTA            GA      30324
   SANTOSH SHARMA                                                                       ADDRESS ON FILE
   SAPPHIRE TAX SERVICES LLC              ATTN: ERIN KEENAN                             7801 SERENA LN                                                                   PETERSBURG         VA      23803
   SAQIB TASNEEM                                                                        ADDRESS ON FILE
   SARAH DALTON RATHBONE                                                                ADDRESS ON FILE
   SARAH MCKEE AND CARL CURRY                                                           ADDRESS ON FILE
   SARKAUSKAS EMPIRE INC.                 CALIHAN LAW PLLC                              16 E MAIN ST 620 REYNOLDS ARCADE BG               ROBERT B. CALIHAN              ROCHESTER          NY      14614
                                                                                                                                          CHRISTOPHER DAVIS & DESTINEE
   SARKAUSKAS EMPIRE INC.                 DAVIS LAW PLC                                 555 BELAIRE AVENUE SUITE 340                      BYERS                          CHESAPEAKE         VA      23320
   SARKAUSKAS ENTERPRISES LLC             CALIHAN LAW PLLC                              16 E MAIN ST 620 REYNOLDS ARCADE BG               ROBERT B. CALIHAN              ROCHESTER          NY      14614
                                                                                                                                          CHRISTOPHER DAVIS & DESTINEE
   SARKAUSKAS ENTERPRISES LLC             DAVIS LAW PLC                                 555 BELAIRE AVENUE SUITE 340                      BYERS                          CHESAPEAKE         VA      23320
   SARWAR LLC                             ATTN: JAHANZAIB SARWAR                        1818 ROSEHALL WAY                                                                SACRAMENTO         CA      95832
   SCB LLC                                ATTN: SEAN BOWEN                              625 E WETMORE RD STE F 101                                                       TUCSON             AZ      85705
   SCOTT BURKE                                                                          ADDRESS ON FILE
   SCOTT ROTH                                                                           ADDRESS ON FILE
   SD TAX INC.                            ATTN: STEVEN DEMEDEIROS                       6 BOSS ROAD                                                                      FOSTER             RI      02825
   SD VENTURES LLC                        ATTN: DONALD MCGLONE                          26201 GRATIOT AVE                                                                ROSEVILLE          MI      48066
   SEAN GALVIN                                                                          ADDRESS ON FILE
   SEJ FINANCIALS LLC                     ATTN: SHELBY JONES                            403 ROSENBERGER DRIVE                                                            MIDDLETOWN         DE      19709
   SENTRY INVESTMENTS INC                 ATTN: CREIGHTON THURMAN                       107 CATALINA AVENUE                                                              VERMILLION         SD      57069
   SEZ TAX INC.                           ATTN: ZAMAN FEROZ                             49648 ANNANDALE DR                                                               CANTON             MI      48187
   SGM CAPITAL LLC                        ATTN: STAN MALISZEWSKI                        22 HARDING RD                                                                    FREEHOLD           NJ      07728
   SHAHBAZ HUSSAIN                                                                      ADDRESS ON FILE
   SHAKEEL AHMAD                                                                        ADDRESS ON FILE

In re: NextPoint Financial Inc., et al.
Case No. 23-10983 (TMH)                                                                                                                                                                                      Page 16 of 19
                                                                         Case 23-10983-TMH     Doc 124      Filed 11/09/23   Page 55 of 60



                                                                                                   Exhibit B
                                                                                             Served via First-Class Mail



                          Name                             Attention                                     Address 1                                  Address 2                    City     State     Zip    Country
   SHAMA TAX SERVICES INC.                ATTN: SALMAN AWAN                            318 VERONICA CIRCLE                                                            BARTLETT           IL     60103
   SHANDREEKA BLOUNT                                                                   ADDRESS ON FILE
   SHARON MEDINA                                                                       ADDRESS ON FILE
   SHAWN INCOME TAX LLC                   ATTN: SHELBY PHILIP                          703 EAST LNDIS AVE                                                             VINELAND           NJ    08360
   SHAWN VADNAIS                                                                       ADDRESS ON FILE
   SHEENA RETNAM SIMON                                                                 ADDRESS ON FILE
   SHEILA AND DENNIS SMITH                                                             ADDRESS ON FILE
   SHELDON H. JAFFE DEPUTY AG             CALIFORNIA DEPARTMENT OF JUSTICE             455 GOLDEN GATE AVE. SUITE 11000                                               SAN FRANCISCO      CA    94102
   SHELDON TAX & ACCOUNTING INC.          ATTN: MATTHEW SHELDON                        37872 VAN DYKE                                                                 STERLING HEIGHTS   MI    48312
   SHELLY BARRETT                                                                      ADDRESS ON FILE
   SHERRI A. MORGAN                                                                    ADDRESS ON FILE
   SHERRY L. DUNCAN                                                                    ADDRESS ON FILE
   SHERRY M. KELLY                                                                     ADDRESS ON FILE
   SHIRLEGHTA GIVAN                                                                    ADDRESS ON FILE
   SHNICKQUA AIKEN                                                                     ADDRESS ON FILE
   SHOSHANA ELETU                                                                      ADDRESS ON FILE
   SIEMPRE COSTORES                       ATTN: WEFILE INC                             1716 CORPORATE LANDING PARKWAY                                                 VIRGINIA BEACH     VA    23454
   SIENNA FINANCIAL SERVICES LLC          ATTN: CRAIG BRYANT                           2734 TAYLORCREST                                                               MISSOURI CITY      TX    77459
   SIMRANJOT BACHAL & JESSICA DHILLON                                                  ADDRESS ON FILE
   SIRIUS BUSINESS L.L.C.                 ATTN: CEDRIC RICHARDSON                      8362 PINES BLVD 320                                                            HOLLYWOOD          FL    33024
   SISMAS GROUP AND POLYMORPHIC INC.      FOSTER SULTANYAN & EUREDJIAN LLP             5429 CAHUENGA BLVD.                               DAVID R. EUREDJIAN           NORTH HOLLYWOOD    CA    91601
   SISMAS GROUP INC. DBA POLYMORPHIC      FOSTER SULTANYAN & EUREDJIAN LLP             DAVID R. EUREDJIAN                                5429 CAHUENGA BLVD           NORTH HOLLYWOOD    CA    91601
   SIVONNEY MOLINA                                                                     ADDRESS ON FILE
   SIXPAC INC.                            ATTN: MARK WAJSWOL                           7500 W GRAND AVE SUITE 120                                                     GURNEE             IL    60031
   SJS FINANCIAL LLC                      ATTN: SCOTT ZMUDZINSKI                       5617 S SWIFT AV                                                                CUDAHY             WI    53110
   SKH HOLDINGS LLC                       ATTN: TAMMY KAY HASTINGS                     501 TAYRN DR.                                                                  CHARLESTON         SC    29492
   SLACUM & DOYLE TAX SERVICES LLC        ATTN: DOUGLAS DOYLE                          16 TAM O'SHANTER CT.                                                           DOVER              DE    19904
   SLT SERVICES LLC                       ATTN: ANNETTE HALL                           1127 SAN GABRIEL AVE                                                           HENDERSON          NV    89002
   SMART TAXES LLC                        ATTN: BRANDY ARMSTRONG                       2470 FM 1844                                                                   LONGVIEW           TX    75605
   SOFIA AGUILAR                                                                       ADDRESS ON FILE
   SOJ TAX LLC                            ATTN: HENRY LARANCE                          2200 N OBENCHAIN RD                                                            EAGLE POINT        OR    97524
   SOUTH JERSEY BUSINESS VENTURES LLC     ATTN: JASON MANSELL                          242 HURFVILLE GRENLOCH ROAD                                                    SEWELL             NJ    08080
   SOUTHBRIDGE TAX LLC                    ATTN: WILLIAM RHINES IV                      1280 MAIN STREET                                                               WORCESTER          MA    01603
   SOUTHWEST TEXAS TAX SERVICE            ATTN: JEAN-FRANCOIS MEYRAT                   1102 N MEADOW                                                                  LAREDO             TX    78040
   SPARTAN MARKETING INC                  ATTN: DAVID SCHUCK                           2638 WILLARD DAIRY ROAD SUITE 104                                              HIGH POINT         NC    27265
   SPICES INCORPORATED                    ATTN: BRUCE PATRONO                          20 ARIANNE CT.                                                                 GREENWOOD LAKE     NY    10925
   SPOKANE EXPANSION LLC                  ATTN: MARK MAHAFFEY                          515 E MIDWAY ROAD                                                              COLBERT            WA    99005
   SSBR ENTERPRISES LLC                   ATTN: SHAVI SANDHU                           1785 HASTINGS WAY                                                              YUBA CITY          CA    95991
   STACY GOFORTH                                                                       ADDRESS ON FILE
   STELLA CARPENTER                                                                    ADDRESS ON FILE
   STEPHANIE LANE                                                                      ADDRESS ON FILE
   STEPHANIE SOARES LISA AIROSO-SHIER                                                  ADDRESS ON FILE
   STEPHANIE STEWARD                                                                   ADDRESS ON FILE
   STEPHANIE TRUAX                                                                     ADDRESS ON FILE
   STEVEN KOZIOL & BARRY STRAUSS                                                       ADDRESS ON FILE
   SUCKUT FINANCIAL SERVICES CORP         ATTN: GERALD SUCKUT                          791 EISENHOWER WAY                                                             SIMI VALLEY        CA    93065
   SUMMIT QUEST INC.                      ATTN: PAMELA MCKINNEY                        3433 E GULF TO LAKE HWY                                                        INVERNESS          FL    34453
   SUN WEST INC                           ATTN: JOHN MOEN                              920A KENNEDY DRIVE                                                             KEY WEST           FL    33040
   SUNRISE PROFESSIONAL SERVICES LLC      ATTN: MANUEL FRANCO                          1052 SILVER STAR ST                                                            HENDERSON          NV    89002
   SUPARIWALA FINANCIALS LLC              ATTN: ALIAKBARALI SUPARIWALA                 5760 PRESERVE CIRCLE                                                           ALPHARETTA         GA    30005
   SURESH ACHARYA                                                                      ADDRESS ON FILE
   SURYA INVESTMENT GROUP LLC             ATTN: RABIN KARKI                            1328 LEGENDARY LANE                                                            MORRISVILLE        NC    27560
   SUSAN B. WALLACE                                                                    ADDRESS ON FILE
   SUSAN WARD                                                                          ADDRESS ON FILE
   SUSANNA M. MULLER                                                                   ADDRESS ON FILE
   SUZANNE PRICE                                                                       ADDRESS ON FILE
   SYED F. EKRAM                                                                       ADDRESS ON FILE
   T&C TAX SERVICES LLC                   ATTN: THOMAS AMES                            1089 MEDFORD CENTER                                                            MEDFORD            OR    97504
   TAD MILLER                                                                          ADDRESS ON FILE
   TALLEY ENTERPRISES INC                 ATTN: LORRAINE HARMON                        2960 N.HAYDEN RD                                                               SCOTTSDALE         AZ    85251
   TAMI VARRICCHIO                                                                     ADDRESS ON FILE
   TAMI VIGEN INC.                        ATTN: TAMI VIGEN                             6848 SUNNYSIDE DR.                                                             HORACE             ND    58047
   TAMMY GURRERA                                                                       ADDRESS ON FILE
   TAMMY SILCOX                                                                        ADDRESS ON FILE
   TARKINGTON FINANCIAL INC.              ATTN: KURT TARKINGTON                        202 S ORLEANS AVE                                                              ORLEANS            NE    68966
   TARRANT COUNTY                         C/O LINEBARGER GOGGAN BLAIR ET AL            2777 N STEMMONS FREEWAY SUITE 1000                ATTN: JOHN KENDRICK TURNER   DALLAS             TX    75207
   TAX ENTERPRISES LLC                    ATTN: TIM CHIU                               1282 WEYBRIDGE RD.                                                             COLUMBUS           OH    43220
   TAX HEROES LLC                         ATTN: RALPH LOWTHER                          1745 NATHAN DEAN BYP                                                           ROCKMART           GA    30153
   TAX LADY HILLS LLC                     ATTN: DEBORAH HILLS                          1770 LUKE EDWARDS ROAD                                                         DACULA             GA    30019
   TAX PREP & CONSULTING LLC              ATTN: MILAN RAO                              30 BOULEVARD DR                                                                STOCKBRIDGE        GA    30281
   TAX SERVICE VENTURES LLC               ATTN: EDWARD FOY                             600 BOLL WEEVIL CIRCLE STE 8                                                   ENTERPRISE         AL    36330


In re: NextPoint Financial Inc., et al.
Case No. 23-10983 (TMH)                                                                                                                                                                                   Page 17 of 19
                                                                         Case 23-10983-TMH     Doc 124      Filed 11/09/23   Page 56 of 60



                                                                                                   Exhibit B
                                                                                             Served via First-Class Mail



                            Name                             Attention                                     Address 1                                Address 2             City        State     Zip    Country
   TAX TEAM LLC                           ATTN: LARRY SLAUGHTER                        349 WYCOMBE ROAD                                                         COLUMBIA             SC     29212
   TAX TEAM TWO LLC                       ATTN: LARRY SLAUGHTER                        349 WYCOMBE ROAD                                                         COLUMBIA             SC     29212
   TAX TIME TAXES LLC                     ATTN: KRISTY RUBLE                           1024 69TH ST.                                                            WINDSOR HEIGHTS      IA     50324
   TAX WORLD LLC                          ATTN: TRONICA HARRIS                         12560 NEWBROOK DR                                                        HOUSTON              TX     77072
   TAXBIZ PARTNERS LLC                    ATTN: TERRI BRASHEARS                        293 SEABROOK DRIVE                                                       HILTON HEAD ISLAND   SC     29926
   TAXCELLENT SERVICE CORPORATION         ATTN: FARUK ALI                              9 VALENZA LN                                                             BLAUVELT             NY     10913
   TAXMATTERS INC.                        ATTN: KATELYN BROWNING                       850 SOUTHBRIDGE STREET                                                   AUBURN               MA     01501
   TAXOLOGY GROUP LLC                     ATTN: NIKKI SMALL                            1305 TIMBER LN                                                           BUFFALO              MN     55313
   TAXPREP LLC                            ATTN: JASON WILLIAMS                         14401 MAIN ST                                                            WATTSBURG            PA     16442
   TEDDY ARTHUR-KWALLAH                                                                ADDRESS ON FILE
   TEK KOROTANIA                                                                       ADDRESS ON FILE
   TEMEYKA SCOTT                                                                       ADDRESS ON FILE
   TENDRIL HOLDINGS LLC                   ATTN: CLIFFORD DAVIDSON                      363 COLLINWOOD DRIVE                                                     MCMINNVILLE          TN    37110
   TENEDOS HOLDINGS LTD.                  ATTN: LEGAL DEPT                             119-829 GOLDSTREAM AVENUE                         SHELBY PARKINSON       VICTORIA             BC    V9B2X8      CANADA
   TERRELL GRAY                                                                        ADDRESS ON FILE
   THAKUR NEUPANE                                                                      ADDRESS ON FILE
   THE FAR ROCK INC.                      ATTN: JOEL GEORGE                            37 DALEY ST.                                                             NEW HYDE PARK        NY    11040
   THE GLORIOUS FREEDOM                   ATTN: EBRAM HANNA                            23578 UNDERWOOD CIR                                                      MURRIETA             CA    92562
   THE GUARDIAN GROUP LLC                 ATTN: ROBERT ARNDT                           27824 REO RD.                                                            GROSSE ILE           MI    48138
   THE TAX LADIES SERVICES INC.           ATTN: MARITZA DUDLEY                         200 ADA DR PH                                                            STATEN ISLAND        NY    10314
   THOMAS ACKERMAN                                                                     ADDRESS ON FILE
   THOMAS HENGGELER ENTERPRISES LLC       ATTN: THOMAS HENGGELER                       5304 NE BARRY RD                                                         KANSAS CITY          MO    641561223
   THOMAS JAROSICK                                                                     ADDRESS ON FILE
   THOMAS ROYER                                                                        ADDRESS ON FILE
   THOMAS STEELE                                                                       ADDRESS ON FILE
   THOMPSON FINANCIAL SERVICES INC        ATTN: BRUCE THOMPSON                         1701 DISCOVERY DR                                                        WENTZVILLE           MO    63385
   THOMPSON TAX BUSINESS LLC              ATTN: MICHAEL THOMPSON                       100 BANKS AVENUE APT1236                                                 ROCKVILLE CENTRE     NY    11570
   TIANDRA PURYEAR                                                                     ADDRESS ON FILE
   TIFFANY T. BRADY                                                                    ADDRESS ON FILE
   TILCAM SERVICES GROUP OF TN LLC        ATTN: MARKEE TATE                            220 BALLARD CIRCLE                                                       STOCKBRIDGE          GA    30281
   TIME TO FILE LLC                       ATTN: NICOLLE DYKSTRA                        2803 W IVANHOE ST                                                        CHANDLER             AZ    85224
   TIMOTHY A STRICKLAND                                                                ADDRESS ON FILE
   TIMOTHY A. RICHARDSON                                                               ADDRESS ON FILE
   TINA A. FARMER                                                                      ADDRESS ON FILE
   TINA DAVIS AND ANGELA MAGEE                                                         ADDRESS ON FILE
   TINA M. HILL                                                                        ADDRESS ON FILE
   TK FINANCIAL LLC                       ATTN: THOMAS KELLEY                          205 W HEMPSTEAD AVE                                                      FAIRFIELD            IA    52556
   TL2 ACCOUNTING LLC                     ATTN: TAMARA LEE                             574 HWY 17 N                                                             NORTH MYRTLE BEACH   SC    29582
   TLC ARC LLC                            ATTN: TERESA CHUM                            1353 CASTLE CREEK CIRCLE                                                 CASTLE ROCK          CO    80104
   TLC TAX SERVICES INC.                  ATTN: L. KAY COBB                            14207 EAST 38TH ST.                                                      TULSA                OK    74134
   TLT PARTNERS LLC                       ATTN: TRACI DAVIS                            409 MAIN STREET                                                          KERRVILLE            TX    78028
   TM ENTERPRISES OF LINDEN INC.          ATTN: GAIL FLOWERS                           8626 LOOKING GLASS RD.                                                   LINDEN               NC    28356
   TM TAX SERVICES LLC                    ATTN: TEREENA BARNES                         295 N 4300 E                                                             RIGBY                ID    83442
   TMARKJ INC                             ATTN: TERRY JOHNSON                          526 WASHINGTON STREET                                                    BRAINERD             MN    56401
   TMB VENTURES INC.                      ATTN: TRAVIS BAHNSEN                         1921 ELBA COURT                                                          WINDSOR              CO    80550
   TMI TRUST COMPANY                      ATTN: LEGAL DEPT                             101 SUMMIT AVE                                    STE 510                FORT WORTH           TX    76102-
   TODD A. CROMACK                                                                     ADDRESS ON FILE
   TODD DUNLOP                                                                         ADDRESS ON FILE
   TODD MARION                                                                         ADDRESS ON FILE
   TODD STAHL                                                                          ADDRESS ON FILE
   TOMAHAWK PROPERTIES LLC                ATTN: JOHN CROSBY                            72 MARLBOROUGH RD                                                        SHALIMAR             FL    32579
   TOMMY C. CRISLER                                                                    ADDRESS ON FILE
   TOMMY SMITH                                                                         ADDRESS ON FILE
   TONY ALLEN                                                                          ADDRESS ON FILE
   TONYA K. BURRESS                                                                    ADDRESS ON FILE
   TRACY A. HAYES AND JENNIFER HAYES                                                   ADDRESS ON FILE
   TRACY AND WILLIAM HYDE                                                              ADDRESS ON FILE
   TRANSCEND FINANCIAL SERVICE LLC        ATTN: TAMMY BUSH                             3181 S 27TH ST                                                           MILWAUKEE            WI    53215
   TRIDENT FINANCIAL SERVICES LLC         ATTN: WILLIAM RHINES                         282 EAST MAIN ST                                                         MARLBOROUGH          MA    01752
   TRK SERVICES LLC                       ATTN: RAYMOND SEAMAN                         525 N 48TH ST STE 2                                                      LINCOLN              NE    68504
   TROY OWEN                                                                           ADDRESS ON FILE
   TRUDI S. BARR                                                                       ADDRESS ON FILE
   TS FINANCIALS LLC                      ATTN: SAMUEL RENNERT                         3272 N SUMMIT AVE                                                        MILWAUKEE            WI    53211
   TUAN VO                                                                             ADDRESS ON FILE
   TUAN VO                                                                             ADDRESS ON FILE
   TURNER BRENT                                                                        ADDRESS ON FILE
   TYE BROOKS                                                                          ADDRESS ON FILE
   TYESHA JACKSON WISE                                                                 ADDRESS ON FILE
   TYNE SUNDERLAND LLC                    ATTN: STEPHEN MALLOY                         280 JENNINGS WAY                                                         MICKLETON            NJ    08056
   U.S. DEPT OF JUSTICE - TAX DIVISION    RUSSELL J. EDELSTEIN ET AL                   PO BOX 7238 BEN FRANKLIN STATION                                         WASHINGTON           DC    20044
   UK ENTERPRISE LTD                      ATTN: UMESH PATEL                            7236 BRIDE WATER BLVD                                                    COLUMBUS             OH    43235


In re: NextPoint Financial Inc., et al.
Case No. 23-10983 (TMH)                                                                                                                                                                               Page 18 of 19
                                                                        Case 23-10983-TMH     Doc 124      Filed 11/09/23   Page 57 of 60



                                                                                                  Exhibit B
                                                                                            Served via First-Class Mail



                           Name                             Attention                                    Address 1                          Address 2             City     State     Zip    Country
   UNITED INTEGRITY TAX GROUP LLC         ATTN: KIMBERLY ERVIN                        515 S. WEST END BLVD. SUITE 1                                     QUAKERTOWN         PA    18951
   UNITED TAX SERVICES LLC                ATTN: QASIM MUNIR                           49B ROBBINS LANE                                                  ROCKY HILL         CT    06067
   UNIVERSAL INTERPRETERS INC.            ATTN: JASON BROSCHINSKY                     4631 S LOCUST HILLS CT                                            HOLLADAY           UT    84117
   UNIVERSAL SERVICES #13 LLC             ATTN: ANNALISA ESPERICUETA                  35 E SOUTHGATE AVE                                                PHOENIX            AZ    85040
   URMISH PATEL                                                                       ADDRESS ON FILE
   UUB CORP                               ATTN: URATA BLAKAJ                          325 VICTORY BLVD                                                  STATEN ISLAND      NY    10301
   V&A TAX SERVICE LLC                    ATTN: TALIB HUSSAIN                         6 YALE STREET                                                     WEST HARTFORD      CT    06110
   VALERIE ADLER                                                                      ADDRESS ON FILE
   VALSAINT GROUP INC.                    ATTN: EDITH VALSAINT                        221 S. 195TH STREET                                               DES MOINES         WA    98148
   VARGAS HOLDINGS CORP.                  ATTN: ANTONIO VARGAS                        60-63 MYRTLE AVE                                                  RIDGEWOOD          NY    11385
   VERLA K. SMITH                                                                     ADDRESS ON FILE
   VERONICA CAZARES                                                                   ADDRESS ON FILE
   VERONICA MANZO                                                                     ADDRESS ON FILE
   VESS FINANCIAL INCORPORATED            ATTN: LEGAL DEPT                            90 KENTLAND RD                                                    WINNIPEG           MB    R3Y0A4     CANADA
   VFM LLC                                ATTN: SUSAN VATELL                          586 HERITAGE DOWNS DRIVE                                          CONWAY             SC    29526
   VGS TAX & ACCOUNTING SERVICES LLC      ATTN: SAIREKHA VEDAGIRI                     253 TURNER OAKS DR                                                CARY               NC    27519
   VICTORIA HOTOBAH-DURING                                                            ADDRESS ON FILE
   VIKKIELEA CHOROSKI                                                                 ADDRESS ON FILE
   VIKRAMDEEP RANDHAWA                                                                ADDRESS ON FILE
   VINCENT FERRARA                                                                    ADDRESS ON FILE
   VOLUSIA TAX FILERS LLC                 ATTN: TROY THOMAS                           1179 PACIFIC DUNES COURT                                          DAYTONA BEACH      FL    32124
   WA GROUP INC                           ATTN: EDWARD WILKINS                        20500 S. LAGRANGE RD. UT. 3                                       FRANKFORT          IL    60423
   WAHEGURU JI TAX LLC                    ATTN: SURINDERPAL CHAWLA                    270 MAIN ST                                                       STAMFORD           CT    06901
   WAHEGURU TAX NEW BRITAIN LLC           ATTN: MANINDER ARORA                        302 MAIN ST                                                       NEW BRITAIN        CT    06051
   WALKER INTOWN RENEWAL LLC              ATTN: ARBIE WALKER CONNOR                   209 S. ROYAL OAKS SUITE 270                                       FRANKLIN           TN    37064
   WALNUT CREEK ENTERPRISES LLC           ATTN: MARK HOLLIS                           9924 HEATHER RIDGE TRL                                            FRISCO             TX    75033
   WARSAN FINANCIAL SERVICES INC.         ATTN: LEGAL DEPT                            1978 WESTON RD                                                    TORONTO            ON    M9N1W2     CANADA
   WB FINANCIAL MANAGEMENT LLC            ATTN: WILLIAM BOARDMAN                      6708 ARROW HILL ST                                                NORTH LAS VEGAS    NV    89084
   WD TAXES LLC                           ATTN: WILLIAM DOYLE                         2155 REED GRASS WAY                                               COLORADO SPRINGS   CO    80915
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   WENDY RHODES                                                                       ADDRESS ON FILE
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   WILLIAM BAKKEBY                                                                    ADDRESS ON FILE
   WILLIAM DANIELS                                                                    ADDRESS ON FILE
   WILLIAM E. LEE                                                                     ADDRESS ON FILE
   WILLIAM HOLLIDAY                                                                   ADDRESS ON FILE
   WILLIAM SHAHIN                                                                     ADDRESS ON FILE
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In re: NextPoint Financial Inc., et al.
Case No. 23-10983 (TMH)                                                                                                                                                                    Page 19 of 19
Case 23-10983-TMH   Doc 124   Filed 11/09/23   Page 58 of 60



                    Exhibit C
                                                                  Case 23-10983-TMH       Doc 124      Filed 11/09/23    Page 59 of 60


                                                                                              Exhibit C
                                                                                        Served via Electronic Mail


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In re: NextPoint Financial Inc., et al.
Case No. 23-10983 (TMH)                                                                                                                                                                Page 1 of 2
                                                                 Case 23-10983-TMH     Doc 124      Filed 11/09/23    Page 60 of 60


                                                                                           Exhibit C
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In re: NextPoint Financial Inc., et al.
Case No. 23-10983 (TMH)                                                                                                                                                         Page 2 of 2
